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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                      Case No.: 1:18-cv-24190


    WILLIAM O. FULLER, and
    MARTIN PINILLA, II,

                   Plaintiffs,

           v.

    JOE CAROLLO,

                Defendant.
    ___________________________________/

                                 SECOND AMENDED COMPLAINT

           William “Bill” O. Fuller (“Fuller”) and Martin Pinilla, II (“Pinilla”) (collectively

    “Plaintiffs”) sue Joe Carollo (“Carollo”) and allege as follows:

                                           INTRODUCTION

           The First Amendment to the United States Constitution guarantees every citizen the

    absolute and fundamental rights to freedom of speech, to peaceably assemble, and to petition the

    Government for redress of grievances. For eighteen months, Miami City Commissioner Joe

    Carollo has obliterated these fundamental rights by using the power and influence of his

    government office to engage in a campaign of harassment, retribution and retaliation against

    Plaintiffs. Carollo’s actions, designed to destroy Plaintiffs’ businesses and reputations, is pure

    political payback—targeting Plaintiffs simply because they dared to support Carollo’s opponent

    in a run-off election, and because they filed an Ethics Complaint against Carollo.

           Unchecked retaliation and political payback on this scale would lead the United States

    down the path of Cuba and Venezuela today. Carollo’s prolonged and multifaceted retaliation has



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    been in blatant violation of the City of Miami Charter’s prohibition on Commissioners providing

    direct orders to City employees to wrongfully use City resources for their own political means. He

    has wrongfully employed City resources, including the Police, the Fire Department, Code

    Enforcement, and the Special Event Department, in his attacks against Plaintiffs to (a) shut down

    the Christmas Party Plaintiffs hold for their own employees, their tenants and their tenant’s

    employees, and their families, including young children each year (a party previously attended by

    City Commissioners and employees); (b) prevent Plaintiffs’ use of the same shipping containers

    authorized by the City in the Wynwood Yard and the Wharf on the Miami River to house

    commercial business, thereby nearly destroying a family business operating a wildly popular

    restaurant in that spot (Sanguich); (c) shut down Plaintiffs’ tenant Union Beer by sending multiple

    police and code enforcement personnel to raid their anniversary party; (d) permanently shut down

    construction of the kiosk market Plaintiffs had invested in and already obtained City approval for;

    (e) disrupt and shut down the wildly popular Viernes Culturales, merely because Plaintiff Fuller is

    the Chairman of the Board of that nonprofit organization; and (f) trespass on Plaintiffs’ properties

    and conduct illegal searches and government surveillances.          Carollo has also made false

    “anonymous” noise complaints against Plaintiffs’ business Ball & Chain; solicited the residents of

    neighboring buildings to make those same false noise complaints; repeatedly alleged code

    violations by the company that operates the valet for Ball & Chain; and even defamed and

    disparaged Plaintiffs on the radio, calling Plaintiff Fuller “El Padrino,” and falsely stating that

    Fuller “operate[s] like a Godfather” backed by corrupt Venezuelan criminals, thereby destroying

    Plaintiffs’ good name.

           Carollo has also managed to amend key provisions of the Miami City Code to target

    Plaintiffs’ businesses in violation of the U.S. Constitution’s prohibition on bills of attainder.

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    Carollo’s stated intention is to drive Plaintiffs out of business even if he has to destroy the life

    savings and work of the businesses who rent from Plaintiffs.

            These are not mere allegations. They are confirmed by Carollo’s own aid, City of Miami

    employees, a Miami-Dade Ethics Commission investigative report, and even by another

    Commissioner of the City of Miami. There are also reams of text messages, emails, photographs

    and even live video showing Carollo in action lurking around Plaintiffs’ properties in alleyways

    and behind trees in the middle of the night on numerous occasions. In fact, Carollo has himself

    stated that he is the “new Sheriff in town,” and that he “is the law.”

            Carollo knows that such retaliation for exercising one’s right to free speech is not only

    morally wrong but also illegal as Carollo himself has previously sued the Mayor and City of Doral

    claiming that they had retaliated against him for exercising his free speech rights. See Carollo v.

    Boria, 833 F. 3d 1322 (11th Cir. 2016). Carollo must be must be held accountable for the

    emotional distress and mental anguish, as well as the millions of dollars in damages he has caused.

    An award of punitive damages of at least $10 million dollars must also be entered against Carollo

    to punish and deter such conduct in the future.

                                   PARTIES, JURISDICTION, AND VENUE

            1.      Plaintiff Fuller is a resident of Miami-Dade County, Florida.

            2.      Plaintiff Pinilla is a resident of Miami-Dade County, Florida.

            3.      Collectively, Plaintiffs own or control real estate investments directly or through

    various affiliated entities.

            4.      Defendant Carollo is a City of Miami Commissioner, two-time former Mayor of

    Miami, and at all times mentioned herein was a resident of Miami-Dade County, Florida.




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             5.      This Court has subject matter jurisdiction pursuant to 42 U.S.C. § 1983 and 28

    U.S.C. § 1331.

             6.      Venue lies in the Southern District of Florida because the cause of action accrued

    and the parties are located within this district.

             7.      All conditions precedent to the filing of this lawsuit have been performed, satisfied

    and/or waived.

                                              ALLEGATIONS

             8.      Plaintiffs are local entrepreneurs operating out of the Futurama building in the heart

    of the Calle Ocho District of Little Havana.

             9.      Over the course of the last 15 years, Plaintiffs worked hard to build a diverse real

    estate investment business from the ground up, one building at a time.

             10.     Today, Plaintiffs’ businesses provide hundreds of jobs for local residents and

    produce hundreds of thousands of dollars in tax revenue for the City of Miami, Miami-Dade

    County and the State of Florida.

             11.     Plaintiffs have dedicated their professional careers to revitalizing the neighborhood

    of Little Havana, where they have helped to generate economic activity and new life into the area

    while at the same time preserving its historical significance and cultural identity.

             12.     In this vein, Fuller and Pinilla are “a galvanizing force behind the area’s cultural

    resurgence.”1




    1
        https://www.miaminewtimes.com/arts/viernes-culturales-little-havanas-rebirth-begins-6388896
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           13.     Renowned Miami historian Dr. Paul George has likewise noted that Fuller and

    Pinilla “are both very history-minded and are also very civic-minded . . . [They] understand that

    the neighborhood has a multilayered history.”

           14.     Plaintiffs consider their work to be that of curators and caretakers of the

    neighborhood, accordingly, they seek out development partners and tenants “who share a similar

    vision of preserving and protecting the heritage, the culture, and the history. . .”2 of Little Havana.

           15.     For example, in 2014, Fuller and two of his childhood friends reopened the famous

    Ball & Chain nightclub.

           16.     For decades during the 1930’s to 1950’s, Ball & Chain was an important music

    venue, presenting titans of the era such as Billie Holiday and Count Basie.

           17.     With the vision of restoring the venue to its past glory days, Fuller and his partners

    have made Ball & Chain once again a premier entertainment destination for people of all ages,

    races, and nationalities.

           18.     From its opening in 2014 to January 2018, Ball & Chain has served the community

    and operated without interference from the City, receiving only one noise complaint and zero

    parking related citations from the City.

           19.     Fuller and Pinilla are also currently working on Little Havana’s first boutique hotel

    through a redevelopment and restoration of the historic Tower Hotel.

           20.     The Tower Hotel served as a World War II hospital and famously hosted African-

    American jazz greats during the era of segregation.3




    2
           https://www.nbcnews.com/news/latino/miami-s-little-havana-working-class-neighborhood-
    global-tourist-hot-n738236
    3
      https://www.miamiherald.com/news/business/article204754109.html#storylink=cpy
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            21.      Preserving that history, in which the legacies of various cultures converged on Calle

    Ocho, is central to Plaintiffs’ vision for the project.

            22.      Through these and many other projects in the area, Plaintiffs have sought to

    reestablish Little Havana as a healthy, dynamic neighborhood, showcasing new cultural life while

    celebrating its important place in Miami’s history.

            23.      Plaintiffs’ efforts in the neighborhood have born significant fruit—Little Havana

    offers visitors many new options of sights to see, places to seek entertainment and a vibrant arts

    scene to enjoy, much of which retains or reflects the cultural distinction, rich history and

    atmosphere that make Little Havana special.

            24.      Little Havana is now a major Miami destination for tourists and locals alike, sought

    after as one of the few authentic Cuban legacy neighborhoods left in Miami.

            25.      In 2017, the National Trust for Historic Preservation declared Little Havana a

    national treasure.

            26.      Throughout all of this, Plaintiffs have nurtured great relationships with City

    Commissioners, including Carollo’s two predecessors, his brother Frank Carollo and Joe Sanchez,

    both of whom appointed Fuller and Pinilla to participate in various City boards or trusts, such as

    the Stars of Calle Ocho and Viernes Culturales.4

                               THE RACE FOR CITY COMMISSIONER

            27.      In the summer of 2017, Carollo, who had previously served as Mayor of Miami,

    announced his campaign for Commissioner for the City of Miami’s for District 3, which includes

    Little Havana.



    4In addition, Fuller and Pinilla are also active in the Dade Heritage Trust and Live Healthy Little
    Havana.
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           28.     At that time, other prominent Miami Mayors expressed concern over Carollo’s

    history of “abusing power, profiting from taxpayers and using government resources to

    intimidate his political opponents.”5

           29.     During the campaign, Fuller met privately with Carollo when Carollo was seeking

    Fuller’s political support. They discussed ways they could work together to improve Little

    Havana.

           30.     Steve Miro (“Miro”), a top campaign staffer for Carollo, noted that, at that time,

    Carollo was not “targeting . . . [Fuller], Joe was trying to ally himself with him.”6

           31.     Carollo’s main opponents in the election race were Alfie Leon, Tomas Regalado

    and Zoraida Barreiro. Plaintiffs made financial contributions to Leon, Regalado and Carollo.

           32.     In the general election, held on November 7, 2017, Carollo received 1,818 votes,

    and Alfonso Leon received 1,221 votes.

           33.     On election night, Carollo was seated with Lugo, one of his top campaign advisors.7

           34.     Because neither candidate received a majority of votes, a run-off election was

    scheduled for November 21, 2017.




    5 https://www.miamiherald.com/news/local/community/miami-dade/article179627391.html
    6
      See Ethics Report, attached herein as Exhibit A, p. 25. As noted herein, on or about March 12,
    2018, Fuller filed an Ethics Complaint against Carollo with the Miami-Dade Commission on
    Ethics and Public Trust (the “Ethics Complaint”). Following the conclusion of the Ethics
    Commission’s investigation, the Commission released its Investigative Report (the “Ethics
    Report”) which includes the testimony of over 14 individuals regarding many of the allegations
    contained herein. Plaintiffs will refer to said testimony throughout this Complaint.
    7
      At the time, Lugo was employed by the City of Miami Code Enforcement division and served as
    Secretary of the American Federation of State County and Municipal Employees (“AFSCME”),
    the City of Miami employees union. Lugo willingly and materially assisted Carollo in his
    campaign of harassment, political retribution and First Amendment retaliation directed against
    Plaintiffs. Lugo is also a former employee of the City of Miami Code Enforcement division.

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     CAROLLO SHUTS DOWN ALFIE LEON RALLIES ON PLAINTIFFS’ PROPERTIES

           35.     Early voting for the run-off election commenced on November 17, 2017.

           36.     Two locations were designated to cast early voting ballots for the run-off, one of

    which was directly across from one of Plaintiffs’ properties.

           37.     In fact, the property owned by Plaintiffs, less than 75 feet away from the entrance

    to that early voting center.

           38.     On November 18, 2017, a rally in support of electing Carollo’s opponent, Alfie

    Leon, was held on Plaintiffs’ property.

           39.     The rally on Plaintiffs’ lot was clearly visible to all voters casting ballots at that

    voting location. Pictures of the rally can be seen below.




           40.     There was free food, music and signs supporting Leon, which attracted the attention

    of most passersby, including voters.

           41.     Conversely, Carollo did not put on any such comparable event within view of the

    early voting center.




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              42.    Rather than compete fairly, Carollo and others acting at his direction8 worked their

    contacts at the City and engineered a shut down of the rally by Code Enforcement Officers and the

    police, who forced all attendees to leave.

              43.    Undeterred, Leon supporters gathered for another rally at the same location the next

    day, Sunday, November 19, 2017, the last day of early voting.

              44.    Like the first rally, this one also had music and food and was highly visible to the

    public, including potential voters.

              45.    And like the first, there was no comparable event for Carollo anywhere nearby.

              46.    Miro spotted Pinilla at the rallies, passing along the information to Carollo.

              47.    The rallies were a threat to Carollo’s chance of winning the run-off election and,

    consequently, Carollo sought to shut down the second rally.

              48.    Miro confronted Fuller by phone and demanded that he shut down the rally,

    implying that Plaintiffs were responsible for the rallies based on having spotted Pinilla there.

              49.    Instead of relying on Fuller to comply with Miro’s demand, Carollo and Miro

    exploited any City contact they could to shut the rally down.

              50.    Indeed, based on Carollo’s efforts, both rallies were shut down by Code

    Enforcement or other City agents, and the property received a bogus permitting citation.

              51.    Miro later confirmed that Carollo camp was responsible for the shutdown of the

    rallies. Miro stated that Carollo actually instructed Lugo on site at the Alfie rally, and that Lugo

    was leveraging her contacts in the City on behalf of Carollo to get the rally shut down.




    8
        This included Lugo and Miro, who was Carollo’s Chief of Staff at the time.
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          52.     The run-off election was held on November 21, 2017 and Carollo defeated Leon by

   a mere 352 votes.

          53.     If Carollo had not succeeded in shutting down the Leon rallies, he may indeed have

   lost the run-off election to Leon.

          54.     Instead, on December 2, 2017, Carollo was sworn in and pledged his allegiance to

   the City of Miami and its Charter.


                    RELEVANT CITY OF MIAMI CHARTER PROVISIONS

          55.     Among other things, the City of Miami Charter governs the powers vested in the

   various arms of City government including the Mayor, City Manager and the Commissioners.

          56.     Section 4(g)(6) gives the Mayor the power to appoint the City Manager and Section

   15 of the Charter establishes that the City Manager shall be the head of the administrative branch

   of the City government.

          57.     Section 4(d) of the Charter delineates the division of power between the Mayor,

   City Manager and Commissioners as follows:

           Except for the purpose of inquiry and as may be necessary as provided in section
           14, the mayor, the city commission, any committees and members thereof shall
           deal with the administrative service solely through the city manager, and
           neither the mayor nor the city commission, nor any committees nor members
           thereof shall give orders to any of the subordinates of the city manager, city
           attorney, city clerk and independent auditor general, either publicly or
           privately.

           Any such dictation, prevention, orders or other interference or violation of this
           section on the part of the mayor or a member of the city commission or committees
           shall be deemed to be violation of the Charter, and upon conviction before a
           court of competent jurisdiction any individual so convicted shall be subject to
           a fine not exceeding five hundred dollars ($500.00) or imprisonment for a
           term of not exceeding sixty days or both, and in the discretion of the court
           shall forfeit his or her office. Any willful violation of the provisions to this
           section by the mayor or any city commissioner shall be grounds for his or her

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              removal from office by an action brought in the Circuit Court by the state
              attorney of this county.

           58.     The Charter makes clear that neither the Mayor nor any Commissioner can give

   direct orders to any department that is subordinate to the City Manager. Instead, they are required

   to direct all orders to the City Manager who then has the authority to direct the various departments

   of the City to take action.


                       CAROLLO’S RETALIATION AGAINST PLAINTIFFS

           59.     Upon taking office, Carollo immediately drew up a list of Plaintiffs’ properties and

   associated businesses in District 3.

           60.     Miro stated it explicitly: “when Carollo took office . . . he went after Mr. Fuller,

   obviously. You know-he does have a spreadsheet…of all the businesses he [Fuller] has in the

   district.”9

           61.     Likewise, Orlando Diez (“Diez”), who was then the Director of Code Compliance,

   Construction Manager, Office of Capital Improvements for the City of Miami, testified that

   Carollo told him: “There’s a guy there who owns a lot of businesses, buildings, his name is Bill

   Fuller.”

           62.     Diez further testified that Carollo said he had a list of addresses for Fuller’s

   properties that he would give to Diez, from which Diez understood Carollo was asking him to

   selectively target Fuller’s properties.




   9
     On or about August 3, 2018, Plaintiffs took the voluntary sworn testimony of Miro as part of the
   ethics investigation (the “Miro Statement”). A copy of the Miro Statement is attached hereto as
   Exhibit B. Plaintiffs will also refer to the testimony herein. Exhibit B, p. 7, ll. 5-13. (emphasis
   added)
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             63.     Miro testified that Carollo also used the spreadsheet to point out alleged legal

   violations on Plaintiffs’ properties during a walk with the Mayor, the City Manager, the Deputy

   City Manager and Code Enforcement Director.

             64.     As Miro explained: “[w]e walked up and down 8th Street all the way to 6th Avenue

   [and back]; . . . . showing the business that have violations and obviously, they were [Fuller’s]

   businesses.”10 By doing so, Carollo put the City on notice of his intentions to selectively target

   and harass Plaintiffs as retaliation.

             65.     Miro further noted that Carollo was targeting Plaintiffs as political retribution

   because Fuller went against Carollo in the run-off election by supporting Alfie Leon and allowing

   Leon to use Plaintiffs’ property for the rallies.

             66.     Specifically, when asked why Carollo was targeting the Plaintiff, Miro answered:

   “obviously, [Fuller] went against him in the commissioners by donations to -- giving him

   building and what have you.”11           That means that Fuller went against Carollo in the run-off

   election by supporting his opponent, Alfie Leon, and allowing Leon to use Fuller’s property to

   conduct a rally across from the early voting center.


                     CAROLLO ATTACKS PLAINTIFFS’ CHRISTMAS PARTY

             67.     On December 15, 2017, a few weeks after the run-off election, Plaintiffs held their

   annual office holiday party at the historic Tower Hotel.




   10
        Id. pp. 7 & 8.
   11
        Id. at p. 10, ll. 12-25 and p. 11, ll. 1-13. (emphasis added)
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          68.       The event was hosted by Plaintiffs for the benefit of employees, tenants, and their

   families, including young children and other guests for five straight years with no issue from the

   City. In past years, even City Commissioners attended the Christmas Parties.

          69.       Carollo learned of Plaintiffs’ Christmas Party, and, after “driving by” to confirm it

   was taking place, conspired with Lugo to mobilize Code Enforcement officials to disrupt the

   Christmas Party and shut it down.

          70.       Lugo then repeatedly called and texted Diez, the Director of Code Enforcement,

   insisting that he shut the event down and stating in support that Christmas Party lacked a Special

   Events Permit.

          71.       In response, Diez explained to Lugo that such a permit was required only if more

   than 100 people were at the party.

          72.       Lugo, assured Diez that this was the case (which she knew to be false) and insisted

   Diez call the police to shut the Christmas Party down.

          73.       Diez did not send the police, but he did agree to send a Code Officer, Scarlett Morua

   (“Morua”) to investigate.

          74.       Morua arrived at the property soon afterwards, entering the Christmas Party in full

   uniform and causing guests great unease and concern.

          75.       Morua reported to Diez that there were no more than 50 people at the Christmas

   Party, including children.

          76.       Diez told Lugo there were fewer than 100 people and that he would not call the

   police, to which Lugo responded: “You’re wrong . . . You don’t know how to read the Code.”

          77.       Diez then instructed that Morua go back to make sure there were no other guests

   somewhere in the hotel and she responded back assuring him that was not the case.

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          78.     Jessica Capo (“Capo”), then Chief of Code Enforcement, and a close friend of

   Lugo, also contacted Morua and instructed her to go to the Christmas Party.

          79.     Morua advised Capo that she already had been to the event, verified that it was an

   ordinary holiday party and that no violations were evident. Undeterred, Capo told Morua to return

   to the hotel and wait outside until the event ended.

          80.     Morua returned to the party and spent an extended period of time in plain sight of

   party guests, intimidating attendees, which included the extended family and young children of

   Fuller and Pinilla.

          81.     Prior to this incident, Morua had never been directed to respond to a party and to

   stay until the party was concluded.

          82.     For the Christmas Party, however, she was told to wait and to call back to advise

   when the Party was over. Morua indicated “it was kind of weird.”

          83.     Diez also received a call regarding the Christmas Party from Assistant City

   Manager Alberto Parjus (“Parjus”), who directed Diez to go to the event in person because the

   complaints were “coming from a Commissioner’s office” whose people were “driving [him]

   crazy.” Yet again, through these actions, the City had full notice of Carollo’s intent to retaliate

   and harass Plaintiffs.

          84.     Diez then went to the Christmas Party himself with additional code enforcement

   officers. By then, there were only 10-15 people left at the party.

          85.     At approximately 1:00 AM, Fuller learned that Diez had come to the property

   looking to speak with him.




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             86.    Diez told Fuller this was a political target, that there were many people involved in

   the effort, and that Fuller should meet him in person so that Diez could explain how Carollo and

   his allies were trying to use Code Enforcement resources for political retribution.

             87.    When Fuller met Diez in person, Diez confirmed Plaintiffs’ suspicion that Carollo

   was behind the Code Enforcement interference at the party. Diez also stated that Lugo instructed

   him not to reveal that Carollo was the source of the complaints.

             88.    Diez later explained that, based on his understanding of the City Charter and

   Administrative Policy Manual, elected officials are not allowed to give direction to staff and can

   only raise concerns through the City Manager’s Office. He indicated in the case of Carollo, many

   of the code-related complaints originated from Carollo’s office through Lugo and Miro as well

   as communication through his direct boss, Parjus.12

             89.    This was echoed by Parjus who he stated “the right way to communicate a

   complaint is through the Manager, then it is communicated to him and in turn he contacts Code

   Enforcement regarding the allegation. The wrong way is a Commissioner calling the Director of

   Code Enforcement.”13

             90.    Plaintiffs feared that this harassment at their holiday party might indicate Carollo

   had plans for future harassment against them and their businesses.


                    RETALIATION AGAINST BARLINGTON GROUP AND ITS
                             TENANT “SANGUICH DE MIAMI”

             91.    Plaintiffs, along with Barlington Group, LLC (“Barlington Group”), a limited

   liability company of which they are managing members, also supported the development of



   12
        Exhibit A, p. 29.
   13
        Id. p. 19.
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   Sanguich de Miami (“Sanguich”) an innovative restaurant aiming to bring a remodeled shipping

   container, an architectural concept recognized around the world, to create further retail activation

   on a part of the street that was a non-descript parking lot.

          92.     The success of shipping containers for retail activation was not only a worldwide

   phenomenon, it had also been established in hugely popular sections of Miami, including in the

   Wynwood Yard and at The Wharf on the Miami River. These were established pursuant to

   Temporary Use Permits (“TUPs”) under the City Code.

          93.     Here is a photo of the Sanguich structure on the property owned by Fuller and

   Pinilla in December of 2017:




          94.     Former District 3 Commissioner Frank Carollo (Joe Carollo’s brother), was a “huge

   proponent” of the Sanguich business and its location in the refurbished shipping container. Frank

   Carollo even suggested they partner with Plaintiff Fuller.

          95.     Many City officials including former Mayor Tomas Regalado and the Chief of

   Police attended Sanguich’s ribbon-cutting ceremony on Oct. 27, 2017.
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          96.     Sanguich obtained a business license from the City, known as a “BTR” and a state

   license for preparing and selling food and worked with a City of Miami Assistant Attorney to get

   temporary zoning approvals from the City.

          97.     Sanguich became a huge success, was overwhelmed with customers, received rave

   reviews, and would often times sell out of its products.

          98.     On November 26, 2017, just one week after Carollo discovered Plaintiffs

   supporting his competitor Leon, and only 5 days after he won the run-off election against Leon,

   Sanguich was “raided” by 25-30 City enforcement personnel including police, fire, building and

   Code Enforcement officers.

          99.     Just minutes before the raid, Fuller was contacted by City Manager Daniel Alfonso

   (“Alfonso”), who advised him that Code Enforcement had been summoned to the property. When

   Fuller asked if this was retaliation from the incoming commissioner Carollo, the City Manager

   responded simply by saying “si.” Again, the City had full knowledge of Carollo’s campaign to

   retaliate against Plaintiffs for their support of Mr. Leon.

          100.    After the Sanguich owners, Rosa Romero (“Romero”) and Daniel Figueredo

   (“Figueredo”), also contacted Alfonso, he confirmed to them that the raid was performed at the

   direction of Carollo and that Alfonso had no power to stop it. Alfonso advised them to meet with

   Carollo to learn the reason for the raid.

          101.    Romero and Figueredo met with Carollo on December 6, 2017. Carollo expressed

   that he felt the location of their business (on Plaintiffs’ property) was problematic and that they

   relocate to City-owned property. Specifically, Carollo stated, “I love it [the business],” just




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   “maybe not where you are, I think there’s a little park that’s near there and maybe the City can

   accommodate you.”14

           102.    Solely to ensure that Plaintiffs could not use the same concept approved and

   succeeding in Wynwood and the Miami River, within two miles of their location, Carollo managed

   at the Commission Meeting on December 14, 2017 to remove TUP’s solely from District 3.15

   Carollo did so without meeting the proper City procedure. There was no first hearing on the issue,

   and there was no public notice on the issue. He circumvented the proper procedure by inserting it

   into another commissioner’s legislation, on its second reading, depriving Plaintiffs of their due

   process rights and destroying the opportunity they had built, and were building, with other projects

   in their pipeline.

           103.    Thus, the same shipping containers that are authorized and in use in The Wharf on

   the Miami River and at Wynwood Yard in Wynwood could no longer be used in Little Havana.

           104.    Sanguich reopened on January 6, 2018 with a Temporary Events Permit (TEP).16

   That same day, however, City of Miami Code Enforcement showed up and advised them they were



   14
      Romero and Figueredo were eventually told that they were raided because they lacked a
   Certificate of Use (CU), but since they were operating a mobile vending unit and not a permanent
   structure that made no sense. After discussing this with the Assistant City Attorney, they were
   advised that they could operate, at least temporarily, with a Temporary Events Permit (TEP), while
   they sought to gain zoning approvals. The Assistant City Attorney further informed them that the
   City’s zoning code is vague and that a great deal of subjectivity is involved. They were advised
   that as a result of this, the District Commissioner, in this case Carollo, would likely have final say
   as to whether a building met code regulations.
   15
      See Ordinance 13733 enacted on January 11, 2018.
   16
      Figueredo had been informed that because they were a mobile vendor, having installed axels
   on the container as requested by the City, no Certificate of Occupancy was required. Indeed,
   many other businesses in the City such as The Wharf on North River Drive were operating
   under TEPs that allowed them to operate for up to two years if they are opened on vacant
   lands. However, Carollo had made it clear that he did not want TUPs to be utilized in
   Little Havana and as a result of that, he directed both the Building and Zoning
   Departments to make an example out of Sanguich because of its location on Plaintiffs’
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   not allowed to open. Code Officer Yacmany Salvatierra (“Salvatierra”) told them, “I’m sorry,

   this came from above, just know people are watching.”

          105.     Sanguich nevertheless opened and, two days later, on January 8th at approximately

   11:00 AM, Salvatierra returned with police and stated, “You’re not supposed to be open because

   the TEP had a condition that had not been met,” and threatened to arrest them if they did not close

   the business.    When Figueredo inquired with Building Department Director Jose Camero

   (“Camero”) as to why they were forced to close despite having a BTR and TEP, Camero stated “I

   got a phone call, but I can’t say from who . . ..”

          106.     In his testimony to the Ethics Commission, Parjus confirmed that the calls to the

   Building Department and the City were coming from Carollo personally or from a person

   acting at Carollo’s direction, stating “every time the guy [Figueredo] would open the door to

   clean up the place or do something we’d get a call . . . ‘hey they’re open up again,’ from the

   Commissioner’s Office or somebody else.”17 When receiving these repeated calls from Carollo

   personally or from a person acting at his direction, the City understood and continued to support

   Carollo’s unconstitutional campaign of harassment against Plaintiffs and their affiliated business

   continued.

          107.     Asked the reason for the harassment, Carollo told Figueredo, “my problem is

   not as much with you as it is with your landlord.”

          108.     The Sanguich proprietors, Romero and Figueredo are a husband and wife team who

   had invested their family’s entire savings in the concept. The machinations of Carollo and the City




   property.
   17
      Exhibit A, p. 19. (emphasis added)
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   drove them to the verge of bankruptcy and Carollo ultimately succeeded in shutting down

   Sanguich on property owned and rented by Plaintiffs.

          109.    Sanguich has since relocated to a nearby typical retail building:




          110.    Since relocating off of Plaintiffs’ property, Sanguich has ceased receiving any

   City code violations or any retaliation by Carollo.

          111.    Plaintiffs have suffered monetary damages as a result of Carollo forcing

   Sanguich to relocate off of Plaintiffs’ property including the loss of rental income in excess

   of $12,000 per year. All claims related to monetary damages have been assigned by the

   relevant business entity to Plaintiffs in their individual capacities.

          112.    Further, with the realization that Carollo was now relentlessly targeting

   businesses that rented from Plaintiffs, and in the past had been welcomed by city officials

   with open arms, Plaintiffs began to experience extreme mental anguish and emotional

   distress, which manifested through sleeping difficulties and other physical ailments.




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        RETALIATION AGAINST PLAINTIFFS AND THEIR TENANT UNION BEER

          113.    Fuller and Pinilla are also the landlords and partners of the Union Beer Store, an

   oasis for beer lovers in Miami’s Little Havana neighborhood with 18 taps, pouring the best beers,

   local and otherwise, including beers on nitro, cask ales from a beer engine and a growler station.

          114.    David Rodriguez and Cecilia Rodriguez are also a husband and wife team who

   have invested their life savings into creating Union Beer, which is located at 1547 SW 8th Street,

   a building owned by Plaintiffs. Union Beer has been a tenant of Plaintiffs since February 2017.

          115.    On February 10, 2018, Union Beer held its one-year anniversary party in the

   parking lot behind their business. Carollo suddenly appeared at the property with several police

   officers with flashing lights and approximately 15-20 Code Enforcement officers.           Carollo

   confronted the Rodriguezes and told them “You need a temporary events permit . . . but even if

   you had applied for one, I would have denied it.” The City Commissioner does not approve special

   events permits. They are approved by City administration, not by commissioners. Therefore, his

   statements were both false and threatening by nature.

          116.    Carollo ordered Code Enforcement to shut the party down and posted a Code

   Enforcement officer at the door of the business for the next two hours.      In doing so, Carollo,

   supported by the City, coordinated a well-organized attack by an overwhelming number of police,

   Code Enforcement and other City employees, and Carollo himself attended to videotape the chaos.

          117.    Prior to this event, Union Beer had never been cited for any significant code

   violations nor had any of its operations shut down.

          118.    Carollo was heard bragging to patrons of the El Pub bar that he would do everything

   possible to shut down Union Beer.



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          119.    Learning that Carollo was continuing to target businesses that partnered with,

   or rented from Plaintiffs, with the aim of shutting those businesses, further exacerbated

   Plaintiffs’ mental anguish and emotional distress, including sleeping difficulties and other

   physical ailments.


                  CAROLLO’S RETALIATION AGAINST BALL & CHAIN’S VALET
                                  OPERATIONS

          120.    On February 18, 2018 at approximately 12:30 A.M., Carollo, Lugo, Miro and

   Miro’s wife entered a parking lot located at 1411 SW 11 St., Miami FL 33135.

          121.    The lot is attached to St. Peter & Paul Orthodox Christian Church but at night is

   leased by S.H. Valet, the valet operator for Ball & Chain. S.H. Valet had leased and used the

   Church’s lot for parking cars for many years without any complaints from the City.

          122.    Lugo and Miro’s wife began photographing the parked cars.

          123.    Initially when approached by the valet employee, Lugo claimed it was a “private”

   matter and she had a meeting with the priest (at 12:30 AM).

          124.    The valet attendant then noticed another woman taking photos (Miro’s wife) and

   asked what she was doing and asked her to stop taking pictures.

          125.    Carollo then lowered his car window, flashed his City of Miami identification

   telling the valet attendant that he was performing an “official investigation” of the valet operation

   and lot and that he was doing so in his official capacity as a City of Miami Commissioner.

          126.    A few minutes after the discussion, the operator of S.H. Valet, Alain Garcia

   (“Garcia”), arrived at the lot and confronted Carollo. Garcia explained that the valet operation at

   the lot had been approved by the Miami Parking Authority and that S.H. Valet had a valid lease

   with the Church to utilize the lot at night.

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          127.     Garcia then once again questioned what Carollo was doing there and in response

   Carollo told Garcia, “I am the law.” Miro corroborated this fact during his testimony to the Ethics

   Commission.18

          128.     Carollo further went on to tell Garcia that while he may be a hard worker just doing

   his job, he was “working for a millionaire” (meaning Fuller) which was not acceptable to the

   Commissioner.

          129.     During his testimony to the Ethics Commission, Carollo denied ever having flashed

   his badge or telling Garcia that he worked for a millionaire. Yet in an article published in the

   Miami New Times on September 17, 2018,19 which included video footage of the incident in

   question taken by Miro’s wife,20 Carollo can clearly be heard saying in Spanish “pero trabajando

   con un millionario,” which in English means, “but you are working for a millionaire” establishing

   that he lied to the Ethics Commission.

          130.     After Garcia once again asked him to leave the private property, Carollo told Garcia

   he would receive the official results of his “investigation” in the next few days. He then exited the

   lot with his associates.

          131.     Learning that Carollo was continuing to make midnight raids on businesses

   that partnered with, or rented from Plaintiffs, with the aim of shutting those businesses, added

   to Plaintiffs’ mental anguish and emotional distress, including sleeping difficulties and other

   physical ailments.




   18
      Exhibit A, p. 26
   19
      https://www.miaminewtimes.com/video/video-suggests-commission-joe-carollo-lied-to-ethics-
   commission-ppu1d8bv
   20
      The Ethics Report establishes the fact that Miro’s wife was the one filming the incident in
   question that evening. See Exhibit A, p. 6.
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             CAROLLO’S RETALIATORY ACTIONS AT THE GAY 8 FESTIVAL

           132. The Gay 8 Festival took place on Calle Ocho on Sunday, February 18, 2018, hours

   after Carollo had raided Fuller and Ball & Chain’s valet operation.

           133. Carollo’s target at the Gay 8 Festival was Sanguich, which was still at that time a

   tenant of Plaintiffs, and had obtained permission to operate as a tent vendor during the festival.

           134. Carollo sent Miro to the festival on his behalf to be the onsight administrator

   of an orchestration of a barrage of attacks by the Fire Department, the Police Department, the

   Special Events Department and Code Enforcement, and Miro was telling all of the City

   employees that Carollo was available to talk by phone.

           135. Carollo asked Miro to speak to Carlos Diaz (“Diaz”), a fire inspector for the City

   of Miami, to inform him that Carollo was concerned about one vendor whom he alleged was

   selling contaminated food.

           136. When Diaz arrived, Carollo spoke to him on the phone. According to Diaz, Carollo

   identified himself as the Commissioner and made false accusations about spoiled food at

   “Sanguich” stating he had reason to believe the food had been brought in a day or two ago, had

   been stored in a hot trailer and might be contaminated. He also stated that the vendor lacked

   proper licenses.

           137. Diaz informed Carollo that as fire inspectors, they do not inspect food or licenses,

   but that he would pass along the information. Carollo told Diaz that the City had “issues” in the

   past with the vendor in question and that he wanted the inspectors “to follow up” with the vendor.




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           138. Diaz went to the site and conducted the inspection of the kitchen area of Sanguich

   and determined that “everything was brand new” and “everything had been inspected” and there

   was no spoiled food: “Nothing smelled bad, nothing was rotten.”

           139. The inspection was conducted in both the container and the tent. Upon concluding

   the inspections, Diaz notified Miro, the police officers, the “Sanguich” owners and the Gay 8

   coordinator that they passed the surprise inspection. Romero and Figueredo were permitted to

   continue to operate despite suffering significant embarrassment and despite Carollo costing the

   City hundreds of dollars in blatant misuse of City resources and employees.

           140. In Diaz’s 27-year career as a City Fire Inspector “neither he nor any of the

   inspectors had ever received such a call from a Commissioner.”

           141. Miro confirmed Carollo’s direct involvement with the targeted attack on Sanguich

   and further explained that although Carollo was not physically present, Carollo was in constant

   contact with City Attorney Victoria Mendez and Parjus about the situation. Through Carollo’s

   constant contact with the City Attorney and Mr. Parjus during this act of retaliation, the City again

   had further knowledge of Carollo’s retaliation against Plaintiffs, and failed to take any steps to

   deter this repeated unconstitutional activity.

           142. Because Carollo had sent Miro to work at the festival on a Saturday, a normal day

   off for most City employees, Carollo arranged for the City to compensate Miro for Miro’s actions

   on Carollo’s behalf at the Gay 8 Festival in the form of compensated vacation days.

           143. Carollo did not target any other vendor at the Gay 8 Festival.

          144.    Learning that Carollo would continue to target businesses that rented from

   Plaintiffs during community building festivities added to Plaintiffs’ mental anguish and

   emotional distress, including sleeping difficulties and other physical ailments.

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        CAROLLO ORDERS CODE ENFORCEMENT TO TARGET OTHER PROPERTIES
                               OF PLAINTIFFS

              a.    The March 3, 2018 Carollo Ride Along

              145. On Saturday, March 3, 2018, Carollo violated the City Charter so egregiously that

   it was unprecedented.

              146. Carollo called a Code Enforcement supervisor named Michelle Watt and asked her

   to instruct a Code Enforcement officer to meet him in Little Havana because he had some questions

   and needed assistance. Watt instructed Code Enforcement Officer Dennis Uriarte (“Uriarte”) to

   meet Carollo at 1600 SW 8th Street. Uriarte had been assigned to Coconut Grove, not Little

   Havana. Uriarte found the request “very unusual” because Commissioners should “know better”

   than to call Code Enforcement directly,21 and he had never before received such a call, saying: “in

   my 2 ½ years, that was the first time, it’s been the only time.”22

              147. When Uriarte arrived, Carollo said he believed the construction at the property

   lacked permits. Uriarte verified online with the City’s iBuild website and determined the sight

   was “legit” and had permits. Uriarte obtained a copy of the construction site’s plans and found

   they were proceeding legally.

              148. Uriarte thought that would be the extent of his interaction with Carollo, but Carollo

   then asked if he could ride with him in the City Code Compliance vehicle, in order to point out

   five additional sites, located elsewhere on SW 8th Street, three of which belonged to Fuller and

   Pinilla, on which he wanted to search for code violations.




   21
        Exhibit A, p. 34
   22
        Id. pp. 34-35.
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           149. Uriarte stated “I don’t think it is part of our job . . . it never happens . . . this was a

   very unusual task given to me.” He continued by stating, “probably the supervisor didn’t even

   know that he wanted to ride with me.” Uriarte added that “I had to say yes” and did not want to

   get in “trouble for saying no to a Commissioner.”23

           150. In fact, because Uriarte and his supervisor Sierra were uncomfortable with the

   request for the ride-along, they called their former supervisor Diez who suggested that they put

   something in writing documenting the request.24

           151.    After the ride-along Carollo called Uriarte to follow-up to see if Uriarte had issued

   citations to the Plaintiffs for the alleged code violations Carollo had claimed existed. Uriarte

   directed him to Sierra for any code violations on the properties in question.

           152. Sierra consequently sent James Bernat (“Bernat”), the new Acting Code

   Enforcement Director, an email on March 8, 2018 explaining that he “received a phone call . . .

   yesterday in the evening from Commissioner Carollo requesting updates on the complaints he

   [Carollo] gave inspector Dennis Uriarte last Saturday during their ride along.” Sierra also provided

   updates for each complaint. A copy of the Sierra March 8 Email is attached hereto as Exhibit C.

           153. At the time of the ride-along, Bernat was on his first week at the job as the new

   Acting Code Enforcement Director. Bernat stated that the ride-along was done “without his

   knowledge or authorization,”25 and that Commissioners should not be going in cars or doing ride-

   alongs with inspectors, especially without the approval of their supervisor. Bernat has since

   directed his officers that they cannot participate in ride-alongs with Commissioners.




   23
      Id.
   24
      Exhibit A, p. 31.
   25
      Id. p 22.
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           154. On the ride along, three of the five properties Carollo pointed out to Uriarte were

   owned by Plaintiffs. The fourth was owned by a close friend of Plaintiffs named Marcus Lapuic.

   When he inquired why he had been targeted, Lapuic learned from a source close to Carollo, that

   “because you’re a friend of Fuller, you’re a friend of the enemy, and therefor you’re a frenemy”

   and was on the list of properties to consider targeting.

           155. None of this occurred through the proper legal channels of the City Manager as

   required by the City Charter.

          156.    Learning that Carollo was now targeting any property associated with

   Plaintiffs added to Plaintiffs’ mental anguish and emotional distress, including sleeping

   difficulties and other physical ailments.

           b.     The March 14, 2018 Park and Walk – Fabricated Noise Complaints

           157. Eleven days later, on March 14, 2018, Carollo arranged for a “park and walk” with

   numerous City employees, including Bernat, a police officer, two Code Enforcement personnel,

   Sean Moy, President of the AFSCME Union, Lugo, who was also then an Executive Board

   Member of the AFSCME Union, and Steve Miro.26


   26
      One might ask why the AFSMCE Union officials would be assisting Carollo, how they
   benefitted, what they owe Carollo, and why all that is relevant to this case. As Commissioner of
   District 3, Carollo is also the Chairman of the Bayfront Park Management Trust, a prestigious
   board that is responsible for the oversight of Bayfront Park. In exchange for assisting in his dirty
   work, Carollo rewarded Lugo, an Executive Board Member of AFSMCE, with an appointment to
   the Bayfront Park Management Trust Board. Not coincidentally, upon information and belief,
   Carollo then colluded with Lugo to have her support his initiative to gift $3 million dollars in
   “surplus” funds from the Bayfront Trust to the City of Miami to help the city “balance the budget”
   and ensure that its union workers, including those in the AFSMCE, would not suffer a pay cut.
   Shortly thereafter, Plaintiffs have learned that, upon information and belief, Carollo convinced the
   City to replace the current Chief of Code Enforcement, with AFSMCE President Sean Moy.
   Meaning that Carollo will now have a “friend” running Code Enforcement that will owe him a
   favor for ensuring his union members did not suffer a salary cut. This favor will surely come in
   the form of a storm of “legitimate” Code Enforcement actions against Plaintiffs.

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           158. This again was done by Carollo as a City Commissioner with City employees

   outside the knowledge and purview of the City Manager in direct violation of the City Charter.

           159. Prior to the walk, Carollo and Lugo had visited residents in a building located to

   the rear of Ball & Chain on 7th Street, close to 15th Avenue. Carollo and Lugo had visited several

   times and provided the residents with Carollo’s cell phone number, instructing them to call him

   directly in the event they had complaints of any kind. Carollo explained to the tenants that he

   would then call Code Enforcement himself to address any issue (which, of course, would violate

   the Charter).

           160. Lugo then brought Bernat to meet one of the residents who lived behind Ball &

   Chain, whom Carollo and Lugo had already prepped. Not surprisingly, the woman complained of

   loud music after 9:00 pm at the club.

           161. Bernat further stated that he had received calls directly from Carollo’s office about

   Ball & Chain and other businesses throughout 8th Street. Bernat indicated that Carollo did make

   allegations of corrupt dealings between the MPA and Ball & Chain and stated that the valet in

   front of Ball & Chain was illegal and should not be allowed to operate, but he did not provide any

   tangible evidence.

           162. Prior to Carollo and his team’s visits, there had been very few noise complaints

   about Ball & Chain but after Carollo’s team had reached out to the neighbors, the complaints

   became an onslaught (orchestrated by Carollo).

           163. To assure that it could defend any false reports of noise violations, Fuller and his

   partners in Ball & Chain spent significant resources to implement high tech noise cancellation

   equipment and a master switch to control the volume of the music automatically depending on the

   time of the night. This master switch could not be changed by staff.

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             164.   Learning that Carollo was now galvanizing broad City personnel and resources

   in his targeting of Plaintiffs added to Plaintiffs’ mental anguish and emotional distress,

   including sleeping difficulties and other physical ailments.

                      FULLER’S ETHICS COMPLAINT AGAINST CAROLLO

             165.   On or about March 12, 2018, Fuller c/o The Barlington Group filed the Ethics

   Complaint against Carollo with the Miami-Dade Commission on Ethics and Public Trust.

             166.   After the Ethics Complaint was filed, Carollo attempted to tamper with the

   witnesses and get them to perjure themselves.

             167.   In particular, Carollo asked Miro (now his acting senior advisor) how he planned

   to respond to questions from investigators. Miro responded that he would answer all questions

   truthfully. Carollo was upset by this response, and instructed Miro to tell the investigators that all

   actions taken against properties owned by or related to the business interests of Bill

   Fuller/Barlington Group were the result of “anonymous complaints.”27 Miro stated that Carollo

   tried to “coerce me into saying something that is totally not true” and he (Miro) would not put

   himself in that predicament, to lie about anonymous complaints. “Joe wanted me to say there were

   anonymous complaints and there were none. I never received any anonymous complaints,” said

   Miro, noting that in his City position, he would have to be aware of citizens’ complaints.28

             168.   From that point forward, Miro’s relationship with Carollo soured, ultimately

   leading to his termination by Carollo on June 4, 2018.




   27
        Exhibit A, p. 27.
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        Exhibit A, p. 27.
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          169.    After Fuller filed the Ethics Complaint, and for the next five months while the

   investigation was pending, Carollo temporarily ceased his harassment. There was a noticeable

   difference, becoming eerily quiet. It went from a constant barrage of harassment to nothing.

          170.    In fact, even the noise complaints against Ball & Chain ceased.

          171.    On or about August 6, 2018, Fuller requested permission to withdraw the Ethics

   Complaint, and it was withdrawn as of August 13, 2018.

          172.    Fuller withdrew the Ethics Complaint because it had been too narrowly drafted.

          173.    An abundance of information surfaced that had become the basis of filing the

   Complaint in this action and possible additional filings, including both ethics and possible criminal

   complaints.

          174.    Carollo interpreted the withdrawal of the Ethics Complaint as a sign of weakness

   and defeat and as a green light to resume and even ramp up his attacks on the Plaintiffs, which is

   jokingly now called in City circles as “Round 2.”

          175.    For example, after the withdrawal of the Ethics Complaint, noise complaints against

   Ball & Chain resumed, with the first one being filed directly by Carollo himself by text message

   on September 14, 2018, not by any neighbors of Ball & Chain. (As explained further below, on

   October 2, 2018, Carollo was again found walking around the Ball & Chain neighborhood trying

   to find neighbors willing to complain).


            CAROLLO TARGETS PLAINTIFFS’ CALLE OCHO MARKETPLACE

           176. Another target on Carollo’s hit list was Plaintiffs’ property located at 1380 SW 8th

   Street, known as Calle Ocho Marketplace. Calle Ocho Marketplace consists of two (2) contiguous




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   parcels of land. The first has an existing Mexican restaurant on it and the second consists of an

   open-air lot where Plaintiffs intended to put a kiosk marketplace.

              177. To that end, Fuller and Pinilla had invested over $100,000 dollars to retro-fit

   containers into smaller kiosks to house the marketplace vendors.

              178. On August 20, 2018, a mere seven days after Plaintiffs had withdrawn the Ethics

   Complaint against Carollo, Plaintiffs received a letter from the City which included notice of a

   code violation of Section 3.63(g) of Miami 21 at Calle Ocho Marketplace (the “Notice”).

   Specifically, Section 3.63(g) of Miami 21 relates to “Off-Street Parking Facilities” and states as

   follows:

              Inoperable vehicles and other inoperable Recreational Watercraft or equipment
              shall be stored only in storage facilities or other approved places where they are
              completely concealed from public view.

              179. The Notice contended that the kiosks somehow constituted equipment and the

   marketplace somehow constituted a parking facility and that Plaintiffs therefore either had to fasten

   down the kiosks or remove them no later than August 22, 2018.

              180. Given that the kiosks were actual building structures and not equipment, and further

   given the fact that Plaintiffs had a lawful Farmer’s Market TUP and Building Permit to have the

   kiosks on the property, the Plaintiffs consulted with their attorney Dombrowski who reached out

   to Assistant City Attorney to resolve the issue.

              181. On August 31, 2018, while the parties were still discussing how to resolve the

   matter, the City filed an Emergency Motion for Injunctive Relief (“Motion”) asking the Court to

   either force Plaintiffs to remove the kiosks or grant the City the authority to remove and destroy

   every kiosk from the property.




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           182. On September 4, 2018, Plaintiffs received a letter from the City indicating that it

   was revoking the Farmer’s Market TUP on the property. Because the TUP formed the basis for

   the building permit that allowed for the kiosks to be on the property, the City also indicated it

   would revoke the building permit, which it did 7 days later on September 11, 2018.

           183. On September 6, 2018, Judge Miguel De La O denied the Motion.

           184. That same day, the City dragged Plaintiffs in front of the Code Enforcement Board.

           185. Once again, Carollo attended the meeting. During that meeting the City Attorney

   Victoria Mendez told the Code Enforcement Board that the Farmer’s Market TUP never should

   have been issued because the lot was less than 5,000 feet. This was a blatant lie as the plans

   submitted for the permit clearly indicated that there was over 8,300 square feet for the market.

           186. To add fuel to the fire, Carollo delivered a defamatory and false speech, lasting

   more than 10 minutes, attacking the Plaintiffs. Carollo argued that while the Plaintiffs had a

   Farmer’s Market permit, he knew they were not going to sell vegetables but rather would hock

   goods as they would in a fourth or fifth world market.

           187. The combination of the City Attorney’s lie regarding the square footage of the lot

   and the false and defamatory statements made by Carollo to the Board, resulted in the Board’s

   decision to give Plaintiffs less than 48 hours to remove the kiosks or else start to incur fines of

   $250 per day.

           188. Believing that they had been significantly wronged and intending to challenge the

   revocation of their permits, Plaintiffs did not remove the kiosks by the deadline. Accordingly, the

   City requested an emergency hearing at the next Code Enforcement Board Meeting on September

   12, 2018.




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           189. Plaintiffs attended the hearing with their attorney who attempted to explain the

   errors behind the revocation of the TUP and the false statements made to the Board by Victoria

   Mendez. Rather than give the Plaintiffs a chance to argue their case, the Board, who had clearly

   been prejudiced by the prior statements made by Carollo and Mendez, granted the City permission

   to enter the property and remove the kiosks.

          190.    This whole chain of events added to Plaintiffs’ mental anguish and emotional

   distress, including sleeping difficulties and other physical ailments.


            CAROLLO’S RETALIATION AGAINST THE PLAINTIFFS’ USE OF THE 7TH
                            STREET PARKING LOT

           191. On the morning of Saturday, September 15, 2018, at approximately 12:30 am, three

   City of Miami Code Enforcement Officers and a police officer showed up at Ball & Chain to

   complain about alleged illegal parking on a lot owned by Plaintiffs that was adjacent to Ball &

   Chain. According to Code Enforcement, they were there as a result of an “anonymous” complaint

   about illegal parking. The lot, which is zoned commercial and therefore may be used for parking,

   is utilized by the employees of Ball & Chain to park their cars while they are at work.

           192. Fuller was not there but both the valet manager and general manager dealt with the

   officers. The Code Enforcement officers issued Plaintiffs a citation for illegal parking and failure

   to have a Certificate of Use on the lot and then, at the direction of the police officer, forced all of

   the employees to stop working and immediately move their cars.

           193. The problem with that is Code Enforcement is only empowered to issue citations.

   Citations can then be contested. Code Enforcement is not empowered to take affirmative action

   to remove perceived code violations prior to a hearing.




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          194.      This process took approximately an hour as 25 employees – management, waiters,

   bartenders, busboys, the disc jockey – all took turns leaving work and moving cars, resulting in a

   significant disruption of work at Ball & Chain. The Code Enforcement officers and police

   remained on the premises essentially intimidating the staff until every car had been moved.

          195.      Later that morning, after having learned about the incident, Fuller called a Code

   Enforcement Officer (the “Officer”) to inquire as to why the citations were issued when the parking

   was legal.

          196.      The Officer informed Fuller that he was not aware that Code Enforcement had been

   sent to Ball & Chain but said he would investigate and get back to Fuller. Approximately a half

   hour later, the Officer called Fuller back and said there must have been a mistake because the lot

   was zoned commercial and could be used for parking and that he would see what he could do about

   it.

          197.      On Monday, September 17, 2018, Fuller made a public records request to try to

   ascertain the source of the complaint.

          198.      On Tuesday, September 18, 2018, just as he was walking into a previously

   scheduled meeting with the Officer, he received a response to the records request which included

   a screenshot of a text message sent by Carollo to the City Manager on September 15, 2018

   that said “Mr. manager 1530 sw 7 street still parking illegally and music blaring in violation

   of city code.”

          199.      Here is a picture of the actual text message:




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                             ,dl Veri?on LTE          11 :40AM                 100% -   •


                              <                  Femando Casamayor
                                                                                  CD
                                                    Text Mess.age
                                                   Sunday 7 57 AM


                                 Sir, got this from the manager very
                                 late last night:

                                 Received from Comm Carollo:

                                 Mr. manager 1530 s w 7 street still
                                 parking illegally and music blari ng in
                                 violation of city code. Also empty
                                 lot next to 1322 s w 7 street full of
                                 ca rs on unpaved lot. In addition
                                 illegal parking next to 1780 s w 7
                                 street.The pariking on the front side
                                 connected to 8st is ol<.

                                 More:

                                 Additionally on 827 s w 14 ave
                                 which is residential there are illegal
                                 cars parked. Lastly on 1742 n w 7st,
                                 1700 n w 7 st and 601 n w 17 ave
                                 t here are dozens of illegal cars
                                 being parked in unimproved
                                 parcels. Than k you.

                                 Marjorie and I both enjoyed seeinQ

                              m 0)                                              G
                                       GD            CD .n                ',    •••

          200.   Neither the Code Enforcement officers nor the police officer mentioned any noise

   complaints while they were at Ball & Chain and no citation had been issued for excessive noise

   while they were there. Fuller, armed with the knowledge that it was Carollo who made the

   complaint directly, and who was with his attorney Dombrowski at the meeting, again discussed

   the events of Friday night with the Officer. The Officer told Fuller “no hard feelings but we

   received an anonymous complaint.” At that point, Fuller showed the Officer the screenshot of the

   text message from Carollo and said that there was nothing anonymous about it. Carollo had




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   contacted the City directly to send Code Enforcement to cite the bar. In response, Officer stated,

   “[h]oly shit!”

             201.   The Officer then advised Fuller that Ball & Chain also received a noise citation on

   Friday night.

             202.   When Fuller explained that they had not received any noise violation and that

   despite being on the property for almost two hours, the Code Enforcement officers never

   mentioned a noise violation or took any decibel readings, the Officer looked in the computer and

   confirmed that nothing had been issued.

             203.   Approximately an hour after the meeting at 3 pm on Tuesday, September 18th, a

   violation was posted outside Ball & Chain for excessive noise with a date of September 15, 2018.

             204.   In his testimony before the Ethics Commission, Daniel Sierra explained that it was

   new code enforcement policy that whenever noise complaints were issued, the Code Enforcement

   officer had to return to the establishment cited every 45 minutes to verify whether they were in

   violation of the noise ordinance.29 Despite this official policy on noise violations, no one said a

   word to anyone at Ball & Chain on the night of the 15th about a noise violation and no one returned

   in 45-minute intervals to take decibel readings. Nonetheless, the notice of the noise violation from

   that night was posted on the outside of Ball & Chain on September 18th following Fuller’s meeting

   with the Officer, three days after the alleged violation occurred.

             205.   This was obviously Carollo manufacturing a false noise violation against Plaintiffs’

   businesses, and with the City’s assistance in pursuing this false and belated noise violation.




   29
        Exhibit A, p. 34
   AXS Law Group PLLC                                                                      37 | P a g e
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             206.   This false noise complaint is of great significance since, with three such (false)

   complaints, Carollo may attempt to force Ball & Chain to shut down permanently.

             207.   This chain of events, and confirmation of Carollo’s continued attacks on

   Plaintiffs and their associated businesses, with the aim of shutting them do wn, added to

   Plaintiffs’ mental anguish and emotional distress, including sleeping difficulties and other

   physical ailments. It also caused significant monetary damage and all claims for monetary

   damages that have been suffered by entities associated with Plaintiffs have been assigned to

   Plaintiffs in their individual capacities.


              CAROLLO IS DISCOVERED LURKING BEHIND BALL & CHAIN NEXT TO
                THE 7TH STREET PARKING LOT AT 9 PM SEARCHING FOR CODE
                                     VIOLATIONS

             208.   On October 2, 2018 at 9 pm, one of the Ball & Chain managers was returning to

   his car in the 7th Street parking lot when he noticed three men standing next to the lot in front of

   some residences discussing Ball & Chain.

             209.   One of the men was Carollo. The second was Saul Cimbler, a Cuban-American

   attorney who has been suspended by the Florida Bar and who runs a business assisting people to

   “legally do business in Cuba.”30 It is not clear why Carollo had Cimbler with him lurking behind

   Ball & Chain.

             210.   The third was Frank Pichel, a current member of the Code Enforcement Board. It

   is highly suspicious why Carollo would be with a Code Enforcement Board Member in the dark

   in the back of Ball & Chain on a Tuesday night. Moreover, Mr. Pichel’s participation again




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        http://loramedia.com/blog/team/saul-cimbler/
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   signifies the City’s knowledge and support for Carollo’s unconstitutional retaliation against the

   Plaintiffs.

           211.   After discussing the fact that the residences were over 100 feet away from the music

   playing at the bar, Carollo went over to the apartments and began knocking on doors to ask the

   residents about the music, to see if he could find any to file a noise complaint against Ball & Chain.

           212.   At that point, the General Manager arrived on scene and began filming Carollo.

   Realizing that he was on film, Carollo became very defensive, took out his phone and started

   filming the Ball & Chain employees. Here is a photo from that night.




           213.   The General Manager subsequently spoke to the people living in the apartments

   where Carollo had been knocking on doors. The neighbors stated that they had no issues with the

   music coming from Ball & Chain and that most times they did not notice it. They confirmed that

   no complaints had been made that night and they did not know why the Commissioner was

   knocking on their doors at 9 pm on a Tuesday night.




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           214.    While the video clearly shows Carollo at the location, the third man, Pichel, who

   sits on the Code Enforcement Board and, if he does not recuse himself, would be ruling on any

   noise complaints, refused to be on video and hid behind a tree.

           215.    Carollo’s continued stalking of Plaintiffs, bringing along members of the Code

   Enforcement Board, added to Plaintiffs’ mental anguish and emotional distress, including

   sleeping difficulties and other physical ailments.

                   CAROLLO’S RETALIATION AGAINST VIERNES CULTURALES

           216.    Fuller is President of the neighborhood organization Viernes Culturales, a nonprofit

   organization which coordinates the popular Viernes Culturales/Cultural Fridays art, music and

   culture festival held on the last Friday of every month on Calle Ocho. Viernes Culturales is

   currently in its 18th year.

           217.    One of the main areas that the festival utilizes to house its vendors is Domino Plaza.

   On a typical Friday night, there would be a cultural gathering such as the following:




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          218.    In August 2018, Carollo ordered that Domino Plaza be shut down and physically

   barricaded. No public reason was ever given.

          219.    However, when the security guard at Domino Plaza was asked why it was shut

   down, she said it was at the order of the Commissioner. Asked how she knew Carollo had closed

   it, she said he had come to the site on Thursday to make sure it was shut down.

          220.    Domino Plaza reopened on August 29, 2018, and on Friday, August 31, 2018, just

   two hours before Viernes Culturales was set to begin, he ordered it shut again. The excuse was

   “pothole repair,” but in reality there were only a few tiles that had been removed (probably at the

   order of Carollo).

          221.    Since the Plaza was completed in the mid 2000s, Viernes Culturales has always

   used the Plaza for the event. It has never had to relocate for a festival. Carollo’s forced relocation

   resulted in many people believing that the festival was canceled.

          222.    Carollo’s closing of Domino Plaza is a direct attempt to target and destroy Viernes

   Culturales simply because Fuller is the President.

          223.    In fact, another City Commissioner has stated explicitly that Carollo is targeting

   the festival to “fuck with Fuller.”

          224.    During his sworn statement, Miro explained that Carollo had hired his attorney to

   form a competing organization to Viernes Culturales that he hoped would replace it. Miro

   explained “[s]o he had his attorney, Ben Kuehne open up another corporation of the Que Pasa

   Little Havana I believe. You got to check Sunbiz for that, that’s what I believe it’s called. To take




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   -- take over Viernes Culturales.”31 When Fuller asked Miro why Carollo would want to take over

   Viernes Culturales, Miro replied, “Just because it’s yours.”32

                    CAROLLO’S RETALIATORY DEFAMATION AGAINST PLAINTIFFS

             225.    Carollo has also gone on popular radio shows and defamed Plaintiffs and their

   businesses and their tenants.

             226.    This defamation is part and parcel of Carollo’s retaliation against Plaintiffs and is

   aimed specifically to harm their businesses.

             227.    On the Raul Martinez show, Carollo, referencing Plaintiffs specifically, said:

                     “There is a large group of people buying property in the historic part of Little
                     Havana to de-Cubanize and de-Latinize Little Havana”.

             228.    Carollo further alleged that Plaintiffs were connected to the corrupt socialist

   dictatorships in Cuba and Venezuela, claiming that Plaintiffs were:

                     “Being supported by a small group of Venezuelans that have companies in
                     Panama or the father of one of them is a Venezuelan ambassador to Cuba.”

             229.    Carollo then alleged that the corrupt Venezuelans were:

                     “leaving El Padrino [referring to Plaintiff Bill Fuller] to operate like a Godfather
                     buying places full of code violations, buildings and nothing happens.”

             230.    Carollo then claimed that Plaintiff Fuller:

                     “has purchased all of the major commercial properties of Calle Ocho and he says
                     that ‘we buy properties from investors funds’”

             231.    Carollo further suggested and implied that Plaintiff Fuller’s money for investment

   was coming from corrupt Venezuelans:

                     “This guy has been buying properties for 4 years, he had said that he didn’t have
                     any money and suddenly he has it. From where is this money coming?”


   31
        Exhibit B, p. 18, ll. 13-25 and p. 19, ll. 1-19.
   32
        Id.
   AXS Law Group PLLC                                                                        42 | P a g e
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          232.      Carollo next falsely claimed that Fuller was sending City inspectors to pressure

   property owners to sell their property to Fuller:

                    “Then, I hear stories of merchants even 3rd generation merchants that operate
                    here, Cubans, other no Cubans that are Hispanics that have businesses, that
                    ‘they’ are sending those city inspectors, another way to pressure them to sell their
                    businesses to them, this is ugly.”

          233.      During the Radio Actualidad show, Carollo falsely claimed that Plaintiff Fuller (a)

   “Operates all of his businesses without permission,” (b) was “Robbing money from the City of

   Miami by not paying valet fees,” and (c) that “Ball & Chain has caused prostitution on Calle 8.”

          234.      Each of Carollo’s statements listed above was knowingly false, malicious,

   published widely to the community, and intended to harm Plaintiff Fuller and his businesses.

          235.      Further, Carollo uses his perceived immunity to defamation as a public official to

   intentionally defame Plaintiffs in order to harm their reputation and cause economic damages.

          236.      Carollo’s false and defamatory statements have caused Plaintiffs’ to suffer

   mental anguish and emotional distress and have harmed Plaintiffs’ reputations.


       CAROLLO’S ATTEMPT TO DESTROY VIERNES CULTURALES AFTER THE
                  FILING OF THE COMPLAINT IN THIS ACTION

          237.      Undeterred by the filing of the Complaint in this action, and a stay entered by this

   Court based on Carollo’s attorney’s representations that Carollo was busy with upcoming

   elections, Carollo and the City’s retaliatory action towards Fuller, Pinilla and Viernes Culturales

   has continued.

          238.      During the 18-year history of the Viernes Culturales festival, and right up until

   October 2018, Viernes Culturales had never applied for or obtained a special events permit in

   relation to Domino Plaza, where a key part of the festival occurs. And despite its heavy



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   involvement in the festival, prior to October 2018, the City has never requested or required Viernes

   Culturales in its 18 years of existence to pull any type of events permit.

          239.    The first time Viernes Culturales applied for a special events permit for use of

   Domino Plaza was for the October 2018 event. The reason Viernes Culturales did so in that month

   was because Mr. Fuller learned that Carollo was planning to apply for a permit for himself for that

   same day, in order to block the Viernes Culturales festival.

          240.    Accordingly, Pati Vargas, the Director of Viernes Culturales, applied for and was

   granted a special events permit for the event on the last Friday of October, 2018.

          241.    Ms. Vargas had been asked to secure permits for the remaining fourth Fridays of

   each month as well. When she submitted the application for the last Friday of November, however,

   she was informed by the City that Commissioner Carollo had in fact beaten her to the punch and

   filed his application for use of the Plaza (the same location) for the fourth Friday of each month

   (the same time period), for the next year.

          242.    Specifically, the City stated: “Please be advise [sic] that at this time you [sic]

   application for Viernes Culturales for Domino Plaza can’t be process [sic] since the park has been

   reserve [sic] for those days.”

          243.    Plaintiffs obtained a copy of the application Carollo submitted, which he did on

   November 8, 2018. The application was submitted in Commissioner Carollo’s own name, and the

   City Attorney, despite being fully aware of Carollo’s retaliatory conduct, has rebuffed complaints

   from Viernes Culturales, stating that Commissioners have the right to reserve public spaces

   whenever they want.

          244.    Accordingly, not only did the City condone Carollo’s unconstitutional retaliation

   against Plaintiffs and Viernes Culturales, but assisted Carollo in doing so by, for the first time in

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   18 years, requiring that Viernes Culturales obtain a permit for Domino Plaza and assisting Carollo

   in reserving that location/time period that had been consistently used by Viernes Culturales.

          245.    Commissioner Carollo has not even tried to pretend that his intention is anything

   other than destroying Viernes Culturales. In an interview Carollo gave to the Miami Herald for a

   story entitled “Joe Carollo wants to force out Viernes Culturales and host his own monthly

   festival,” Carollo claimed that Viernes Culturales’ festival has become a “tired, lackluster event”

   that is little more than a “flea market,” and he “thinks he can do better with food, merchants and

   music,” and that this would not be a one time affair but rather, “[w]e’re going to do that every

   month, to bring Little Havana back alive again.”33

          246.    Additionally, after Plaintiffs filed a Motion for Temporary Restraining Order in this

   lawsuit against Carollo, to restrain Carollo from holding his event on the last Friday of each month,

   Carollo, through the City, began sending out false advertisements about the event to gain further

   support.

          247.    Specifically, Carollo sent out the following advertisement:




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                                                      Othr;..i, Jug. n wwll •• the l'lim UTTU HAVANA
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                                                      Arntnc..T.... tom. "d b1 the PDP'/Uf c.,tue,Jlo Md o,.
                                                      ~HourShow

                                                                   November 30. 2018




   33https://www.miamiherald.com/news/local/community/miami-dade/little-
   havana/article221762265.html
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           248.   The text of the advertisement claims that for Carollo’s event there would be “a

   performance by our very own ‘Mr. 305’ Pitbull.”

           249.   When contacted by the Miami Herald, Pitbull flatly denied that he would be

   performing at Carollo’s event.

           250.   Upon information and belief, Carollo, with the assistance of the City and its Twitter

   Feed, knowingly published the above false advertisement as part of Carollo’s effort to destroy

   Viernes Culturales and retaliate against Plaintiffs by attempting to gather public support for the

   event, despite all of the negative press coverage.

           251.   Since the Miami Herald story ran noting that Pitbull would not in fact be appearing,

   the City removed the false advertisement from its Twitter Feed.

           252.   Additionally, while Carollo has told the Miami Herald that Viernes Culturales had

   become a “glorified flea market,” Carollo’s staff has nevertheless contacted the very same vendors

   that put on the Viernes Culturales festival to secure their participation in Carollo’s proposed

   festival.

           253.   While Plaintiffs have provided in detail many of the unconstitutional actions of

   Carollo, the City and Lugo above, there are additional instances of retaliation and harassment that

   are not specifically alleged herein.

           254.   Knowing that Carollo would seek to destroy a non-profit organization, created

   by the City itself and devoted to improving the community, solely because Plaintiff Fuller

   had become associated with the organization, has added to Plaintiffs’ mental anguish and

   emotional distress, including sleeping difficulties and other physical ailments.




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                            VALETINE’S DAY COMMISSION MEETING

          255.    On Thursday, February 14, 2019, Carollo raised the issue of “code compliance”

   with the full City commission.

          256.    However, the sole focus of the presentation was Carollo’s efforts to go after

   Plaintiffs’ properties in Little Havana.

          257.    As the Miami Herald reported, “Carollo raised concerns almost exclusively about

   Fuller-owned properties Thursday.”

          258.    Carollo had called upon city officials to speak during what at times seemed like a

   series of depositions.

          259.    He presented false and misleading documents and photographs claiming to show

   various code violations on Plaintiffs’ properties.

          260.    To prepare these false accusations, Carollo had shut down the City’s microfiche

   department for two days so his people could scour the past history of Plaintiffs’ properties.

          261.    Carollo advocated to have the City shut down a number of Plaintiffs’ businesses

   claiming they had “life safety” issues.

          262.    Carollo claimed that the fact that Plaintiffs had not received many more code

   violations was due to “selective protection” by current and past City officials.

          263.    Carollo convinced a number of other Commissioners to pass a resolution calling

   for a “task force” to investigate code compliance issues.

          264.    About a week after the meeting, City Attorney Mendez emailed several top city

   administrators asking them to conduct new site inspections and to review all city records for

   multiple properties discussed on Feb. 14, 2019. Of the eleven (11) 11 properties Mendez listed,

   seven (7) are owned by Fuller and his affiliates or associated with Fuller-owned businesses.

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          265.    Miami’s Chief of Police sent a letter to the City Manager regarding Carollo and the

   City Attorney’s unlawful targeting of Plaintiffs:

          the item on the agenda was a discussion item, however, the main focus of the
          discussion was aimed at one particular business owner in the city. The resolution
          that the city attorney prepared pertains to ‘properties describe[d] at the 2/14/2019
          city commission meeting.’ However, the addresses forwarded in her email targets
          the particular business owner [Plaintiffs] which gives the impression that the city
          is selectively targeting his business for new investigations. The concern is that
          this request, through the city attorney, may amount to an unsanctioned and
          unlawful exercise of powers beyond the limits of his [Carollo’s] legislative
          power as a city commissioner to intentionally cause harm to a business owner.
          As such my departments actions under the resolution may be in violation of
          the code of ethics ordinance.

          Furthermore this is selective enforcement against the business owner’s
          properties using city ordinance.

          266.    Deputy City Manager Joe Napoli also voiced his worries to Gonzalez in response

   to Mendez’s request: “I am concerned that what the City Attorney is directing our staff to do is

   beyond what was directed by the Commission and can be interpreted as targeting businesses,” he

   emailed his boss.

          267.    Zerry Ihekwaba, another assistant city manager, echoed Napoli in another email:

   “We ought to be enforcing the Code citywide and not just targets,” he wrote.

          268.    And Miami’s Mayor, Frances Suarez, summed it up best, when he said: “we as a

   government are being used as an instrument for political vengeance.”

              FIRST AMENDMENT RETALIATION, NOT CODE VIOLATIONS

          269.    Evidence that Carollo’s targeting of Plaintiffs is based upon political retaliation,

   and not concern about code violations, is easily found by looking at Carollo’s own long history of

   code violations.

          270.    A complete microfilm search of Carollo’s residence 3230 Morris Lane, a property

   that he purchased in January of 2001, revealed the Carollo has engaged in repeated violations of

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   the same City Code he claims that he is protecting. Specifically, Carollo, violated City Code in at

   least the following ways:

                  •    By erecting an illegal and unsafe entrance arch with a mature
                       bougainvillea growing through it without pulling a permit;

                  •    By constructing an illegal and unsafe rooftop deck, that appears to be
                       in a state of disrepair or in the process of ongoing construction without
                       ever having pulled a permit;

                  •    By erecting (again with no permit) three illegal and unsafe carport
                       structures that anyone with a minimal understanding of the South
                       Florida Building code knows would never qualify for a building permit
                       due to its inability to hold up during a hurricane; and

                  •    By engaging in the the systematic, cutting and eventual killing of a
                       mature, native, old growth, banyan tree on his property-an act that is
                       specifically prohibited by City Code and punishable by fines in the
                       thousands of dollars.

          271.    Plaintiffs held a press conference in front of City Hall to make the City aware of

   Carollo’s failure to follow the City Code and resulting violations.

          272.    In response to this public exposure, the City initially refused to issue citations for

   Carollo’s code violations.

          273.    After additional public pressure, the City did issue citations to Carollo, but the City

   never followed through to inspect Carollo’s properties for additional code violations that were not

   visible from the outside.

          274.    Incredibly, despite being found guilty of violating the Code, Carollo continued with

   his violations by taking actions to remediate the issues without first pulling permits-additional

   illegal behavior.

          Carollo’s Efforts To Prevent Plaintiffs From Purchasing Additional Properties




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           275.    It has recently come to Plaintiff’s attention that Carollo, perhaps having been forced

   to accept that his code violation jig was up, has focused his attentions on a new plan of attack

   against the Plaintiffs.

           276.    Specifically, Plaintiffs have learned that since late 2018, Carollo has engaged in a

   campaign to direct City officials to utilize City resources and funds.

           277.    In an attempt to purchase properties adjacent to Plaintiff’s current properties and

   most of which, Plaintiffs had made prior offers to purchase themselves.the very same properties

   Plaintiffs had been attempting to purchase.

           278.    Those properties, which include 711 SW 15th Ave., 1474 SW 7th St., 1510 SW 7th

   St., and 200-230 SW 12th Ave., because they are adjacent to Plaintiffs’ current properties, are all

   natural extensions of Plaintiffs’ properties and businesses.

           279.    In fact, at least 2 of the properties targeted were “off market” and were unsolicited

   offers by the city.

           280.    In one case, Plaintiffs offered a seller $1M for his property on 15th Ave, an offer

   that was already a premium to market valuations, and he scoffed, saying “the city already offered

   me $1.32M.” The city did not end up buying the property because the actual appraisal came back

   at $850k.

           281.    This harms Plaintiffs overall business strategy. By doing this, Carollo and the City

   are artificially inflating the market, and boosting the value expectation of these potential sellers

   and thereby making the properties difficult to acquire.

           282.    The mandate by the Carollo and the City is clearly to “buy properties around”

   Plaintiffs and not to “buy 15th Ave properties” because, if it had been the latter, then the City




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   would have clearly offered to buy Plaintiffs’ properties at the same premium, which it has not

   done.

                                     SUMMARY OF DAMAGES

           283.   Plaintiffs have suffered through more than a year and a half of emotional distress

   and mental anguish.

           284.   This emotional distress and mental anguish has been growing and compounding

   with each retaliatory act by Carollo.

           285.   Plaintiffs have been unable to sleep at night. They have spent many nights awake.

   The little sleep they have gotten has been disturbed.

           286.   Plaintiffs became concerned for their safety and the safety of their families.

           287.   On more than one occasion Plaintiffs called the police department to report

   suspicious vehicles parked near their homes or businesses.

           288.   Plaintiffs cannot escape the feeling that Carollo and the City are seeking to fabricate

   evidence, complaints, and violations, all with the sole purpose of shutting their businesses and

   destroying their lives, all because they supported Carollo’s political opponent.

           289.   Carollo has unlimited funds and resources to try to destroy the Plaintiffs and their

   businesses and their families and to shut down their livelihood and their ability to provide for kids

           290.   Plaintiffs spent a large part of their lives building a great business with a great

   portfolio of properties, and developed a stellar reputation in the community.

           291.   The injury has not only been mental or emotional. Plaintiffs’ physical appearance

   and well-being has changed and their physicalhealth has suffered..




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          292.    In addition, Plaintiffs’ ability to conduct their daily business has become

   significantly more difficult due to Carollo. Potential business partners are reluctant to do business

   with Plaintiffs for fear of becoming targets of Carollo.

          293.    In fact, one businessman who had committed to a major project with Plaintiffs

   pulled out at the last minute specifically stating that he wanted to do the deal but could not take

   the risk of becoming a target of Carollo. This alone cost Plaintiffs $5 million.

          294.    Carollo’s attacks on Plaintiffs’ Calle Ocho Marketplace have caused Plaintiffs to

   suffer monetary damages in excess of $1.8 million.

          295.    Carollo’s various attacks on Plaintiffs’ businesses and tenants in the Futurama

   building have caused Plaintiffs to suffer monetary damages in excess of $600,000.

          296.    Carollo’s various attack on Taquerias El Mexicano have caused Plaintiffs to suffer

   monetary damages in excess of $525,000.

          297.    Carollo’s various attacks on Ball & Chain have caused Plaintiffs to suffer monetary

   damages in excess of $370,000.

          298.    All claims related to monetary damages have been assigned by the relevant

   business entity to Plaintiffs in their individual capacities.


                                        COUNT I
            VIOLATION OF THE CONSTITUTIONAL RIGHT TO FREE SPEECH
                             AND FREEDOM OF ASSOCIATION
                       (First Amendment Retaliation—Against Carollo)

          299.    Plaintiffs reallege paragraphs 1 through 298 above as though fully set forth herein.

          300.    The First Amendment to the United States Constitution provides:

          Congress shall make no law respecting an establishment of religion, or prohibiting
          the free exercise thereof; or abridging the freedom of speech, or of the press; or the



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           right of the people peaceably to assemble, and to petition the Government for a
           redress of grievances.

           301.    The First Amendment rights to freedom of speech and association protects not only

   the affirmative rights to free speech and association but also the right to be free from retaliation

   perpetrated by the government upon the exercise of that right.

           302.    Section 1983 provides a private cause of action with respect to the violation of

   federal constitutional rights. The Act provides, in pertinent part, as follows:

           Every person who, under color of any statute, ordinance, regulation, custom, or
           usage, of any State or Territory or the District of Columbia, subjects, or causes to
           be subjected, any citizen of the United States or other person within the jurisdiction
           thereof to the deprivation of any rights, privileges, or immunities secured by the
           Constitution and laws, shall be liable to the party injured in an action at law, suit in
           equity, or other proper proceeding for redress ***.

   42 U.S.C. § 1983 (2012).

           303.    The aim of Section 1983 is to deter state actors from using the badge of their

   authority to deprive individuals of their federally guaranteed rights and to provide relief to victims

   if such deterrence fails.

           304.    The United States Constitution’s First Amendment guarantee to free speech and

   free association applies to local and state governments through decisions of the United States

   Supreme Court, as well as through the Fourteenth Amendment.

           305.    Plaintiffs exercised their right to free speech and free association by supporting Mr.

   Leon in the run-off election and hosting a rally for Mr. Leon on Plaintiffs’ property.

           306.    Carollo discovered the rally for Mr. Leon being held on Plaintiffs’ property on

   November 18 and November 19, 2017, and discovered Plaintiff Pinilla at the rally itself.

           307.    Upon winning office, Carollo immediately retaliated against Plaintiffs by

   instituting a campaign of harassment beginning that very same day.

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          308.    Carollo’s discovery of the Leon rally at Plaintiffs’ property on November 18, and

   Carollo’s retaliatory campaign of harassment beginning that same day, and continuing each day

   thereafter, establishes causation between the exercise of free speech and the retaliation.

          309.    In addition, causation is also established by the testimony of Mr. Miro, Carollo’s

   own top advisor.     When asked why Carollo was targeting the Plaintiffs, Miro answered:

   “obviously, [Fuller] went against him in the commissioners by donations to -- giving him

   building and what have you.”

          310.    Causation is also established by the testimony and statements of the many other

   City employees.

          311.    In addition, Carollo’s retaliatory actions temporarily ceased upon Plaintiff Fuller’s

   filing of the Ethics Complaint against Carollo in late March 2018. However, within days of Fuller’s

   withdrawal of the Ethics Complaint, Carollo resumed his campaign of harassment, this time in

   retaliation for both the exercise of their First Amendment rights in supporting of Leon and for the

   exercise of their First Amendment rights in filing the Ethics Complaint.

          312.    Carollo was at all times acting under the color of state law (including when he was

   criminally violating the City Charter).

          313.    Carollo’s actions would ‘chill a person of ordinary firmness’ from continuing to

   engage in the protected activity.

          314.    As a result of Carollo’s retaliation, Plaintiffs are reluctant to participate in the

   political process by supporting candidates for office.

          315.    In addition, as a result of Carollo’s retaliation, Plaintiffs have suffered out of pocket

   losses and other monetary harms associated with disruption to their various businesses in an

   amount to be proven at trial.

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           316.    Carollo was not acting within the scope of his discretionary authority as a Miami

   City Commissioner. In fact, by directing City employees to target Plaintiffs, Carollo was violating

   the Miami City Charter.

           317.    In addition to the monetary losses, Plaintiffs have suffered impairment to their

   reputation, personal humiliation, emotional distress and mental anguish and suffering.

           318.    Plaintiffs also are entitled to punitive damages to punish Carollo’s reprehensible

   conduct and to deter its future occurrence. Carollo’s conduct was reprehensible in that it was

   repeatedly violating the Miami City Charter’s rules designed to prohibit this type of behavior,

   designed to preclude commissioners from threatening City employees to get them to carry out the

   commissioners’ personal vendettas. It was reckless in its disregard for Plaintiffs’ free speech

   rights. And it was, and is, motivated by an evil intent – to drive Plaintiffs out of business and

   deprive the residents of Little Havana of all the positives the Plaintiffs have brought to the

   neighborhood.

           319.    Plaintiffs also are entitled to and hereby demand an award of attorneys’ fees

   pursuant to the Civil Rights Attorney’s Fee Awards Act of 1976 (42 U.S.C.A. § 1988[b]).

           320.    Finally, Plaintiffs also seek a permanent injunction against further retaliation

   against them and further violations of the Miami City Charter as (a) there is no adequate remedy

   at law, (b) Plaintiffs will suffer irreparable injury if the injunction is not granted, (c) the injury to

   Plaintiffs, including the deprivation of their constitutional rights, outweighs any harm that could

   be caused to Carollo from having to follow the law, and (d) the injunction would benefit, and not

   be adverse, to the public interest.

           321.    Among other things, Carollo should be permanently enjoined from:




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                      a. making any requests to, or providing any instructions or suggestions to, any

                          City employees that target Plaintiffs, Plaintiffs’ properties, employees,

                          tenants, or any affiliates of Plaintiffs;

                      b. directly soliciting any complaints and/or demands regarding Plaintiffs,

                          Plaintiffs’ properties, employees, tenants, or any affiliates of Plaintiffs,

                          including but not limited to, directly contacting, or going door-to-door to

                          the surrounding neighbors of Plaintiffs, Plaintiffs’ properties, employees,

                          tenants, or any affiliates of Plaintiffs to seek complaints for noise or other

                          violations; and

                      c. participating in any decision of the Board of Commissioners in relation to

                          any matters that target the Plaintiffs, Plaintiffs’ properties, employees,

                          tenants, or any affiliates of Plaintiffs, including but not limited to noise

                          violations, permits, zoning, or licenses for Plaintiffs, Plaintiffs’ properties,

                          employees, tenants, or any affiliates of Plaintiffs.

          WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in the

   Plaintiffs’ favor against Carollo and award damages for business disruption, emotional distress,

   reputational harm, punitive damages, attorneys’ fees, enter a permanent injunction against Carollo

   enjoining him from further retaliation against Plaintiffs, and grant such other relief as this Court

   deems just and proper.




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                                   DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand a jury trial of all claims so triable.




                                                                Respectfully submitted,

                                                                AXS LAW GROUP PLLC
                                                                2121 NW 2nd Avenue
                                                                Miami, FL 33127
                                                                Tel: (305) 297-1878

                                                                By:     /s/ Jeffrey W. Gutchess
                                                                JEFFREY W. GUTCHESS
                                                                Florida Bar No. 702641
                                                                Jeff@axslawgroup.com

                                                                 Attorney for Plaintiffs




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                                  CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that a true and correct copy of the forgoing was served via

   CM/ECF on counsel of record in this action on this 28th day of June, 2019:


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   Counsel for Viernes Culturales/Cultural Fridays, Inc.


                                                       /s/ Jeffrey W. Gutchess, Esq.




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                           Miami-Dade Commission on Ethics & Public Trust
                                       Investigative Report




 Investigators: Nilda Olmo/Karl Ross


   Case:                   Case Name:                       Date Opened:
   Cl8-14-03/ K18-21
                           Fuller v. Carollo, et. al.       03/12/18



  Complainant(s):          Subject(s):
                           Joe Carollo
  Bill Fuller c/o          Commissioner, City of
  Earlington Group         Miami, District 3
                           Steve Miro, Former
                           Aide/District Liaison for
                           Commissioner Carollo
                           Alberto Parjus, Former
                           Assistant City Manager
                           Mary Lugo, Union Rep.
                           AFSME LOCAL 1907




  Relevant County Ethics Code Ordinance:

  Miami-Dade County Conflict of Interest and Code of Ethics Ordinance Sec.2-11.1
  (g) Exploitation of official position prohibited. No person included in the terms defined in
  Subsection (b) (1) tlnough (6) and (b) (13) shall use or attempt to use his or her official position
  to secure privileges or exemptions for himself or herself or others except as may be specifically
  permitted by other ordinances and resolutions previously ordained or adopted or hereafter to be
  ordained or adopted by the Board of County Commissioners.




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 Allegation(s):
 This investigative report is predicated on a formal complaint filed by Bill Fuller (Fuller), c/o
 The Earlington Group, on 03/12/18. The complaint was filed against City of Miami District 3
 Commissioner Joe Carollo (Carollo), Steve Mir6 (Mir6), former Aide to Carollo, Mary Lugo
 (Lugo), City of Miami employee and currently Board Member of American Federation of State,
 County and Municipal Employees LOCAL 1907 (AFSCME) and Alberto Parjus (Parjus),
 former Assistant City Manager, currently Deputy Director for Miami-Dade County
 Transportation and Public Works (DTPW). Fuller alleges the aforementioned parties have
 acted and/or are acting outside the scope of their official duties, and in violation of the Conflict
 oflnterest and Code of Ethics Ordinance, as follows:
    1. Commissioner Carollo's Pre-Election Illicit Interference with Complainant. On
    11/18/17, Fuller alleges that during a rally for Alfie Leon, Carollo's opponent in the runoff
    elections for District 3, Miro arrived and proceeded to photograph the event, confronting
    attendees and questioning the nature and legality of the event. The rally was held on a lot
    owned by Fuller. City of Miami Code Enforcement Inspectors as well as police arrived
    shortly thereafter, shutting down the event. Fuller learned that Carollo, with the assistance of
    Miro, Parjus and Lugo, had called City of Miami Special Events Department and Code
    Enforcement to demand the shutdown. Fuller received a text from Miro the following day
    confirming that Carollo' s camp was responsible for the shutdown.
    2. Commissioner Carollo's post-election unsanctioned and unlawful exercise of
    powers beyond the limits of his legislative power as a City of Miami Commissioner to
    intentionally cause harm to complainant.
      (a) Commissioner Carollo's attempt to shut down the Barlington Group's private
    Christmas party. On 12/15/17, The Earlington Group held their holiday party at the Tower
    Hotel, located at 1450 SW 7 th Street, a private property owned by Fuller and his partner
    Martin Pinilla. At approximately 9:00PM, Fuller stated that Code Enforcement Officer
    Scarlet Morua (Morua) arrived at the property stating Code Enforcement had received a
    complaint from a neighbor regarding a potentially unsanctioned party. Fuller indicated
    Morua spent over 2 hours outside the property, in plain view of the guests, thereby causing a
    sense of intimidation to the guests that included family members and young children. Morua
    questioned Fuller regarding the Certificate of Use (CU) and thereafter left the premises
    stating that she would confirm the information and in the event one was not issued the event
    would be shut down. Approximately an hour later, Morua returned and advised Fuller he was
    not in violation. By that time, Fuller stated the guests had left due to the level of discomfort
    created by the Code Enforcement presence. That same night, at approximately 1 :00AM,
    Fuller received a call from the property manager indicating that a Code Enforcement
    representative had returned asking to speak with him and provided Fuller with a contact
    number. Upon contacting the representative, Fuller was informed that Lugo had made
    several calls and sent photographs of possible illegal drugs at the holiday party, leading to
    Morua being dispatched to that location.
           (b) Albert Parjus's attempt to target the business operations of Ball & Chain.
    Fuller indicates that at least on one prior occasion, Parjus, in his role as Assistant City
    Manager, contacted a Code Enforcement employee requesting that Code Enforcement cite
    Ball & Chain (business co-partnered by Fuller) for a code violation. With no apparent basis
    for citing and no existing complaints at the time, the employee inquired as to the reason for

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   citing them to which Parjus responded a noise violation for music would be a good generic
   reason. Stating that would not be ethical, constitute selective enforcement by the department
   and illegal, the employee refused to participate in the request.


        (c) Commissioner Carollo's unsanctioned "investigation" into Ball & Chain's Valet
    Operator's Parking Lot leases.
    On 02/18/17, at approximately 1 :30 AM, Fuller alleges Carollo in his private vehicle driven
    by him and accompanied by several unidentified associates entered a parking lot attached to
    St. Peter & Paul Orthodox Christian Church, located at 1411 SW 11 St. Fuller indicated that
    at night the lot is leased from the Church by Ball and Chain valet operator S .H. Valet.


    On the night in question, the complaint alleges that the valet attendant noticed a female on
    the premise and when approached, she stated she was there to visit the priest but did not
    enter the church and proceeded to photograph parked cars. He confronted the female and
    asked her to stop photographing the area and leave the property. At that point, Carollo
    flashed his City of Miami identification and told him he was there on an official capacity, as
    a City of Miami Commissioner, performing an "official investigation" on the valet
    operations.


    Shortly thereafter, valet operator Alain Garcia (Alain) arrived at the location and approached
    Carollo and indicated that the valet operation leases the lot at night from the Church and that
    said lot had been approved by Miami Parking Authority. When Garcia questioned Carollo
    about his presence at the location, he responded, "I am the law" and continued by stating that
    although he (Garcia) might be a hard worker doing his job, he was "working for a
    millionaire." At that point Carollo was asked to leave the property and prior to leaving he
    told Alain he would receive the official result of his "investigation" in the next few days,
    exiting the lot.
          (d) Commissioner Carollo's continued selective enforcement against Fuller's
    properties of City of Miami Ordinances.
         (e) Commissioner Carollo's direct usurpation of the administrative powers of the
    City Manager to interfere with the operations and procedures of the MPA.
    On 03/03/18, City of Miami Parking Authority (MPA) contacted S.H.Valet revoking their
    valet permit for Ball & Chain, without prior notification, even though a day earlier, as per
    complainant, S.H. Valet had been to MPA and the account was in "good-standing." The
    complaint alleges that Humberto Escandon (Escandon), Senior Manager of Operations,
    MPA, who contacted S.H.Valet on the above mentioned date, stated the revocation was a
    result of a complaint received by Carollo' s office, indicating the lots utilized by S.H. Valet
    for Ball & Chain were "not to code." Complainant notes that the same lots had been vetted
    and approved by the MP A for over 3 years.




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   An agreement was reached and S .H. Valet was permitted to operate with the caveat that they
   would utilize a storage lot owned by the Complainant, located at 300 SW 12 Ave., until the
   MPA was able to further investigate the status of the lots herein mentioned. Further alleged,
   at approximately 11 :30 PM, Carollo was seen outside Ball & Chain in his vehicle and
   proceeded to follow a valet driving a patron's vehicle to the storage lot agreed upon earlier
   that day. A photograph depicting Carollo inside his vehicle by the storage lot was attached as
   part of the complaint. As a result of the disruption caused by the lots' revocation and the
   distance between Ball & Chain and the storage lot, patrons expressed significant
   dissatisfaction with the valet operations and refunds had to be issued to those patrons,
   causing significant financial harm and monetary damages to the establishment.




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Investigation:
Interviews:
 On April 23, 2018, at the request of Commissioner Carollo, COE Executive Director and
 Investigator Nilda Olmo met with Carollo at the COE office. Carollo stated that he was in receipt
 of the complaint and denied the allegations. Carollo was concerned about "corruption" and
 "illegal activities" occurring on Fuller's properties. Investigator Olmo and Mr. Centorino listened
 to Carollo's statements and the Commissioner was advised that he would be formally interviewed
 at a later date.
 Carollo indicated that he was introduced to Fuller by Art Noriega in 2017, when campaigning for
 District 3 Commission. He met Fuller a second time with partner Pinilla where he said Fuller
 bragged about being close to Noriega. During the election, "Fuller's camp" contacted his office
 regarding what amount to donate and he later received two checks.

 Carollo described Bill Fuller as the "Godfather of Little Havana" adding that Fuller wanted to
 "Delatinize" Little Havana by creating a "Wynwood in steroids" approach to take over the area.
 He stated Fuller and his partner are buying properties using strong arm tactics on neighbors and
 tenants. "They take over the area by sending realtors first." Furthermore, that Fausto Realty takes
 advantage by buying properties from "3 rd generations" in Little Havana. Carollo stated Fuller
 lives in a 3 million dollar home and not where he says he lives.

 Carollo mentioned Fuller's properties have Health Department violations and he also owns
 several lots where the permits are not valid as well as many music violations, but nothing is done
 due to his connections in the city with Building & Zoning inspectors, etc. He also mentioned
 connections with "Lending Institutions."

 He indicated that when calls come into the Police Department regarding noise complaints about
 Ball & Chain, dispatch operators receive the call and tell callers to contact off-duty officers. The
 police do not respond and citizens have been told it (Ball & Chain) has the right to play music.

 Carollo recalled driving by as a Commissioner to three different places in Little Havana: Ball &
 Chain, Cuba Ocho and Union Beer, the latter selling beer without a license. He said he had
 received calls regarding "Union people" not being legal. While at "Cuba Ocho" that Saturday
 night, he was with Detective Wayne Tillman and noticed an off-duty police officer working at
 Ball & Chain following him with a cell phone, hiding behind a post. The officer approached him
 and asked what he was doing there and Carollo told him "You can't intimidate me or buy me
 off."
 As to the 11/18/17 Pre-election Event for Alfie Le6n, Carollo stated the rally was held without a
 permit on a private parking lot, by the library, on a property belonging to Fuller. As a result of not
 having a permit a fine was issued. Carollo stated that Steve Mir6 was not the Chief of Staff, as


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 stated on the complaint. He advised Mir6 helped him with the campaign. He said he came in
 approximately in December and assisted him for 2-3 months." He said Fuller called Mir6 on that
 day.
 Regarding Allegation 2 on 12/15/18, Fuller's Holiday Party, he said he received a call/text from
 Mary Lugo and added he never told Lugo to call Code Enforcement. Lugo contacted Code
 Enforcement Director Diez directly. He stated many calls came in by neighbors/tenants that night
 about a party with loud music. Code Enforcement Officer Scarlet responded. He mentioned that
 although the Tower Hotel is an unsafe, empty building with all the doors shut down and many
 violations Fuller's holiday party was held there. Carollo said that Lugo told him, "They had
 permits" (referring to the Tower Hotel). Carollo said he drove by the place for two hours and saw
 Scarlet there for 40 minutes and said information can be verified by pulling GPS tracking records
 for the City cars to show the length of time the inspector spent at the location the night of the
 Holiday party. On the night in question, Carollo stated he called Herald reporter Brenda Medina
 to accompany him and be his "witness." At approximately 11 :00 PM he saw a Code Inspector
 City vehicle with no tag drive by the building (Tower).
 Regarding Allegation 2b (pertaining to Parjus), he only added that Parjus was the former
 Assistant City Manager and that there was "bad blood with Diez and Parjus ... little contact."

 Carollo denied the allegations regarding the 02/18/18 S.H.Valet incident stating that as a
 Commissioner, he "has to enforce his job" He said that original permits for S.H. Valet were given
 several years ago to park at another location in SW 8th ST & 16th Ave (1637/1641). That the only
 valid permit expired 03/02/18. The Church location and 4 other lots (including 1637/1641) were
 not legal.
 He referred to overall City-wide corruption several times. On 2/18 at approximately 12:30AM, he
 was with three people parked on the street. He entered the parking lot briefly (stayed in the car)
 "looking for the female." There were 60-70 vehicles, according to Carollo, parked illegally on a
 residential area with no permits or illegal permits. The lot had no asphalt, drainage, shrubbery,
 lighting or markings, therefore not valid and that S.H. valet had an illegal lease with the Church.
 He said there was no confrontation with the valet, although the valet had an attitude. He denied
 mentioning an "investigation" or telling the valet, "I am the law." The valet was described as a
 Spanish-speaking "Cuban Military Scumbag", "Not afraid, to the point", "Typical, swarming
 public officials", "confrontational and demanding", asking him what he was doing there. Carollo
 denied telling the valet that he (valet) worked for a millionaire. He stated the valet was working
 knowing they were operating illegally. The valet's runner, as per Carollo, chased the two females
 one was Lugo, the other one Mir6's wife, who was on the street filming. The valet did not ask
 him not to take pictures or to leave the premises. Furthermore, the parking did not have "No
 Trespassing" signs. Carollo denied flashing his ID on that day as well as having an "Official
 Business" placard on the window or pulling it out. 'There was no badge, don't carry it ... can get
 me in trouble", he said.
 Carollo stated that a week after the 18 th (Church incident,) an outside company hired by MP A
 found S.H. Valet had under paid the City+/- $83,000. For 3 years, lots were not being checked,
 therefore, the City was losing money (referring to the 15% surcharge). He mentioned Frank Lazo.

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Carollo said he received 3rd party information regarding 4 or 5 valets having bulk of permits
without paying dues, stealing from the City. Carollo said things have changed due to his
presence. Carollo stated MPA is a semi-independent department of the City, not under purview of
the City Manager.
 He brought up "selective enforcement" benefitting Fuller and his "group." He said that Alain
 Garcia is not the owner of S.H. Valet and accused Fuller of perjuring himself several times in the
 complaint.
                                                                                               th
 A topic brought up by Carollo and not in the complaint was "SideBar", located at 337 SW 8 St
 and owned by Fuller. He mentioned that police and code enforcement officers, as well as other
 City personnel were guests at Fuller's 2016 Christmas party. Carollo described it as "not ethical"
 and added that Fuller's "connections" have expedited the process for SideBar violations and the
 illegal lots. Carollo provided documents pertaining to SideBar. He mentioned the establishment
 had several violations and as a result of his presence the establishment was fined. An email from
 Jose Dacal, Permit Coordinator- In-House Consultant, Florida Department of Transportation
 (FDOT) regarding Valet parking within FDOT right-of-way was also provided.

 He stated he had additional information and documents that he will provide at a later date.

 On or about 02/18/18, a production company filmed at Ball & Chain and Carollo stated the
 following:

       •   Film crew "Loaded the generators."
       •   Referred to the filming as a "sex party, free for all, with nudity"
       •   Questioned permit validity.


 With regards to the last allegation in the complaint, Carollo stated that on 03/02/18, an "off-
 street" parking employee gave the permit for the first time to S.H. Valet. He stated it was
 impossible to obtain a permit that fast, since the process takes several weeks due to each
 department having to confirm and approve. Carollo said he never met Escandon but Escandon
 told him Fuller dealt with Noriega on Saturday, March 3rd regarding the valet permits but he
 never met with him. There was no correspondence from his office to MPA on 03/03/18.

 Carollo mentioned illegal lots located on SW 12th Ave between 4th /5 th St and indicated Zoning is
 aware but nothing is done. Carollo said he would "provide names" at a later date.

 Late night on 03/03/18, Carollo stated a Range Rover drove up next to his vehicle and a kid said
 "Bang-Bang" and took a picture of him (At this time it is unknown if the photographs attached in
 the complaint is the photograph Carollo is referring to).
 Carollo concluded by mentioning a particular property owned by Fuller, 'Futurama', and a
 possible link between Venezuela and Fuller. He said that a female tenant of Fuller that runs a
 "cafeteria" has links to Ali Rodriguez, who Carollo mentioned was affiliated with one of the top
 three known guerrillas in Venezuela, part of the Cuban revolution. A "Cuban Intelligence Agent"
 whose adopted daughter runs Guayaba & Chocolate, a small business inside Futurama, he said.


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 Carollo mentioned a left-wing connection to Fuller. He explained that what Guayaba &
 Chocolate symbolizes Guava being red and Chocolate black, is communism and left wing
 politics.
  On May 8, 2018, COE investigators Nilda Olmo and Karl Ross met at the offices of the
  Earlington Group, Futurama, at 1637 SW 8th Street, to discuss the pending complaint against
  Respondent and to interview witnesses who alleged further misconduct by Carollo, City Code
  Enforcement and police personnel acting on his behalf. Among those present for the meeting
  were the Complainant Bill Fuller and his business partner, Martin Pinilla.


  Fuller stated Carollo continues to make defamatory remarks against him calling him an "anti-
  Cuban" and "protected class-millionaire," while alleging he was leading a campaign to "de-
  Cubanize" historic Calle Ocho. Fuller noted that both he and Pinilla are of Cuban ancestry and
  that the claims are unfounded. Fuller indicated their firm owns approximately 20 properties
  along the SW 7 th and 8th Street Corridor.


  Fuller stated that Carollo had recently "defamed" him during a Radio Caracol radio interview
  on a show hosted by former Hialeah Mayor Raul Martinez, in which he referred to him (Fuller)
  as the "Padrino" or Godfather of Little Havana, implying a nexus to communist ties and further,
  that Fuller utilizes ties to left-wing Venezuelan government officials to launder funds from
  Venezuela into the United States.


  Fuller said that since taking office, Carollo has launched harassment campaigns against a
  number of his tenants, including the owners of"Sanguich de Miami", among others. Asked
  about the origin of the animosity between himself and Carollo, Fuller pointed out that he
  contributed to three candidates for the City's District 3 Commission race: Tommy Regalado,
  Alfie Le6n and Carollo. He stated he gave Carollo and Regalado about $2,500 apiece and that
  gave perhaps several thousand more to Le6n, using related business entities. However, he did
  not actively support any candidate.


  Regarding the Alfie Le6n campaign rally on his property this past Nov. 28, 2017, Fuller advised
  that he had not been aware of the nature of the event prior to its shutdown. He said he thought it
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  was a non-partisan "Get Out the Vote" (GOTV) rally organized by Jenny Lee Molina of JLPR.
  Fuller stated that once he found out it was a GOTV rally for Le6n, he also asked to it shut
  down. "We didn't want to choose sides, further stating that he even called Carollo's aide, Steve
  Mir6, to congratulate Carollo after his victory. He sought to stay on good terms with Carollo
  but he soon realized Carollo was out to get them.


  Fuller indicated the selective enforcement/harassment extended to his tenants and provided the
  names of individuals also affected. Given the nature of the allegations in the complaint, alleging
  exploitation by Carollo and other City officials & personnel, investigators spoke to those
  tenants regarding instances where they felt targeted by the Commissioner or other City officials.


 1 JLPR ~Public relations firm.


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  Maria Vivas-Mendoza (Vivas-Mendoza), Guayaba & Chocolate
  1637 SW 8th Street
  Guayaba & Chocolate is located inside Futurama Art Gallery. Vivas-Mendoza stated that she
  feels "quite scared now," following a radio rant that Carollo made on Radio Caracol with host
  Raul Martinez, alleging that her common-law step-father, a high-ranking Venezuelan official,
  was behind a leftist plot to buy up property in Little Havana. She said that the official in
  question, Ali Rodriguez Araque, is her mother's domestic partner but that he is in no way
  involved with her business, which is funded and managed by her and her husband.


  Vivas-Mendoza stated Carollo stated on the radio: "How can we allow someone like this to
  open a business in Miami?" She said she complained to Martinez and that he apologized for
  allowing Carollo to use his show to attack her, and consequently, allowed her to go on the air
  and defend herself.


  Vivas-Mendoza said she left Venezuela when she was 15 years old and receives no financial
  support from Rodriguez Araque. She said she wonders if Carollo is upset with her because she
  posted an Alfie Leon sign on her business at its previous location. Since the radio broadcast,
  due to the untrue accusations brought forth by Carollo, she is now in fear for herself, her family
  and her business.
  Rosa Romero & Daniel Figueredo, Sanguich of Miami
  Rosa Romero (Romero) and Daniel Figueredo (Figueredo) co-owners of "Sanguich de Miami"
  (Sanguich), a Cuban sandwich shop in a refurbished shipping container, provided the following
  information:

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  The "Sanguich"container was located on a property owned by Fuller/ Earlington at 1641 SW 8
  Street. They described the business as a "pop-up mobile unit," and stated they had a business
  license from the City, known as a "BTR" and a state license for preparing and selling food.
  They said the business had temporary zoning approvals from the City and were "trying to get to
  permanency," though the issue had been somewhat troublesome since they were considered a
  mobile unit, similar to many of the businesses in Wynwood and other pop-ups like The Wharf
  near the Miami Riverside Center (MRC). They said they had been working with the City's
  building and licensing officials and that everything was fine until "the moment that Joe Carollo
  came on board."


  Prior to that, they noted that former Mayor Tomas Regalado and other City officials, such as the
  Chief of Police, attended their ribbon-cutting ceremony back on Oct. 27, 2017. They noted that
  Carollo's younger brother, former City of Miami Commissioner Frank Carollo, was a "huge
  proponent" of their business even suggesting they partner with Fuller's company. They said
  they quit their jobs to focus on the business and spent more than $ I 00,000 on fixing up the
  container to make it suitable as a restaurant and kitchen.




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  They stated that after Hurricane Irma, they "hit a snag" as the State required additional
  documentation from the City that they were in compliance with local building codes, even
  though they were considered a mobile vendor. They said City officials required them to attach
  axels to their trailer to accomplish this.


  The couple advised that on November 26, 2017, two days after their opening, they were
  "raided" by 25-30 City enforcement personnel including police, fire, building and code
  enforcement officers. They said City Manager Daniel Alfonso (Alfonso) told them afterward
  that Carollo was behind the raid and that he was unable to stop it. They said they were advised
  to approach Carollo and try to find out what his concerns might be with respect to their
  business.

                                                          th
  Subsequently, they met with Carollo on December 6 , 2017, per Romero, "We wanted to work
  with him. He was pleasant, he said he wanted to help." Carollo told them, 'I want you to knowthI
  had nothing to do with it," (referring to the raid). Carollo told Romero he was walking along 8
  Street with Alfonso when Alfonso, not him, pointed to the container as an example of a code
  violation. Carollo told them he "loved" their business, but felt that the location was problematic
  and suggested they re-locate to City-owned property: "I love it," he reportedly said. "Maybe not
  where you are, I think there's a little park that's near there and maybe the City can
  accommodate you."


  They stated that the reason given for the initial raid was that they lacked a Certificate of Use
  (CU), but added that CU' s are only required for permanent structures, not mobile vending units.
  The couple mentioned they had discussed this with Assistant City Attorney Rachel Dooley
  (Dooley) and that Dooley was initially very helpful and told them they could operate, at least
  temporarily, with a Temporary Events Permit (TEP), while they sought to gain zoning
  approvals. They said Dooley told them that the City's zoning code is vague and that a great deal
  of subjectivity is involved. They were advised that as a result of this, the District Commissioner
  often had final say as to whether a building met code regulations.


   They said that because they were close to the Christmas holidays, they were unable to get the
                                                         nd
   TEP because key staff was unavailable. On January 2 , 2018, in the early morning, Figueredo
   said he went to the office of Jose Camero (Camero), Director of Building with the City of
   Miami, to get his permit. At approximately 6:00PM, he was given a permit. They said it was the
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   first TEP of the year and that the license number was #1800. With the TEP finally in hand, the
                                                     th                      rd
   couple said they intended to re-open on January 6 , 2018 but on January 3 , while prepping
   food for the opening, Code Enforcement again showed up and advised them they were not
   allowed to open (even though they were not yet operating, and she told him they had obtained
   the TEP). They said that Code Officer Yacmany Salvatierra (Salvatierra) told them, "I'm sorry,
   this came from above, just know people are watching." They said they opened with their TEP
                                                                  th
   on January 6th -7th (Saturday and Sunday), but on Monday the 8 at approximately 11 :00AM,

  2 City of Miami Office of the City Manager Application for Temporary Event and Occupancy Permit# 18-000 (Approved TEP-January 61 2018

  through February 2, 2018).

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  Salvatierra returned with police and told them, "You're not supposed to be open because the
  TEP had a condition that had not been met," and threatened to arrest them if they didn't close
  the business. The couple indicated they captured this exchange on video.


  Figueredo explained, "You gave us a permit," and asked why they had been forced to shut
  down. As per Figueredo, Dooley was consulted and inquired about the BTR, which they
  confirmed they had. Camero told them, by way of explanation as to what happened, "I got a
  phone call, but I can't say from who ... "


  The couple filed a public records request on Jan. 8, 2018, for emails and phone records of
  Camero, among other items, and sent it to Dooley. Dooley did not act on it until March 2 nd ,
  when she changed her demeanor toward them, no longer allowing them in her office. Dooley
  only provided them with a copy of legislation for mobile vendors but not the other requested
  items.


  They claimed that the City's permitting issue was unfair and arbitrary. They stated they
  installed axels on the container, as requested, and because they were considered a mobile
  vendor no CU was required, as per building officials. The couple indicated that businesses like
  The Wharf on North River Drive have been issued Temporary Use Permits (TUP) that allow
  them to operate for up to two years if they are opened on vacant lands. They said Carollo
  expressed that he didn't want TUP'S to be used in Little Havana.


  With regards to the Gay 8 Festival, a police officer by the name of Reyes ( described as
  "heavyset," first name unknown) told them after the "raid" on February 18, 2018, "I want to
  apologize for everything that happened ... There is a lot of squeezing about what happened here
  today." Similarly, a fire inspector that had been sent to their tent that same day, told them he
  was "shocked that it was the Commissioner on the phone with me."


  They stated they were also approached at a January 19'11, 2018 anti-bullying event in which
  a police officer told them to shut down even though they were only providing free food in
  exchange for charitable donations to an anti-bullying organization. They said a code officer
  named Scarlett confirmed Carollo's involvement.


  The couple advised they were granted a meeting at City Hall with Carollo and top
  administrators Emilio Gonzalez-City Manager, Albert Parjus-Assistant City Manager and City
  Attorney Victoria Mendez. They stated Carollo was antagonistic, saying, "You wanted your
  meeting, and you've got your meeting." They said that Mendez told them that their business
  was "illegal" and they got into an argument and the meeting ended badly with Carollo yelling at
  them, "Get the fuck out ofmy office ... Don't let the door hit you on the way out."




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  David Rodriguez and Cecilia Rodriguez, Union Beer Store, 1547 SW 8 th Street
  The husband and wife team co-own Union Beer Store and are also tenants of Fuller/ Earlington
  Group. Fuller indicated that they also had information pertaining to the selective enforcement of
  Carollo and other City officials against his properties. The couple stated their problems
  commenced shortly after Carollo was elected. It started when their one-year anniversary party
  was shut down. The Feb. 10°1, 2018 party was held in the parking lot behind their business to
  celebrate their one year opening. They said Carollo showed up with high police presence and
  approximately 15-20 Code Enforcement personnel with lights flashing, etc. They said Carollo
  told them they needed a Special Events Permit and they indicated that they didn't have one so
  they had to tell their friends and supporters to disburse. A code enforcement and police officer
  remained by the front door that night for approximately two hours. The couple indicated they
  discussed the matter that night with Carollo, who allegedly stated: "You need a temporary
  events permit ... but even if you had applied for one, I would have denied it."


  The Rodriguez's stated that Carollo spends a lot of time at El Pub, located at 1548 SW 8
                                                                                            th
  Street, across the street from their business, and said Carollo is close with the family. They
  believed that the business owners see "Sanguich" as competition and wanted them closed. They
  said their patrons also started to get harassed for having open containers when this was the
  norm during events such as Cultural Fridays. They said they got a violation notice on or about
  February 12th, and that Code Enforcement Officer Scarlett told them it was a formality, that a
  lot was going on 8th Street and mentioned inspecting their grease traps and kitchen. They
  believe they are being "targeted" because they are tenants of Fuller/ Earlington Group.


  Alain Garcia Martinez, Manager-S.H. Valet - Arnay Garcia, Runner-S.H. Valet
  S.H. Valet Parking Services Corp.
  Alain Garcia Martinez and his brother, Arnay Garcia, voluntarily agreed to meet with COE
  Investigators Olmo and Ross.
  Alain is the general manager for S.H. Valet Parking Services Corp., and Arnay is a "runner"/
  employee of the company, which has been operating in Little Havana for eight years, first at
  Catarsis Restaurant, which was located at 1644 SW 8th St, and now as the valet service for Ball
  & Chain for the past four years. Alain indicated, that initially, the firm operated Friday and
  Saturday adding Wednesdays in late 2016 and approximately 6 to 7 months ago, including
  Sundays. With respect to the incident in the complaint dated February 18th, 2018, the brothers
  stated that Arnay had the initial encounter with Carollo. Arnay indicated he felt threatened as he
  encountered two unidentified individuals in the parking lot.
  Arnay advised that on February 18'11, 2018, the same night as the Gay 8 festival, he arrived in a
  customer's vehicle at the church parking lot at 1411 SW 11 th Street at around 1:00AM and
  encountered a blonde woman (later identified as Lugo). Upon approaching her, the woman told
  him they were there looking for the priest "because we are having a family problem in our
  home." He then noticed another young man inside the church parking lot, and noted that tl1e
  man was photographing the vehicles. He indicated that he observed a dark colored (black or
  dark blue) GMC Terrain vehicle inside the parking lot with the windows up. When he


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  approached the male companion and asked why he was taking photographs of vehicles, both got
  inside the dark colored SUV.
  He approached the vehicle and an individual who lowered the window showed a City parking
  placard identifying the vehicle as an official City Commission vehicle (the placard was not on
  the dashboard) and said "I am the Commissioner". Arnay asked him to identify himself and at
  that point he stated he was Joe Carollo, City Commissioner, and was there taking pictures
  because they "were doing something illegal." and "violating the law." The conversation was in
  Spanish. Arnay notified Alain, who showed up shortly thereafter, at which point Carollo had
  left the lot and was parked on the street.
  Alain stated that he showed up in a customer's vehicle and advised that he observed a dark
  SUV parking on SW 14th Avenue outside the church lot, approximately three blocks from Ball
  and Chain. He recognized Carollo, although it appeared to him he was trying to conceal his
  identity by wearing a cap over his eyes. Alain told him: "Good evening, Mr. Joe Carollo and
  asked, "What happened? What are you doing here taking pictures of the valet, the property?"
  and Carollo responded, "I am here because I can be here. I am conducting an investigation ...
  You're operating illegally ... I am the law and I can do it." Alain told Carollo, "No, you are
  incorrect, you are not the law, you want to be the law, and you only represent it."



  At that point, he said the blonde woman lowered her window and made a comment, referencing
  the Parkland school shooting, "what would the children think about cars being parked at a
  church?" to which Alain responded, "what will the children think that at I :00AM you are taking
  pictures of vehicles inside a private property instead of discussing school safety."
  Carollo intervened and advised that he was conducting an investigation and that he did not need
  to explain anything to him. Alain responded that in the event of an investigation, he should have
  proceeded by approaching the valet, identifying himself and making the necessary inquiries
  instead of going "undercover." Carollo then stated that while he might be a valet company, he
  was "working for a millionaire" and before leaving, Carollo stated: "You'll see what happens in
  a week or two weeks."
  One or two weeks later, on Saturday morning, March 3rd , "the harassment began" and that
  evening, the Miami Parking Authority closed the lot at the church on SW 14th Ave. They were
  advised by Humberto Escandon (Escandon), Chief of Operations for the Miami Parking
  Authority, in an email sent to the owner of the valet service, Omar Rojas that they could no
  longer operate.
  They were told that none of the lots were legal and that in order to continue to operate, Bill
  Fuller had to obtain permission from Art Noriega (Noriega), Director of MPA.

  At that point, they could not use the three existing lots:

      I. St. Peter & Paul Orthodox Church lot, 1411 SW 11th St.
      2. 717 SW 15 th Street
      3. 1637 SW 8th Street (Futurama Gallery and Earlington Group offices)


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  (The parking lot to the building has been in existence for 20 years and they have been using the
  lot for four years)
  An alternate lot at a shopping center owned by Fuller (approxima tely 8 to 9 blocks from Ball &
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  Chain), located on SW 12 Ave and 5 Street, had to be used temporarily to park vehicles.
                             th

                                  rd
  That night (Saturday, March 3 ), Carollo followed a valet operator from Ball & Chain to see
  where he was parking the vehicles. As Arnay arrived at the location he observed Carollo parked
  on the street, driving the same GMC Terrain. He approached him and inquired as to why he was
  taldng pictures of the lot. Carollo responded, "I don't have anything to explain to you ... I'm
  doing my job." Arnay contacted Alain at Ball and Chain. Bill Fuller was there at the time and
  responded to the location, where he saw Carollo and photograph ed the Commissio ner inside his
  vehicle.
  The brothers stated that on or about March 12, 2018, they received a letter from private auditors
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  Complete Consulting Services Group (CCSG) Guillermo Ferrer, Project Manager and
  Franklin Laso, Director, advising they were being fined $11,281.00 for underrepor ted parking
  receipts, not including penalties and interest. (Valet operators are required to pay the City 15
  percent of all gross revenues). They were told that they were getting a "break" because no
  penalties or interest were being assessed. They questioned the accuracy of the audit, pointing
  out that in 2016 they did not operate on Thursdays, therefore, the calculation s were inaccurate.
  They proceeded to the Records Departmen t for the City of Miami and subsequent ly, an email
  was sent to CCSG advising the valet was not operating on Thursdays. Alain indicated that at
  that point they believed the amount would be adjusted to reflect the change. He also indicated
  that the subcontrac ted company on behalf of the City had never inspected the valet in eight
  years and now estimate the retroactive fines using inaccurate figures dating back two years.

      On April 4th, 2018, a follow up letter was received advising the amount due had increased to
      $12,470.70 , due to the City of Miami notifying them they were including penalties and interest,
      contrary to the first letter.

      Alain advised that they are the only valet operators in the area and in the eight years in business,
      they had never been audited. However, shortly after their initial encounter with Carollo, the
      surcharge department inspected the valet on a weekly basis 36 times in one month
      (approxima tely 3 times a night on Thursday, Friday and Saturday), riding in their private
      vehicles.
      Alain stressed that without the valet, Ball and Chain cannot operate. There is nowhere to park
      and alleged that Carollo was seeking to hurt Ball & Chain financially by going after its valet
      service and that S.H. Valet was a casualty of this crusade. "He wants to close the valet parking
      because ifhe can close the valet then business at Ball & Chain will suffer." He stated that the
      audit occurred within the two week time frame Carollo gave them.
                                                                                                  th
      Alain said the valet service was forced to rent a shopping center parking lot at 183 7 SW 8
                                                  th
      Street on the following Monday, March 5 in order to continue to operate. He said that Fuller
      then accompani ed them to MPA and they again spoke to Escandon, providing the required

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      CCSG-Complete Consulting Services Group manages the Miami Surcharge Program on behalf of the City of Miami.


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  documentation for the shopping center. Escandon stated he had to have them approved by the
  different departments and spoke to "Luis" (Arnay did not recall the last name). At the end of the
  conversation, Escandon stated that he didn't want any legal problems and that he had been with
  MPA for 20 years. Consequently, they were authorized to operate the valet. Escandon denied
  involvement with subsequent inspections on Sundays by an unidentified black, non-Hispanic
  male, who had been showing up keeping track of keys and tags and photographing the valet
  with a cell phone because they had ordered him to do so, but did not mention who.
  Alain concluded that all these problems appear related to the initial encounter with Carollo on
  the 18th when Joe Carollo was in the church parking lot, in what he referred to as "his
  investigation." Prior to that, "we didn't have any problems ... what that shows is that he
  directed all this." "He threatened us and he carried out his threat ... He kept his word. His word
  really is law."
  Arthur Noriega IV, CEO, Miami Parking Authority
  Arthur Noriega (Noriega) was interviewed at the COE office. Noriega advised that he has
  worked for the MP A for the past 18 years, and responds to a five-member Board of Directors.
  He said he does not report to the City Manager as the MP A is an independent agency. He said
  that City Commissioners do exercise oversight of the MPA, however, in so much as they
  approve the operating budget, confirm the appointment of board members, and determine
  whether to issue bonds on behalf of the authority so the elected officials do have standing.
  Noriega said it is not uncommon for him to discuss issues of concern with elected officials,
  though he did say it is "unusual" to have an elected official conduct an independent inquiry of
                                                                                           th
  the MPA's operations as Carollo allegedly did as it relates to valet operations on SW 8 Street
  in Little Havana.


  Noriega explained that they get complaints about "valet guys" all the time, therefore, their
  department constantly cites and enforces on a regular basis. Furthermore, valet permits are very
  specific in terms of space on right-of-way and they have to give very specific addresses and
  location to where they will be storing the vehicles ... "That all gets vetted through a number of
  different departments that have to concur that the space they are going to use is legal and 'up to
  code.'


  Noriega stated that prior to the March 2 nd and 3rd action against S.H. Valet, he met with Carollo
  at Miami City Hall to discuss a variety of issues. During that discussion, Carollo voiced
  concerns about the two valet operations servicing SW 8th Street , S.H. Valet at Ball & Chain,
  located 1513 SW 8th Street, and DEC Parking at the Guantanamera Cafe, located at 1465 SW
  8th Street. He said Carollo raised concerns about "life-safety issues" resulting from the
  interruption of traffic along SW 8th Street and concern about "the storage of vehicles," alleging
  that valet operators were not abiding by their permits. "He thinks it's a liability because of all
  the traffic, because it's so heavily used." He told Carollo that he would look into it.


  After the meeting with Carollo, Noriega called Enforcement Manager Escandon, who went out
  there and found both valet services were in violation in terms of vehicle storage since they were
  not using the location on the original permits. He said that following the shut down on the two

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  valets, the valet operation run by DEC Parking did not re-open but that Ball & Chain did
  continue to operate its valet service after Bill Fuller called and requested a several-day grace
  period to come into compliance since the shutdown would be a huge detriment to his business.
  Noriega stated S.H. Valet had filed a change of location but had not been approved. Therefore,
  Fuller used an alternative parking lot in the interim. S.H. valet resumed service and no further
  issues were reported. Noriega said that after Escandon conducted his field inspection, he
  reported back that S.H. Valet was using a lot without authorization, though he couldn't recall if
  it was the church lot. Noriega said that despite the complaint, Carollo never asked to shut down
  valet service at Ball & Chain. "No, he was more generalized, he was not specific ... He asked
  us just to look into it. He's very careful with respect to his communica tion, especially with me.
  He's very general ... ""His direction to me was no different than what I've received from a
  dozen other elected officials."


  He stated he had spoken to Carollo 3-4 times since he was elected. Noriega noted that he has
  had a working relationship with Carollo stretching back nearly 20 years, much of it adversarial.
  Noriega said that parking operators pay the City a 15 % surcharge on revenues from valet
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  operations and that the City has a private consultant who handles audits/colle ctions . He
  advised he has no oversight of the audit function, and is not familiar with the particulars of the
  audit process.


  He said that, with respect to the allegations against S .H. Valet, Carollo was right. He added that
  S.H. Valet "had submitted a change in location" at about the time of the enforcemen t, but noted
  that just because the company had applied for a change in location doesn't mean they have
  authority to operate at the proposed location without approval from the required agencies.


      Scarlett Morua, Code Compliance Inspector, Miami Code Compliance Office
      In a sworn statement, Morua advised she started working with the City on January 9th, 2017,
      under Director Orlando Diez (Diez) and Chief Jessica Cap6 (Cap6). She worked in the South
      and Central offices covering the 3:00PM-12 :00 midnight shift. Due to staffing changes under
      the new administrat ion with new Director James Bernat, she was assigned Tuesday-Thursday
      from 1 :00PM-10: 00PM and the night shift Friday-Satu rday 11 :00PM to 8:00AM. In the city-
      wide coverage on her present shift, mostly handling noise complaints at night. Morua indicated
      her current supervisor is Frank Marcos.


      She said that during regular business hours 8:00AM to 5:00PM, code complaints are logged by
      the "front ladies" on the 7 floor of the MRC building. With the new administrat ion, she said
                                  th

      that after 5:00PM, the complaints are received through a hotline phone and inspectors document
      the calls. The list turned in at the end of their shifts. The new administrat ion created a log sheet
      where complaints and calls are logged.

  4
    DEC Parking Service is a vendor for MPA. Centralized valet parking in Coconut Grove as a pilot program implemented
                                                                                                                         by MPA
  approximately 6 months ago.
  5Complete Consulting Services Group (CCSG), 2650 Biscayne Boulevard, Miami, FL. 33137. Franklin Laso, President.
  CCSGs overseen by the City's Finance Department.

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  With respect to the incident occurring on December 1S'h, 2017, she recalled being dispatched to
  the Tower Hotel at 1450 SW 7 Street, sometime in the early evening. She said a couple of
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  people called to complain and either Inspector Danny Sierra or then Director Diez told her to
  "report to a particular party ... a particular situation" She advised that when she got there, she
  saw it was a holiday party, where a few people were dancing in the lobby of the hotel and
  others were outside at a makeshift bar. She said she was told to find out whether the owner of
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  the property had a Certificate of Use (CU).


  Morua spoke to Fuller. She apologized for the intrusion and requested the CU. She said Fuller
  told her they were having a Christmas party and no CU was required, but that he had a copy
  back at his office. She told him to make sure he could produce it if requested later, but denied
  threatening to shut down the party ifhe didn't produce it. She said that Fuller told her it was a
  Christmas party and would not last much longer.
  Morua advised that sometime after she left, she was contacted by Jessica Capo, Chief of Code
  Enforcement, regarding her whereabouts and to go to the location. She advised she had been
  there and verified it was a Christmas party and left. She was told to return to the hotel and wait
  outside until the event ended. She felt this was out of the ordinary, but did as she was told.
  Morua said that Fuller came out to greet her again and that he told her the party would be
  breaking up soon. She said she had not been told to look for any drug use or illicit activity and
  did not have any reason to suspect anything illegal was taking place. She said she had observed
  children in holiday attire. Prior to this incident, she stated she had never been directed to
  respond to a party and stay until the party was done. On the night of the Christmas party she
  was told to wait until everything was clear and to call back to inform the party was done.
   Morua indicated "it was kind of weird."


      Asked about any interactions with Carollo, Morua stated she recalled a call from Danny Sierra,
      close to midnight (date unknown) to respond to a parking lot across from El Pub on the 1600
      block of SW 8th Street, where he stated, "something is going on, like a wrestling ring ... and the
      Commissioner is there" She said that by the time she got there, however, the wrestling ring had
      been dismantled, the event canceled. She said she did observe Carollo, City of Miami police,
      Mary Lugo, a union rep, and a "young man" on the premises (later identified as Miro.)


      Morua did not recall the date but indicated it was after the elections and that Carollo was
      dressed in jeans and introduced himself, saying, "You don't recognize me but I'm
      Commissioner Carollo." She indicated she told Carollo she was going to issue the establishment
      a Ticket Warning Letter (TWA). Mary Lugo accompanied her and the police officer across the
      street. She advised she had no other interactions with Carollo other than the one described
      above.

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      lt was later determined that the permit in question was a Special Event permit and not a CU.

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  Morua was questioned by the investigators about procedures and how inspectors respond to
  calls pertaining to complaints, their actions, their findings and process of reporting back. She
  responded that with the old administration they were sent out on assigmnent/complaint and the
  Code Enforcement officers emailed back with findings.


  Regarding "Sanguich of Miami", she stated she was called several times to that particular
  business by her supervisor, Luis Gomez who told her to "pass by the establishment, and to take
  pictures ... to see if they were still there." She was not working on the day of the Gay 8 Festival
  but recalled another inspector was called to "check up on them" (referring to "Sanguich").


  Morua was asked about any conversation she may have had with former Assistant City
  Manager Albert Parjus (Parjus) concerning Ball & Chain. She said Parjus never asked her to
  cite the business for a noise violation or for any other reason. Morua said that on one occasion
  earlier this year, she did respond to a complaint from neighbors (a couple) living in the two-
  story building behind Ball & Chain after they complained about noise from the club, but said
  Parjus had nothing to do with that. She said she was told to visit the complainant's apartment
  and measured the distance to the club. She advised that noise should not be audible beyond 100
  feet of the premises. The building was within that limit.


  Alberto Parjus, Deputy Director, Miami-Dade Department of Transportation aud Public
  Works and Former Assistant City Manager, City of Miami.
  Parjus, accompanied by Attorney Vivian Reyes, responded to the COE's offices. Also present
  during the interview were COE investigators Olmo and Ross and Staff Attorney Martha Perez.


  Parjus advised he has worked in the public sector or over 30 years, most of that with Miami-
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  Dade County, also serving as Assistant City Manager for the City of Miami from August 9 ,
  2015 to February 23 rd , 2018. He said he returned to the County at the request of Mayor Carlos
  Gimenez, the Director of the Budget Office and the Deputy Mayor through a waiver
  unanimously approved by the County Commissioners. Parjus stated he had worked in Transit
  for 18 years and besides the financial incentive for the move, he had the desire to help fix the
  transportation problems.


  With respect to the first paragraph of the complaint alleging Parjus's involvement with efforts
  to shut down a political rally supporting former Commission candidate Alfie Le6n on or about
  Nov. 18, 2017, Parjus stated that he did not have any recollection of said event, making or
  receiving any calls regarding the rally, speaking to Miro or Lugo and was not involved in
  responding to the event or directing code officers to take action.




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  With respect to allegation 2(b) in the complaint, Parjus denied it, adding, "At no time did I tell
  somebody, go there [Ball & Chain] and sit there until you find something." He added, "I don't
  allow for selective enforcement.


  Parjus said that he has !mown the Complainant for approximately two years and enjoyed a good
  relationship with him and even celebrated his birthday once at Ball & Chain. He said he has
  received at least two noise violations that he could recall against Ball & Chain. On one
  occasion, he said he received a call from then City Manager Daniel Alfonso regarding noise
  violations from Ball & Chain and he contacted the former director of Code Compliance to
  dispatch a code officer. He said he was also aware of two citizens who live near Ball & Chain
  who have lodged complaints. As for the Commissio ner's Office receiving and reporting
  complaints, Parjus indicated, the right way to communicate a complaint is through the Manager,
  then it is communicated to him and in turn he contacts Code Enforcement regarding the
  allegation. "The wrong way is a Commissioner calling the Director of Code Enforcement." He
  stated he has known Fuller for approximately I ½-2 years and has visited Ball & Chain 4-5
  times. He mentioned Fuller owns a lot of properties and "ifit wasn't for him (Fuller) that place
  would not be what it's now" ... "He started buying properties and was very engaged in the
  community," "He was the one that started all this ... that's why I'm surprised .. "


  When questioned about a possible controversy between Fuller and Carollo he stated he didn't
  know but from what he hears is that they have different management styles and "have their
  things ... have different views on the community and how they should do things and some of
  them are out there day and night traveling around and stuff like that.." He stated that while
  employed by the City and overseeing Code Compliance, he became aware of the present
  complaint.


  Parjus said he did recall complaints surrounding the "sandwich" business operating out of a
  shipping container placed next to one of Fuller's properties, and noted that they were not
  operating legally. He said complaints came from Carollo's Office and also from some of the
  local "brick and mortar" businesses that felt that it was unfair to compete against a business
  that didn't have to pay property taxes and abide by the City's Building Code. He noted that
  there is a loophole in the Code for properties that have no infrastructure or paving, but said
  that the property in question was paved and therefore the loophole did not apply in that
  instance. He continued by stating that, "if you !mow they are going to be watching you, don't
  do dumb things ... for example you are not supposed to have this thing attached to any electrical
  in a building ... ", so the Building Departmen t closed them down. Parjus indicated that "every
  time the guy would open the door to clean up the place or do something we'd get a call.. .hey
  they're open up again", from the Commissio ner's Office or somebody else. Parjus did say he
  has received a number of phone calls from Steve Mir6 about the "sandwich" shop. He
  mentioned contacting the City Manager and sent out Code Enforcement. Upon responding, he
  was notified they were "just cleaning up here." ... "That sandwich shop place was a nightmare.
   We even had meetings about that in my office trying to accommodate them, etc." Parjus
  mentioned he received "one of those weird calls about the 'sandwiche ra' ... I think it was the
   Gay parade ... they're open again for the Gay parade." He said he instructed the inspectors to go
   by the establishment to verify and he was told they were not open. The call was from Mir6.

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  Parjus noted that other commissioners besides Carollo make it a practice to "patrol" their    th
  districts, noting Commissioner Gort seems especially concerned about cafeterias along NW 36
  Street operating as bars at nighttime while Chairman Hardemo n frequently complains about
  illegal bars in the Little Haiti neighborhood. "They'll bring [problems] to my attention," he
  said, "but nothing improper or out-of-the-ordinary ... I've been in public service for 31 ½
  years ... and nobody's going to make me do anything improper or unethical."


  Parjust mentione d changes were implemented and when the new manager took over, Carollo
  wanted a task force for "Calle 8." By that time, he indicated he had removed Code Enforcement
  Director Orlando Diez because "he was not as proactive as I wanted him to be on the directions
  given to his rank and to use the resources in the most equitable way". He stated he had also
  removed the Chief, Jessica Cap6.


  Regarding ride-alongs, Parjus stated, "I think the protocol is to communicate that to the
  manager and the manager gives the 'OK' to the department director through the Assistant City
  Manager, tell 'OK' to the department director to ride along", although some don't drive along
  but like to meet the inspector and walk along with them while they are conducting inspections,
  'not uncommon, very common. '


  He also indicated the department has two Task Forces independent of the day-to day operations
  of Code Enforcement. The Bar Check Task Force is composed of fire, police, building
  department, code compliance and State Alcohol and Tobacco and based on informati on
  received by 311, residents or the Commissioners, go out weekly or every other week and
  respond unannoun ced to establishments to conduct in-depth checks.


  At the conclusion of the interview, Parjus stated he was surprised at what was alleged and
  indicated he had nothing to do with the allegations and does not get involved in anything
  unethical: "I don't owe favors to any politician, I don't do politics, I don't do nothing, I just
  work."
  James Bernat, Executive Officer, Acting Code Enforcement Director
  City of Miami Code Compliance Office
  Bernat appeared with Attorney Robert Busche! at the COE's offices. Present at the time, were
  COE investigators Olmo and Ross and COE Staff Attorney Martha Perez.


   Formerly the Homeless Coordinator for the City of Miami Police Departme nt for under 4 years,
   Bernat is currently the acting Director of Code Compliance since March 5, 2018. Since
   assuming this position, Bernat advised that out of all the elected officials, Carollo has been the
   most active in alerting Code Compliance to alleged code violations thin his Commiss     ion District,
                                                    th                                  th            He
   Little Havana, in particular, the stretch of SW 8   Street between 13   through   15    Avenues.
   said Carollo has made numerous allegations about businesses lacking BTRs,        licenses and
   approvals, permits, unsafe conditions, and loud music. He recalled receiving calls from
                                                                             th
   Carollo's office about Ball & Chain and other businesses throughout 8 Street.


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  Bernat indicated he met with Fuller offering his assistance in trying to resolve some of the
  issues with Ball & Chain suggesting a community meeting since some of the residents were
  upset about his establishme nt. He recalled meeting a lady behind the establishm ent complainin g
  ofloud music.


  New to his position, Bernat indicated he was trying to be accessible to the elected officials and
  sometime in late March or early April, he participated in a "park and walk" with Carollo, with
  numerous city employees including two inspectors, a police officer, Supervisor Daniel Sierra,     7
  Carollo, Mary Lugo and Sean Moy, whom he identified as AFSCME union representatives.
  Initially, the meeting was scheduled to take place at a City facility but later changed   to Little
  Havana at Carollo's request. They met   at EL  Pub parking  lot, located on  SW   8th
                                                                                        Street and 16th
  Avenue. Carollo started pointing out businesses with alleged violations, making general
  reference to corruption. During this encounter, Bernat stated that Carollo did mention alleged
  violations at Ball & Chain including its valet operation. Bernat stated that he told histh inspectors
  "to be fair" and as a result, he expanded the scope of their "park and walk" to SW 8 Street
  between SW 7 th and 18 th Avenues, approximat ely 1 ½ miles, noting any violations, "not only
  that we walk the limited area he [Carollo] was focused on."


  He said that, at one point, the exercise became awkward because individuals who appeared to
  be working for business interests followed them with video cameras and asked questions,
  prompting a confrontati on. He said he attempted to stay out of the fray even though he felt he
                                                                        th
  was being "taunted" at one point. They continued the walk west to 7 A venue and on the way
  back, Carollo wanted to go north to an apartment complex behind Ball & Chain.


  Bernat said he did find it unusual/aw kward that AFSCME representat ive Mary Lugo
  accompani ed Carollo during the "park-and- walk." He said that Lugo, in particular, seemed
  fixated/ada mant on Ball & Chain and the noise issue and that she and Carollo arranged for him
  to meet a woman who lived behind Ball & Chain at the conclusion of the activity, and that the
  woman complained of loud music after 9:00PM at the Club. He said the woman met him in
  front of the apartment complex. He said that he felt Lugo was oversteppin g her bounds,
  especially when she began to question him. about personnel moves within the Code Complianc e
  office. "Mary Lugo tried to talk to me ... and I told her to write an email," adding that she never
  did so. He said he has observed her in Carollo's office on at least two other occasions.


   He said Carollo is focused on certain properties but he does not know who the owners are.
   Carollo did make allegations of corrupt dealings between the MP A and Ball & Chain and stated
   that the valet in front of Ball & Chain was illegal and should not be allowed to operate, but he
   did not provide any tangible evidence. He said he did not have any more direct encounters with
   Carollo relating to code compliance matters. He said the only other time he saw Carollo was at
   a property in his District that had lost power.


   Bernat stated that Carollo made large numbers of allegations about illegal businesses and

  7 Park & Walk with Carollo was on Wednesday, March 14, 2018.



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                                                                                             he did
  alleged "corruption" among local officials and business interests. He said, however, that
  not feel that Carollo was attempting to give him direct orders, "He didn't direct me to do
                                                                                              was
  anything. He was pointing out that there were complaints or violations of the code and he
  bringing them to my attention."
   He said that while he was aware that the complaints involved multiple properties, he (Bernat)
  didn't know who the owners were, and that he had not observed any pattern of selective
  enforcement by the commissioner.


  Regarding the ride-along referenced in the March 8th, 2018 email from Daniel Sierra, Code
  Compliance Supervisor, Bernat said this happened during the week he began in Code
                                                                                             d
  Compliance and that it was done without his knowledge or authorization. Bernat indicate
                                                                                             ly
  inspectors should not be going in cars or doing ride-alongs with Commissioners, especial
  without the approval of their supervisor. He further stated that he has since directed his
                                                                                             not
  officers/staff not to participate in "ride-alongs" with Commissioners. He said that he has
  received any specific complaints from staff regarding undue influence by Carollo.


  Humberto Escand on. Senior Manage r of Operation • MP A
                                                                                               may
  Escandon responded to COE's offices for a formal statement regarding any knowledge he
                                                                                             He
  have about the enforcement action against S.H. Valet and its operations at Ball & Chain.
                                                                                ment  Departm   ent,
  said he has worked for the MP A for over 20 years and as head of the Enforce
  presently supervises 33 inspectors (4 shifts), covering 14 zones, city-wide. He said he also
  oversees valet operations, permits and zoning letters. He said complaints are normally lodged
  through the dispatch area at (305) 579-4900.

                                                                                          tation
  With respect to S.H. Valet, Escandon said he had no prior knowledge about the confron
                                                                  said he knows the manage r of
  on February 18 between Carollo and the valet operators. He
                  th
                                                                                             He
  S.H. Valet by face but not by name and described a man who appears to be Alain Garcia.
                                                                                                for
  said that, from time to time, he receives complaints from the offices of City Commissioners
                                                                                           n about
  example, Frank Castaneda might call on behalf of Commissioner Willy Gort to complai
                                                                                              from
  parking at Curtis Park, but he said he has never been contacted by Carollo or anybody else
  his office regarding a parking matter, including the issues at Ball & Chain.

                                                                                         nd   rd ( on a
   Escandon indicated that he received a call from Art Noriega on or about March 2 -3
                                                                                                     valet
   weekend) about possible violations at Ball & Chain. He stated he proceeded to check S.H.
                                           th                                    ed  a field inspecti   on
   and another valet operating along SW 8 Street, DEC Parking. He conduct
   on or about March 4th or 5 and found out they were not parking in
                              th                                         a legal lot. He noted that the
                                                 th
   lot they were suppose d to be using on SW 15 Avenue between      6 th
                                                                         and  7th Streets was not
                                                                                                   on it,
   being used and was not up to code. He said it was empty and had construction materials
                                                                                                         nt,
   and also lacked proper lighting and was not striped properly. He said the lot could, if complia
                                                                                                 ial area,
   accommodate 50 vehicles. He said that, instead, he found S.H. Valet was using resident
                                                                                                    were
   a church parldng lot. "They were parking vehicles all over the place," but not in lots that
   code compliant.



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  He said that up until that time, he assumed S.H.Valet was operating in full compliance with all
  requirements, though he admitted that he had never fully verified the valet's application. He
  said applications for valet service must be submitted every six months and that a corresponding
  review process in which feedback is sought from numerous City department s can take months
  or longer. Escandon said approvals are required from police, fire, zoning, risk managemen t and
  NET.


  He admitted that in the case of S.H. Valet, he didn't follow through on these approvals and
  allowed them to operate on a good-faith basis, noting such approvals sometimes "take forever."
  He said the company had been operating this way for several years, without verification. He did
  not recall the exact date the permits were provided to S.H., but believes it was in January of
  2018, and that every six months permits are updated. "I dropped the ball," Escandon said,
  noting that he is the only MP A official responsible for overseeing valet permits and that there
  are roughly 20 valets operating citywide.

                                                                                           th
  Escandon said that, based on the valet's most recent application, the church lot on 14 Avenue
  and other lots they were using were identified as lots to be used for Ball & Chain patrons'
  vehicles. However, when he conducted the field inspections, none of these lots were compliant
  with the requiremen ts under the City's Parking ordinance, i.e., no striping, pot holes,
  construction materials, and in the case of the church lot, not properly paved. He said the church
  lot had enough pavement for three vehicles, but that most were parked on the grass. He said the
  lot at 1637 SW 8th Street (Futurama) was not up to standards either. Although the lots were in
  the application, they were not up to standards. After contacting S.H.V alet, they complied.


  Escandon said he documente d this by taking photograph s and sending them to Noriega. He said
  he contacted S .H. Valet and informed them that they were not in compliance and would have to
  cease operations. He said that, after speaking with Bill Fuller and S.H. Valet representatives at
  MPA, an agreement was worked out in which they would use the Dollar Store lot in a shopping
                             th
  center at about 1600 SW 8 Street.


  Per Escandon, "Bill Fuller talked to me and I explained to him the reasons why those lots were
  shut down." Escandon felt bad because he recognized they had been operating under the
  assumption that everything was okay and that they were meeting all requirements. He added
  that valet operators are given a copy of the applicable City Code when they are issued permits
  and that it is the operator's responsibility to comply with the requiremen ts. He stated they went
  in with the application and he failed to check it right away ... "If you're going to blame
  somebody, you can blame me ... " Escandon also acknowledg ed that S.H. Valet had not
  previously been made aware of any code violations.

                                                          th
  Jessica Capo, Code Compliance Officer, 151 NW 27 Ave. {NET Office)
  Capo was interviewe d at her workplace, City of Miami Neighborh ood Enhanceme nt Team
  (NET) Administra tion office by COE investigators Nilda Olmo and Karl Ross. Capo stated she
  has worked for the City for 29 years, the past 19 in Code Complianc e now Code Enforcement.


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  She said she also worked several of those years as an assistant to ASCFME President Charlie
  Cox, and recently served as Chief of Code Complian ce, reporting to Orlando Diez, former
  Director of Code Complian ce. Cap6 said that both she and Diez, who reported to former
  Assistant City Manager Alberto Parjus, were reassigne d in January as there was a new
  administr ation that, as she was told, wanted "to go in another direction. " She further stated she
  is not involved in politics.


  Cap6 reviewed the complain t and with respect to the allegations therein contained , stated she
  had no knowledg e of the interventi on by Code Complian ce on Novembe r 18, 2017, at the site
  of the Alfie Leon political rally, where code officers allegedly ordered the Leon supporters to
  leave. With respect to the allegation in Section 2b of the complain t regarding the holiday party
  at the Tower Hotel on Decembe r 15°1, 2017, Cap6 stated she received a phone call that evening
  from Parjus advising her that there was a loud party. "He called me only because he couldn't
  get Orlando Diez on the phone." She in turn contacted Morua to respond to the location in
  question because Parjus told her that there was a party and there was loud noise complaints.
  Cap6 said she didn't recall asking Morua to request to see a CU or any other business license,
  and did not recall directing her to stay until the party dispersed. She said she recalled that
  Morua called her after the inspectio n and advised that "everybo dy was leaving." She said she
  did not recall if she relayed that message to Parjus, and no further action was taken on her part.


  She said she was not aware of any effort by Carollo or his staff to "target" Complain ant's
  properties. As to Mir6, she said her only contact with him was prior to his employm ent by the
  City because he was found to have a code violation on his own property and indicated Mir6
  fixed it. She said she had no knowledg e of any issues with the valet service at Ball & Chain. "I
  got demoted in January," she said. "I don't know what's been going on since then."


   She suggested that any alleged interferen ce by Carollo would likely have happened with City
   personnel at a higher level in the City. She advised she has been close friends with Responde nt
   Mary Lugo, the AFSCME union rep.


   Steven Miro, former District Liaison (District 3), Office of Commissioner Joe Carollo
   City of Miami
   Mir6, accompan ied by his attorney John Cunill and his associate Ken Damas, appeared for a
   voluntary statement at the offices of COE. Present for the statement were investiga tors Olmo
   and Ross and Staff Attorney Martha Perez.


   Mir6 stated he was introduce d to Carollo by a mutual friend sometime in January or February,
   2017, and that he later served as his campaign manager, initially working pro-bono and later,
   after a month and a half, as a paid member ofCaroll o's campaign staff. He said he had an
   opportunity to work and applied for the City as part of the Homeless Advocac y program ran by
   Sergio Torres (Director ), but that Carollo urged him to stay with the campaign and told him he
   would receive a better position once he was elected.

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                                                              nd
  Mir6 advised that after Carollo took office on December 2 , 2017, he was the Commissioner's
  "first hire" on Dec. 4, 2017, then became District Liaison for District 3 and served six months
                                                          th
  until he was terminated by Carollo on Monday, June 4 • 2018, As District Liaison, he was
  responsible for fielding constituent complaints, scheduling meetings for the commissioner, and,
  for a time, preparing agenda items but was removed from these legislative duties about two
  months ago.


  He advised that he used his personal cell phone for City business and that Carollo also used his
  personal cell phone and did not possess any other City issued phone. He noted there is a $3 00
  monthly City stipend for elected officials. He said that he recently replaced his phone and that
  many of the photographs and other records with possible relevance to this investigation were
  lost as a result. As per Carollo's directives, he took photographs and sent them to him.


  Mir6 indicated that he usually communicated with Carollo and his staff by telephone, but not as
  often by text message or email. He said that Carollo preferred not to communicate by email.
  Mir6 stated that early on in the campaign, Carollo met with Fuller and that "he was a supporter,
  he did give us money also, in the campaign". Later he met with Fuller regarding how to better
  Little Havana. At the time, Mir6 stated, "it didn't seem Joe was targeting him at the time, Joe
  was trying to ally himself with him."


  With respect to the initial allegation in the complaint regarding the Alfie Leon campaign rally
                                                                 st             th
  on Nov. 18, 2017, on a lot owned by Fuller located at SW 1 Street and 13 Avenue, Mir6
  stated that he did receive a call from Carollo telling him, "there was something going on at a
  parking lot" ... food given out and asked him to respond to the rally, talce photographs and send
  them to him. Also, to call "Mary", who responded and took pictures. He indicated that he and
  Carollo had been circulating around the community at early voting sites. Mir6 mentioned that
  Mary was an AS CME rep and an intricate part of the campaign. He said that he recalled just
  two campaign workers being present, a food truck and a handful of supporters. He said that
  about 30 minutes to an hour after reporting back to Carollo and sending him the photographs,
  police and code enforcement arrived on the scene and that a $250 fine was issued for "some
  type of violation." Miro indicated he did not know if Carollo contacted anybody, but suggested
  Lugo may have used her City contacts, by virtue of her employment with Code Enforcement.
  He stated Carollo and Lugo both have regular contact with former Assistant City Manager
  Parjus, but could not say for certain whether Parjus was involved at that time.


  With respect to the holiday party at the Tower Hotel, Mir6 advised that Carollo notified him of
  the event after the Commissioner conducted a "drive-by" and mentioned the hotel "is all
  illegal" and sent Code Enforcement. He said Carollo didn't know a lot about code enforcement
  but was guided by Lugo as to possible code violations. He said that the construction on the
  hotel was unfinished and that there were exposed wirings and stated that the building lacked a
  Certificate of Use ... "That's obviously because of Mary." He stated Carollo wouldn't know
  what to look for and therefore he received all his information through Mary Lugo. He continued
  by stating, "Now that he knows pretty much code enforcement 101, he is now deputized as a

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                                                                                      ment and had
  code enforce ment officer himsel f." Miro said that he did not contact code enforce
  no further knowle dge about what occurred.

                                                                                to respond to the
  Miro said that he did recall Carollo contact ing him on Februa ry 18'\ 2018,
                                                                                Carollo  wanted "to
  Gay 8 event and inquire about a sandwi ch shop that was set up "illega lly."
                                                                                event but was in
  shut down the "Sangu ich de Miami " shop." He said Carollo was not at the
                                                                      z] and  City Manag er and
  constant contact with the City Attorne y "Vickie " [Victoria Mende
                                                                                     presence. Miro
  asked him (Miro) to alert them of the situation. He stated there was also police
                                                                   He was later contact ed by Carollo,
  indicated that he remain ed at the event for 3-4 hours and left.
                                                                                  had been properl y
  who asked him to return and find out the final outcom e/status , whethe r they
                                                                                    lacked the proper
  issued a permit by the Kiwani s Club for the parade. He said that initially they
                                                                                   sidewalk.
  permits but were able to obtain one and remain open at a tent locatio n on the

                                                                                       ment and
  Asked about possibl e motiva tion for Carollo 's proacti ve interest in code enforce
                                                                                   were always in
  shutting down "Sangu ich de Miami " Miro said that Carollo mentio ned they
                                                                                to make it known,
  violatio n and he wanted to put a stop to it. Per Miro, "He (Caroll o) wants
  there's a new sheriff in town."

                                                                                      ox Church church,
  With respect to the Februa ry 18 , 2018 inciden t at St. Peter and Paul Orthod
                                   th
                                                                            called him   and asked him to
  Miro advised that he was having dinner with his wife when Carollo
                                                                                   with his (Miro's )
  meet him at El Pub. He was present in the vehicle driven by Carollo along
                                                                         area while  Carollo was
  wife and Mary Lugo. He said they met at El Pub and cruised the
                                                                                     ed Carollo was his
  "pointi ng the same things he has been pointin g at beforeh and." Miro indicat
                                                                                       observed cars
  boss and he had to comply. He said that when they got to the church , Carollo
                                                                                         nt questio ned
  being parked improp erly on the grass. He said that after the parking lot attenda
                                                                                    the side of the car
  their activity, Carollo took out his official city busines s decal/p lacard from
                                                                                     ation. Miro was not
  and showed it to the attenda nt and stated that he was conduc ting an investig
                                                                                    alleged in the
  aware of any investig ation. When questio ned about Carollo 's stateme nt, as
                                                                                   did  tell the attenda nt
  complaint, to the valet attenda nt, "I am the law", Miro confirm ed Carollo
  someth ing to that effect and also that they were operating illegally.

                                                                                        ed there was a
   When questio ned regardi ng Carollo possibl y targetin g the valet, Miro indicat
                                                                          He  was  not  present that night
   separate inciden t in which he was targetin g Ball & Chain's valet.
                                                                                         several times
   but indicat ed Mary Lugo was. Miro stated that Carollo and Norieg a have met
                                                                 indicat ed he attende  d one meeting,
   regarding the Ball and Chain valet and parking issue. He         8               ed it as
   called by Carollo , in which Carollo "grilled him" (Noriega). Miro describ
                                                                                      were approv ed for
   "interro gations ." He indicat ed Carollo wanted a list of all the valet lots that
                                                                                      ted in learnin g about
   Ball & Chain, Cubaoc ho and Guantanamera. Carollo was especia lly interes
   procedu res for pulling permits .

                                                                                   by Bill Fuller/
   Miro said he believe d that Carollo was selectively targeting propert ies owned
                                                                                 of2018   to
   Earling ton Group, and advised that Carollo once asked him in the early part

  8 Meeting was held at City Hall in Caro!lo's Commission office.


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  photocop y a list that identified numerous properties owned by Fuller/ Earlingto n worth over
  $40+ million. He said he had not received a comparab le list for any other property owner in the
  District.


  Mir6 stated he also recalled a scheduled walk-thro ugh of Little Havana with Carollo and a
  group of City officials, including City Manager Emilio Gonzalez , in which Carollo pointed out
  alleged code violations , many of which involved Fuller/ Earlingto n properties. He said the walk
  extended east to Sidebar, another of Fuller's propertie s, and that upon returning to the starting
  point, officials were directed to an apartmen t building located "diagona l" to the rear of Ball &
  Chain on 7th Street, close to 15 Avenue where Mary Lugo, Mara and Gisela (from Carollo's
                                   th

  staff), had canvasse d the building previously, knocking on doors and looking for residents who
  would complain about loud music emanatin g from the night club. Mir6 stated that Carollo had
  initiated that request. Mir6 indicated that when the officials arrived, Carollo said "I want you
  guys to witness this," and proceede d to !mock on several doors. Only one female tenant on the
  corner top apartmen t answered the door and Carollo brought her outside and told her, "can you
  please talk". As per Mir6, she only spoke because the Commiss ioner reached out to her not that
  she voluntari ly went up to them.


  During the walk-thro ugh, Mir6 mentione d that Fuller's partner, Martin Padilla, was there and
  Joe "was brushing him off'. Padilla wanted to request a meeting with the Commiss ioner in
  order to settle the differences.


  Mir6 said Carollo never told him that he was targeting the valet servicing Ball & Chain in order
  to harm the business financially but in his opinion, Carollo was selectivel y enforcing/targeting
  Fuller's properties: "In my opinion, Yes."


  He said Carollo did "brag" to him about following valets from Ball & Chain to the new lot they
  were using, and claimed he observed valets digging through the glove compartm ent of vehicles
  they were parking, presumab ly searching for valuables they could steal. Mir6 stated Carollo
  made a comment on the record about this during one of the Commiss ion meetings.


   With respect to the allegation in the complain t concernin g filming at Ball & Chain, Mir6 said
   Carollo asked him to find out whether they had obtained a permit. He said that he contacted
   "Vinnie" Betancou rt in the Special Events office and was told they had been issued a permit.
   He said he informed Carollo and because they appeared to be doing this legally, he did not
   contact Code Complian ce to disrupt the filming.


   Mir6 noted that after the COE Complain t was filed, naming Mir6 and others as Responde nts, he
   was approach ed by Carollo and questione d about how he might respond to questions from
   investigators. Mir6 said Carollo expressed surprise that he had retained counsel and pressed him
   for details after he said he intended to answer all questions truthfully. He said that Carollo was
   not satisfied with this response and instructed him to tell the investiga tors that all actions taken
   against propertie s owned by or related to the business interests of Bill Fuller/ Earlingto n Group

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  were the result of"anonym ous complaints." He said that Carollo wanted him and Lugo to get
  formal statements from neighbors.


  Mir6 said Carollo tried to "coerce me into saying something that is totally not true" and he
  (Mir6) would not put himself in that predicament, to lie about anonymous complaints. "Joe
  wanted me to say there were anonymous complaints and there were none. I never received any
  anonymous complaints," said Miro, noting that in his city position, he would have to be aware
  of citizens' complaints. He suggested that any complaints would be kept in a log for Constituent
  Complaints and Tanja Quintana would be the employee in Carollo's office maintaining the log.


  Mir6 said that Carollo's Commission Office has an annual operating budget of$514,000 , and
  about 9 or 10 employees. These include his chief of staff Richard Blom,who came a month
  before his termination; Anthony Barcena, Deputy Chief of Staff; Jose Suarez, Special Assistant;
  Lizette Palares, Adminstrative Assistance; Tanja Quintana, Receptionist; Mara Roman, District
  Liaison; Gisela Maestre, Special Aide.


  Orlando Diez, former Director of Code Compliance,
  Construction Manager, Office of Capital Improvements
  City of Miami
  Diez appeared at the offices of COE and provided a sworn statement. Diez advised that he has
 twice served as Code Compliance Director - the first time from about 2011 to 2013, the second
 time from about December 2016 through late January 2018. He said he had previously served in
 Capital Improvements and also as director of the Neighborhood Enhancement Team (NET). He
 said he commenced employment with the City in 2008 as Construction Manager.

  He further advised he has a Bachelor's Science Degree in Construction Engineering with an
  Associate's Degree in Civil Engineering. He said he is a state-licensed General Contractor and
  Home/Building Inspector, Florida Board of Engineers. He said he is also a ce1tified code
  enforcement officer through an organization he co-founded in 1988 called FACE. He said the
  City recently stopped requiring this certification.

  Diez said that, as Code Compliance Director, he was responsible for all facets of the office's
  operations - including staffing, budgeting, scheduling, management, and administration duties,
  responsible for the creation of operation procedures, reviewing, writing and creating ordinances,
  special inspections with building department and so forth.

  He said his second in command was Assistant Director Jessica Cap6. He said the four (4) area
  supervisors were Daniel Sierra (South, Little Havana, Coconut Grove); Luis Gomez (Southwest,
  Flagami); Lazaro Orta (Central, Overtown/ Liberty City, Allapattah ); and Michelle Watson
  (North of Miami River). He indicated the City is broken down into 47 sectors or sub-districts
  with 50-60 inspectors. He said inspectors worked from 8:00AM to 5:00 PM, but in 2017 an
  evening shift from 3 :00PM to 12:00AM, and weekend shifts for the purpose of inspecting night
  clubs was created.


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 Diez said complain ts are received in several ways, including the County's 311 hotline, which will
 pass code complain ts along to City inspectors, daily emails and through four operators who intake
                                                                                                  9
 complaints at the Code Complian ce office. He said all complain ts are logged into the City View
 computer program, along with informati on about inspections, violations and a tracking system for
 each case. Violation s can be heard by the Code Enforcem ent Board or by a Special Master, if
 they need to be expedited , meeting twice a month.


                                                                           10
 Diez said that based on his understan ding of the City's Charter and APM , elected officials are
 not allowed to give direction to staff and can only raise concerns through the City Manager 's
 Office. He thinks this may include Assistant City Managers. He indicated in the case of Carollo,
 many of the code-rela ted complain ts originated from Carollo's Office through Mir6 as well as
 communi cation through his direct boss, Assistant City Manager Alberto Parjus.

 He said he received calls from Mir6, as well as from Mary Lugo, a City union rep. Diez said that
 many times after receiving calls from Mir6 and/or Lugo about an alleged code violation, he
 would also receive calls from Parjus who would complain , "They are driving me crazy" about
 code issues, inspectio ns, cases going before Special Masters or the Board and why thCode
                                                                 th
 Enforcem ent wasn't resolving the issues about businesse s on 8 Street between 12 Avenue and
  17th A venue.

  Diez stated Mir6 was especially insistent about seeking to close down an illegal sandwich shop,
  telling them, "They don't have a permit. We need to close it down." Diez told him Code
  Complian ce doesn't have the power to do so on its own, but that he did call the police on the
  sandwich shop on the second occasion code enforcem ent officers were sent there because it was
  unlicensed.
                                                  th                 th
  Another business was a Market place also on 8 Street around 14 Avenue in which violations
  had been issued but Mir6 insisted inquiring about the status for that business and Ball & Chain.
  Diez said that, with respect to Ball & Chain, he was aware of a single noise complain t his office
  received from "an old lady" who lived in the corner, on top of Calleocho Havana. He said the
  same woman complain ed about a number of nearby businesses, saying they were too noisy even
  during the day. He said he learned of two or three other alleged complain ts about Ball & Chain
  through Parjus but could not specify their origin.

  With respect to the first incident cited in the complaint, the Alfie Leon campaign rally on
  Novembe r 18th , 2017, Diez stated that he first received a call from Mir6 and later from Parjus
  about the rally and that Diez said there was "a party or somethin g going on" at the empty lot. He
  said Mir6 wanted code inspector s to find out if they had a special events permit. He said he
  dispatche d a code officer to the scene and that a ticket was issued for lacking a special events
  permit. Diez indicated that later when Parjus called him he advised that he would send the police.

  9   PRR {City View software report) shows 2 Noise Complaints for Ball & Chain on 02/18/18 & 02/20/18.
  10 Administrative Policy Manual {APML Rules and Regulations of the City.




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                                                                                                at that
 He said he never spoke directly to Carollo, who was still a candidate for the Commission
 time.
                                                               th                                    that
 With respect to the second cited incident on December 15 at the Tower Hotel, Diez advised
                                                                                           he had an
 he was attending the City's holiday party that night. He said that during that event,
 unsettling encounter with Commissioner Reyes and later Carollo which he would never forget.
                                                                                                     may
 He said Reyes approached him and, making a play on words using his last name, said, "You
                                                                                                      had
 be a 10, but after you come to my office, you're going to be an eight ... "He said that Carollo
                                                                                                   be a
 joined the conversation by then, and Reyes added, "And after you go his office, you might
 six ... "He said that he "took it as a little intimidation." He said that as the convers ation
                                                                                                   8. He
 progressed, Carollo told him that he was aware of a large number of violations along Calle
                                                                                                      is
 said Carollo told him: "There' s a guy there who owns a lot of businesses, buildings, his name
 Bill Fuller ... they have a lot of violations." He said Carollo told him he had a list of Fuller's
 properties that he intended to give it to him, saying; "My office has the addresses."
                                                                                                    he
  Diez said he assured Carollo that his office would deal with any and all violations and that
  never received any list from Carollo, but that he got the message. He said that, based on the
  Commissioner's remarks, he felt that Carollo was asking him to selectively target Fuller's
                                                                                                   s in
  properties. He said he later provided Carollo 's office with a list of all active code violation
                                                                                                  office
  Little Havana, numbering 70 to 80 violations. He said he did this to show Carollo that his
  was taking action against all code violators in that part of his District.
                                                                                                 Hotel
  Regarding the private party by Fullerton/ Earlington Group that same evening at the Tower
                                                                                             left the
  and the property next door (west of the hotel), Diez said he started getting calls when he
                                                                                                 Lugo.
  City's party around 9:00-9:3 0PM, and that he had text messages with photos sent by Mary
                                                                              a Special Events Permit
  He said he spoke to Lugo on the phone and she told him the party lacked
                                                                                              have to
  and should be shut down. He said that for the party to require such a permit, there would
  be more than 100 people at the party. He said Lugo assured him this was the case,     and wanted
  Diez to call the police to shut the party down. He said that he told her he would send a code
  officer, and that she was upset with him because he refused to go in person at her request.

                                                                                           that
  Diez said that he called Code Officer Morua (Scarlett) and that she reported back to him
                                                                                           make
  there were no more than 50 people there, including children. He asked her to go back to
                                                                                              not.
  sure there were other guests somewhere in the hotel and she responded back assuring there

                                                                                                    not
  He said he returned Lugo' s call to tell her there were fewer than 100 people and that he would
                                                                                             Code."
  call the police. He said she told him, "You're wrong ... You don't know how to read the
                                                                                             care of
  He said that about 10 minutes later, he got a call from Parjus asking him to, "Please take
                                                                                                 Parjus
  this" and noting that the complaints were "coming from a Commissioner's office." He said
                                                                                              in
  told him again on that occasion, "They'r e driving me crazy" and directed him to go there
                                                                                             d only
  person. He said he went with a couple of code officers working the late shift and observe
  10-15 people.

  Diez said that Parjus warned him Lugo intended to file an ethics complaint against him for
                                                                                                    d
  disclosing her identity as the complainant for the incident at the Tower Hotel party. He dismisse

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 her threats, but on one occasion she told him, "the Commissio ner was unhappy" about a code-
 related matter/enforcement. He said he could not recall the matter in question and that she never
 explicitly stated she was acting on behalf of Carollo.

 He said that at about this same time he had received a complaint from Lugo about a storage
                                                        th                 st
 facility behind a property she owns on or about SW 7 Street and 31 Avenue. He said she was
 upset when he told her that the contractor was building the structure in accordance with the city
 permit. Lugo wanted him to remove the final inspection. He stated Lugo remained angry. Shortly
 thereafter, he received a call from Parjus, "Please take care of it ... see what you can do with this
 guy." He responded, "Sir, "I'm sorry, I am State licensed, I am not going to lose my license
 because somebody thinks that is wrong" and furthermore, that he reads and checks more plans
 that maybe she has in her entire life and has a degree. The plans had been approved by Zoning
 and a permit issued. After that incident involving Lugo and Parjus, problems started for him.

 As it related to Ball & Chain's valet service, he said that, at some point, he received a complaint
 that as many as 15 to 20 cars were lining the north side of the street, but said that once he got
 there he only found two cars parked in front of the club. He said that unless a code inspector sees
 the violation in person, no violation can be issued based on third-party hearsay.

 Diez said he recalled that earlier this year, after he was re-assigned to Capital Improvements, he
 received a call from Code officer Daniel Sierra or Dennis Uriarte, concerned about requests from
                                                                              th
 Carollo's office for the Commissio ner to go on a "ride along" along SW 8 Street. He said the
 officers were not comfortabl e with the idea and that he suggested they put something in writing.

  Diez said that prior to his re-assigrnnent, Parjus warned him: "They want your head ... You need
  to put attention to the violations at Calle 8 ... " He said Parjus didn't name names. He also
  indicated he was told by Parjus to keep away from Code Enforcement.

  On Friday, July 20, 2018 at 12:07 PM, Diez received a text from Parjus: "Malce sure your
  inspectors and supervisor be on top of violations on District 3 or there will be consequences."

   At the conclusion of the interview Diez stated that it was his belief, as far as his re-assignment,
  that it was due to his strict nature, "follow the law, follow the code", and that he is not too liberal
  and believes in due process.

  Carlos Diaz. Fire Inspector, City of Miami Fire Department
  Inspector Diaz responded to COE's offices to provide a sworn statement. He was accompanied by
  Christina S. Gornail, an attorney assigned to him through the City's Firefighters Union, the IFF
  LOCAL 587. Investigators Olmo and Ross along with COE Advocate Michael Murawski were
  present during the interview.


   Diaz stated he has served as a member of the City of Miami Fire Departmen t for 27 years and
   that he presently serves in the capacity of Fire Inspector. He said that he was acting in that
   capacity on February 18th, 2018 during the Gay 8 event.

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  He was hired "over time", working an "off-duty" shift, with a second Inspector, Humberto
  Garcia.


  Diaz said he arrived at about 10:00AM, two to three hours before the event started, and that he
  and Garcia were tasked with inspecting fire extinguishers to make sure they were not expired
  and to look for other potential hazards. He said they were going to inspect all vendors located
  between SW 17th and SW 22 Avenues participating in the event. He said they started
                                nd

  somewhere in the middle and moved east to conduct inspections.


  Diaz said that shortly after they began making their rounds, the inspectors were approached by
  two men. One of whom he subsequently identified as Steven Mir6, Carollo's Aide, and a
  second man, who identified himself as Mir6' s brother. He said Mir6 was wearing an orange
  polo shirt with the Commissioner's insignia on it, and described Miro as a Latin male, with a
  bald head, and approximately 5'7". Diaz said Mir6 told him he worked for Commissioner
  Carollo and that Carollo was concerned about one vendor in particular that was believed to be
  selling contaminated food and that lacked a license. He indicated Mir6 seemed anxious. "He
  kept on following us a little bit ... a little close to us", for approximately 20 minutes, while they
  conducted other inspections, inquiring and insisting they inspect the vendor, "He made it sound
  like they were definitely in violation, and would have to be shut down .. " Diaz said the vendor
  "Sanguich De Miami" was located at the western end of the event. He said that because of this,
   he contacted a police officer to assist, but that the officer said he had to remain in his assigned
   area. He said he was told to contact an officer on the western end.


  Diaz said that before they could make it to "Sanguich", he observed that Mir6 was on the phone
  and that Mir6 advised that the Commissioner wanted to speak to him.


   Carollo identified himself and "expressed his concern for the citizens" and told him about the
   spoiled food at "Sanguich" stating he had reason to believe the food had been brought in a day
   or two ago and being in the hot trailer might be contaminated. Carollo further advised that the
   vendor lacked proper licenses. He told Carollo that as Fire Inspectors, they don't inspect food or
   licenses, but that he would pass along the information. He said Carollo told him the City had
   "issues" in the past with the vendor in question and that he wanted the inspectors "to follow up"
   with the vendor.


   Diaz said that upon arriving at the container "Sanguich of Miami" where the food was being
   prepared, the vendor seemed "agitated," and that he had to calmly explain the purpose of their
   visit. He said that once he conducted the inspection of the kitchen area, he determined that
   "everything was brand new" and "everything had been inspected." He said that he did not
   observe any spoiled food. "Nothing smelled bad, nothing was rotten." The inspection was
   conducted in both the container and the tent. Approximately ten police officers congregated
   outside, as well as Mir6. He said the tent was located about 20' from the food prep container for
   "Sanguich De Miami."



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  Upon concluding the inspections he notified Mir6, the police officers, the "Sanguich" owners
  and the Gay 8 coordinator that they passed, as far as fire equipment was concerned. Diaz
  observed Mir6 on the phone with Betancourt (Special Events) trying to resolve the
  permit/lice nsing issue. Betancourt arrived a couple of hours later. As far as he recalls, the
  vendor was allowed to continue to participate in the event.


  With respect to the call from a sitting Commissio ner, Diaz said he felt that the call was
  "unusual" and caught him by surprise. He said he routinely gets tips from police officers,
  citizens and other city personnel if they have reason to believe there's a safety hazard, but that
  neither he nor any of the inspectors had ever received such a call from a Commissio ner.
  "Obviously the fact that it came from a phone call from a Commissio ner got my attention .. .I
  had a sense of urgency because of that."


  Daniel Sierra, Field Supervisor (South East Office)
  Miami Department of Code Compliance
  Supervisor Sierra responded to COE to provide a statement. Present were Investigato rs Olmo
  and Ross and Staff Attorney Perez. Sierra advised he has worked for the City of Miami for 16
  years, presently with Code Complianc e since 2008.


  He was asked about any interactions with elected officials in recent years. He advised that the
  only time he was contacted by an elected official was several months ago when he received a
  telephone call from Commissio ner Joe Carollo. Sierra indicated Carollo called him on his cell
  phone after 5 :00PM and stated he had been trying to call the Code Complianc e office but didn't
  get an answer. Carollo wanted an update on his complaints. Sierra told him he'd speak to his
  director and give him an update. He indicated that at the time Diez had been transferred and
  Alberto Parjus was the Interim Director. "He just called me about an update. He was very
  polite. "I wasn't directed to do anything."


   Sierra said that, to the best of his knowledge , Carollo made the complaints to Inspector Dennis
   Uriarte in early March during an impromptu "ride along" with the Commissio ner. Sierra
                                                                  rd
   indicated those complaints were made on Saturday, March 3 , and that he responded to the
                                                                                  11
   Commissio ner, through Director James Bernat in an email several days later. He said the
   complaint originated with Steve Mir6, who contacted Michelle Watt, the supervisor on duty that
   day, who in turn contacted Inspector Uriarte to meet Carollo.


   Sierra said he had no knowledge as to who owned the properties cited in his subsequent
   "update" email to Bernat. He subsequent ly learned some of the properties were owned by
   Fuller. He said it looked like there was some merit to some of the complaints from Carollo.


   Asked about any complaints relating to Ball & Chain, Sierra said that he had received a number
   of noise complaints , including a couple of recent ones, via email from Lorena Ortega. He said

  11 Email dated Tuesday, March 8, 2018, from Daniel Sierra to James Bernat, Re: Updates on complaints received from Commissioner Carollo.



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  Ortega lives across the street from the club in a building overlooking "Azucar. " He said she has
  complained about other business in the area, not just Ball & Chain. He said another resident
  Ruth, last name unknown, has also made noise complaints about Ball & Chain and inspectors
  have been dispatched on several occasions and found violations in some instances.


  Sierra said that it is the new director's policy to return to establishments cited for possible noise
  complaints every 45 minutes to verify whether they are in violation of the noise ordinance. He
  said that this has been done downtown and in other locations besides Little Havana.


  Sierra also said he remembered receiving calls from Miro complaining about possible violations
  at the "Sanguich" shop located in a shipping container.


  Dennis Uriarte, Inspecto r, Coconut Grove {South) Field Office
  Uriarte appeared at COE to provide a sworn statement. Investigators Olmo and Ross were
  present at the time of the statement.


  Uriarte started work with the City of Miami Code Compliance in January 6'h, 2016, assigned to
  the South District, Coconut Grove under supervisor Daniel Sierra. He indicated that complaints
  come in through 311 or constituents. When questioned about elected officials calling directly,
  he responded, "they know better." Duarte said that he has been assigned to the same district for
  the last 2½ years and noted that he has never received a call from his district Commissioner,
  Ken Russell. Duarte indicated that Russell has never contacted him directly about potential
  code violations and that complaints go to the Director.


   He noted his district does not include SW 8 Street and does not get involved with the rest of
                                                 th

   the district, but recalled his encounter with Carollo on or about March 3, 2018, in which the
   Commissioner engaged in a "ride along" with him, pointing out alleged code violations. He said
   he met with the Commissioner at the request of his supervisor, Michelle Watts. Duarte stated he
   was working the Saturday shift along with three other inspectors when he received the call from
   Watts.


   He was advised to meet the Commissioner at a small construction site on the 1600 block of SW
   8th Street because the Commissioner had a question and needed assistance. Upon his arrival
   Carollo told him he believed the construction lacked permits. He said he verified online with
   the City's iBuild website and determined the sight was "legit "and had permits. He also
   requested a copy of the construction site's plans and found they were proceeding legally.


   Uriarte thought that would be the extent of his interaction with the Commissioner, but Carollo
   then asked ifhe could ride with him in the City vehicle, in order to point out five sites, located
   elsewhere on SW 8th Street which he believed had code violations. He wanted Uriarte to
   "investigate," but he told him he wasn't responsible for that area and would pass the complaints
   to his supervisor, Danny Sierra. Uriarte indicated, "in my 2½ years, that was the first time, it's

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                                                                                                and
  been the only time" (referrin g to an elected official making the request to ride along
  investig ate) ... "It's not usual."

                                                                                                     res, "I
  As per the ride-along, he stated he didn't believe it is on the Standar d Operatio n Procedu
                                                                                                  to me."
  don't think it is part of our job ... it never happens ... this was a very unusual task given
                                                                               that he wanted  to ride with
  He continue d by stating, "probab ly the supervis or didn't even know
                                                                                                    ride-
  me." He thought Carollo only wanted to check out the initial site but later requeste d the
                                                                       sioner, "I had  to say yes" and
  along to check other sites. Duarte added that being a Commis
  didn't want to get in trouble for saying no to a Commis sioner.

                                                                                               down"
  He said some of the complai nts seemed to have some basis or merit. "He never said shut
                                                                                             during
  but wanted him to research possible violation s on the sites. Uriarte said that at no time
                                                                                      wasn't familiar
  the ride-alo ng did Carollo mention Bill Fuller or Ball & Chain and he stated he
  with Fuller and the first time he heard that name was during this interview.

                                                                                             's
  On Sunday, 03/04/18 , Uriarte stated he sent his supervis or an email regardin g Carolllo
                                                                                       him to Sierra
  concerns. Uriarte said he received a follow-up call from Carollo, but he referred
                                                                                             there
  for informa tion about any potentia l code violation s on those properti es. He confirm ed
                                                                             Director James  Bernat).
  were the properti es cited (March 8'1\ 2018 email from Daniel Sierra to


  Barbara Diaz and Casandra Salazar
  1520 SW 7th Street
                                                                                                ), who
  Investig ators Olmo and Ross spoke to Barbara Diaz (Diaz) and Casandr a Salazar (Salazar
  reside behind Ball and Chain. Diaz is one of the alleged complai nants about the noise
                                                                                           the
  emanati ng from Ball & Chain. Diaz indicate d she met Carollo when he showed up at
                                                                                             they
  building one night asking "how can the neighbo rs sleep with all the noise?" She stated
                                                             well the  criminal and   sexual activity,
  have also spoken to Lugo regardin g the noise problem as
  and recall Lugo reaching out to her introduc ing herself as Carollo 's "secreta ry."

                                                                                           activity in
  Salazar indicate d that she had also complai ned about the noise as well as the criminal
                                                                                           Nudity,
  the area. She said she was persona lly affected, as her apartme nt has been vandaliz ed.
                                                                                          across the
  public sex and drug activity is an ongoing occurrence, particula rly, in two building s
                                                                                             not
  street and a building next door to her apartme nt complex (the building s in question are
                                                                                             .
  owned by Fuller). She mention ed she fears for her safety and that of her young children

                                                                                               's
   Diaz mention ed Ball & Chain built a bandsta nd outdoors, directly behind their building
                                                                                                  sday
   parking lot. They contend ed that other neighbo rs also complai ned about the noise (Wedne
                                                                                      ent. As per  Diaz,
   through Saturday ), and the complai nts went unheede d until Carollo 's involvem
   the club built a wall alongsid e their back property, and since then, noise levels have been
   reduced .




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  Salazar and Diaz indicated that numerous neighbors have complained to Carollo's office about
  the ongoing criminal activity and inappropriate behavior including performing sexual acts in the
  open, nudity and discarding drug paraphernalia, including heroin needles, in the parking lot
  where neighbors are afraid to allow their children to play outside. Neighbors refer to them as
  "Puerto Rican drug addicts", "La Mana", and stated drug activity runs rampant in an
  uninhabitable, condemned building next door. Diaz stated she has lived in the neighborhood
  for approximately 30 years and the neighborhood has never been so unsafe, forcing some
  neighbors to move from the area.


  With regard to Fuller's property, Diaz conveyed that the owner of Ball & Chain had reached out
  to them, offering to meet with the neighbors, but she indicated, "there's nothing to talk about,"
  since the noise level has been reduced.


  Angela Roberts, Director, Human Resources, City of Miami
  Angela Roberts (Roberts) was contacted regarding the origin of the email dated March 8'1\ 2018
  from Sierra to Bernat and any possible connection to the drive-along two weeks prior.


  Roberts indicated she sent out the bulletin as per directive from City Manager Emilio Gonzalez
  (Gonzalez), 12 but was not aware of the ride-along in question.


  She indicated that prior to her sending the Official City Bulletin, Gonzalez sent out a High
  Importance email regarding communication with the City Administration Service, pursuant to
  Section 4(d) of the City Charter, and attaching the relevant portion of the section to the Mayor
  and City Commission requesting "that all communications to the City Administrative service be
  filtered through the Office of the City Manager and not directly submitted to department
  directors of other City staff."


  She recalled a similar bulletin sent out by former City Manager Daniel Alfonso, advising that
  direct communication by commissioners not going through the City Manager is a Charter
  violation. Roberts provided copies of the herein mentioned emails.



  On or about August 6'11, 2018, the COE Advocate, Michael Murawski, received via email a
  request by the Complainant to withdraw Complaint# C18-14-03. No additional statements were
  obtained pending the Ethics Commission ruling.




 12 Email dated 03/16/18 from Angela Roberts to "All City Employees" Pursuant to section 4{d) of the City Charter, the Manager respectfully

 requests that department heads and all city staff in the administrative service, refer al! communication from elected official or their
 respective staff to the Office of the City Manager ...



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E-mails:

  DATE            FROM                TO                                 DESCRIPTION
 03/08/18       Daniel Sierra    James Bernat          Updates on complaints received from Carollo
 04/25/18       Nilda Olmo       Martha Perez          Miro retaining Cunill
 05/21/18       Vivian Reyes     Nilda Olmo            Notice of Appearance on behalf of Parjus
 07/20/18       Alberto Parjus   Orlando Diez          District 3 violations

 07/26/18       Uriarte          Nilda Olmo            Carollo joint inspection-03/03/18
 07/30/18       Marv Lugo        Martha Perez          Notice of Appearance-Kendall Coffey
 07/31/18       Kendall Coffey   Martha                Reschedule Lugo's interview
                                 Perez/Michael
                                 Murawski
 08/02/18       Angela Roberts   Nilda Olmo            Communication with the City Administrative
                                                       Service
 08/06/18       Alex Orlofsky    Michael Murawski
                                                       Withdrawal of Complaint

Documents/Video Review:

            ► Any and all documents provided by the City, pertaining to the
                 complainant/respondents, as per the COE PRR, were reviewed by COE staff.
            ►     Email dated 03/08/18 from Daniel Sierra to James Bernat re: Updates on complaints
                 received from Commissioner Carollo.
            ►    Official City Bulletin dated 03/16/18, from Department of Human Resources Director
                 Angela Roberts to all City employees.
            ►    Documents provided by Complainant:
                    I. Photographs: Pre-election, Alfredo "Alfie"Leon rally
                    2. Photographs: Park & Walk
                    3. Video clip: Park & Walk
                   4. Video clip: Gay 8 Festival-Sanguich de Miami
            ►    Documents provided by Respondent Carollo:
                    1. E-mail dated 04/17/18 from Jose Dacal, FDOT
                    2. Sunbiz.org, Division of Corporations-DRH Entertainment, LLC (SideBar
                       Miami)
            ►    Documents provided by Vivian Reyes
                    1. Miami Herald, 07/05/17, Downtown tower dwellers to Miami dance clubs: Tum
                       down the noise!
                   2. Miami Herald, 07/18/17, Downtown nightclub owners want citations for loud
                       music dismissed.
                   3. City of Miami Charter and Code, Noise Ordinance, Chapter 36

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          ► Photographs provided by Diez
          ► Documents provided by Escandon:
               1. S.H. Valet Service
          ► Documents provided by Uriarte regarding "drive-along" with Carollo
          ► Documents provided by Amay Garcia.
              1. CCSG Letter dated 03/12/18 re: Ball & Chain valet surcharge
              2. CCSG Letter dated 04/04/18 re: Surcharge payment plan
              3. City of Miami Parking Surcharge Assessment, S.H.Valet




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                           SWORN STATEMENT OF STEVE MIRO

                                   AUGUST 3, 2018
                                2:30 P.M. TO 3:32 P.M

                                 BARLINGTON GROUP
                             1637 SOUTHWEST 8TH STREET
                                     SUITE 200
                               MIAMI, FLORIDA 33135




         REPORTED BY:
         YENLY CALVO, COURT REPORTER
         NOTARY PUBLIC, STATE OF FLORIDA



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        1                       APPEARANCES OF COUNSEL

        2

        3   ALEXANDER S. ORLOFSKY, ESQUIRE
            ORLOFSKY LAW FIRM, P.L
        4   767 ARTHUR GODFREY ROAD
            MIAMI, FLORIDA, 33140
        5   (305) 538-234
            alex@orlofskylwfirm.com
        6

        7   ALSO PRESENT:

        8   WILLIAM O. FULLER

        9   MICHEAL MICHETTI

       10   OSCAR MUSIBAY

       11   ANDREW MAXFIELD

       12

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       14

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        4        Alexander S. Orlofsky, Esquire                              5

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        1                   SWORN STATEMENT OF STEVE MIRO

        2                            AUGUST 3, 2018

        3   Thereupon:

        4                             STEVE MIRO,

        5   was called as a witness, and after having been first

        6   duly sworn, testified as follows:

        7               THE WITNESS:    I do.

        8                            DIRECT EXAMINATION

        9   BY MR FULLER AND MR. ORLOFSKY, ESQUIRE:

       10               THE COURT REPORTER:      If everyone could please

       11         announce themselves on the record.

       12               MR: FULLER:    Bill Fuller.

       13               MR. ORLOFSKY:    Alexander Orlofsky.

       14               MR. MICHETTI:    Michael Michetti.

       15               MR. MAXFIELD:    Andrew Maxfield.

       16               MR. MUSIBAY:    Oscar Musibay.

       17               THE COURT REPORTER:      Thank you.

       18         Q     (Mr. Orlofsky)     And good afternoon Mr. Miro,

       19   as I explained earlier, you're here today to give a

       20   sworn statement.     This statement is being recorded and

       21   you have chosen to not -- to be here without an

       22   attorney, is that correct?

       23         A     Yes.

       24         Q     As you can see she's also recording everything

       25   we say, so it's very important that when you answer a



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        1   question you give a verbal response.         Even though it is

        2   recorded, I want the record to reflect the yes or no and

        3   not a -- a nod.      And we're not in a deposition here so

        4   anyone can ask questions.       So let me start with the

        5   beginning; why don't you give us a little bit of

        6   background as to why you're here today?

        7         A     I got called in and I don't have nothing to

        8   hide.

        9         Q     Oh.    So briefly before we got started you

       10   mentioned you had filed two state ethics complaints.

       11         A     Right.

       12         Q     Would you mind describing them to me?

       13         A     Not right now, they are being investigated by

       14   the -- by the State.

       15         Q     What is the basis of the two complaints that

       16   you filed?

       17         A     One is regarding my case and the other one is

       18   the targeting of businesses.

       19         Q     Tell me what you know about the targeting of

       20   businesses by Commissioner Carollo?

       21         A     Can you go a little more?

       22         Q     Do you have any firsthand knowledge of

       23   Commissioner Carollo targeting any specific businesses?

       24         A     Yes.

       25         Q     Tell me what you know.



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        1         A     I mean, it's -- it goes into a lot you know.

        2         Q     Start at the beginning.

        3         A     When he took office?

        4         Q     Yes.

        5         A     When he took office, you know, he went after

        6   Mr. Fuller, obviously.      You know, he -- he does have a

        7   spreadsheet; I don't know who did it for him, it wasn't

        8   me that's for sure, of all the businesses he has in the

        9   district.    He's gone with --

       10         Q     (By Mr. Fuller)     Business or properties?

       11         A     Properties.

       12         Q     (By Mr. Fuller)     Okay, properties.

       13         A     Properties; all your properties.

       14         Q     (By Mr. Fuller)     But everybody's property or

       15   like specific list?

       16         A     Yours.

       17         Q     (By Mr. Fuller)     Okay.

       18         A     What -- Whatever --

       19         Q     (By Mr. Fuller)     Does it have a name?

       20         A     -- company known --

       21         Q     (By Mr. Fuller)     Does it have a name?

       22         A     There are no names and I know that -- that he

       23   has it.    I know that -

       24         Q     (By Mr. Fuller)     But do they ever get like a

       25   certain -- Like where they referred to as like something



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        1   or there's a list?

        2         A     They're -- they're -- they're, I guess, they

        3   are through the property appraisal website.

        4         Q     (By Mr. Fuller)     Okay.

        5         A     So he does have that list.       I don't -- So --

        6         Q     (By Mr. Fuller)     And how was it -- So the --

        7   How did -- Would he use the list?        How was it --     How

        8   was it -

        9         A     Well, when he went with -- excursions with the

       10   mayor, the city manager, the deputy city manager, code

       11   enforcement --

       12         Q     (By Mr. Fuller)     Mhmm.

       13         A     -- director, he showed them all the

       14   properties, you know.

       15         Q     (By Mr. Fuller)     Mhmm.

       16         A     We walked up and down 8th Street all the way

       17   to 6th Avenue; believe it or not.        We turned back around

       18   you know, and walked back the other way showing the

       19   business that have violations and obviously, they were

       20   your businesses.

       21         Q     (By Mr. Fuller)     Mhmm.

       22         A     Martin was in -- walked with us not -- not

       23   that long, maybe about 45 minutes.         I was mainly talking

       24   to him --

       25         Q     (By Mr. Fuller)     Correct.



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         1         A     -- I don't know if he ever spoke to you about

         2   it.

         3         Q     (By Mr. Fuller)     Yeah, he did.

         4         A     I tried to get him a meeting but obviously, I

         5   told him, "Man, I could only try."

         6         Q     (By Mr. Fuller)     Right.

         7         A     "It might not happen but I'll try, obviously,"

         8   and--

         9         Q     (By Mr. Fuller)     Mhmm.

       10          A     -- it didn't occur.

       11          Q     (By Mr. Orlofsky)     When did you first have one

       12    of these walkthrough up and down 8th street?

       13          A     I'm going to say after the entire court ordeal

       14    with him was over, so I'd say maybe end of January,

       15    February.

       16          Q     (By Mr. Orlofsky) So the end of January.

       17          A     Now, I wasn't with him for the deputy city

       18    manager one nor the city manager one; I was with him for

       19    the code enforcement and the mayor.

       20          Q     (By Mr. Fuller)     Right, I saw you guys on the

       21    -- on the code enforcement one.

       22          A     Yeah.

       23          Q     (By Mr. Orlofsky) And before you had this

       24    walkthrough did you have any conversations specifically

       25    with Commissioner Carollo about --



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         1         A     Before him?

         2         Q     (By Mr. Orlofsky) Before the walkthrough.

         3         A     No, no; I didn't even know what it happening.

         4   He was calling me, "Hey, meet me here at the pub -- by

         5   the pub," and I got down and that's when everyone came

         6   together.

         7         Q     (By Mr. Orlofsky) Do you know if after that

         8   walk-through the City of Miami had memorialized that --

         9   that walkthrough?     Like do you know of any documentation

       10    that would have been created by the city?

       11          A     It might be e-mails but I -- I don't know.

       12          Q     (By Mr. Fuller)     Why would he target us?       Why

       13    would he target us?      Like -- Like myself, my partners,

       14    my business; like what -- what was the impulse behind

       15    that?

       16          A     Well, he could probably get a radio because he

       17    said it on the radio on Marta Flores Station.

       18                `THE COURT REPORTER:      I'm sorry, can you

       19          repeat that?

       20                `THE WITNESS:    Marta Flores, and on TV.        Now,

       21          I don't -- I don't watch Spanish news so I don't

       22          know where.    But I know he's put it out there a

       23          couple of times on the record and he's put it also

       24          off the record on the City Dias that there is

       25          businesses being influenced by Venezuelan dirty



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         1         money.   And that's what he thinks that -- where

         2         your money comes from.      And he says the one -- the

         3         one that sells chocolate and guayaba here is part

         4         of the Venezuelan communist government.          So he's

         5         really fixated on that; I mean, it's not just you

         6         alone, he has a friend of mine that he's targeting

         7         also.

         8         Q     (By Mr. Fuller)     But is that -- Was that

         9   always his impetus?      Was that always even the idea

       10    behind like -

       11          A     Well, it -- it's that combination obviously,

       12    you went against him in the commissionaires by donations

       13    to -- giving him building and what have you.           And --

       14          Q     (By Mr. Fuller)     But didn't a lot of people do

       15    that as well?

       16          A     Yeah, yeah they did.

       17          Q     (By Mr. Fuller)     But do you think he was

       18    targeting other people as well?

       19          A     I don't know if --

       20          Q     (By Mr. Fuller)     For political -- For

       21    political reasons?

       22          A     He has or mainly them -- they're lobbyists so

       23    they don't have to go to him specific for the vote or to

       24    count to three.     But you're obviously in the heart of

       25    the district that he quote-unquote, cares so much about.



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         1         Q     (By Mr. Fuller)     What -- What do you know

         2   about the lady behind Ball and Chain that -- that we saw

         3   you guys meet with; the blonde neighbor you and Mary

         4   Lugo that day you did the walk-along?

         5         A     Oh, yeah.    While doing that walk-along she was

         6   like, "Oh, I want to show you to some neighbors."            Well,

         7   those neighbors we started knocking on the doors and

         8   they were saying how bad the music was, that they hear

         9   it or what have you.      But initially, I -- I did a

       10    records request on that and they never made any

       11    complaints.    My falling out with Joe started when you

       12    filed the ethics complaint because I'm not going to lie

       13    about it.    And he tried to coarse me into staying which

       14    I've told the ethics already that, you know, we got --

       15    You know, this is all pie in the sky; it's bullshit.

       16    And I said, "Well, some of it is, I mean, at least for

       17    me because you know I'm under the directive of you."

       18    And I told him, "Look, I've retained an attorney for

       19    this and we can't really be talking about it."           And then

       20    he's like, "Oh, you did?" You know, he got a little

       21    upset there and -- and then he said, "Well, you know, we

       22    got anonymous complaints for this."         And I'm like, "Joe,

       23    I'm going to say the truth." You know?         And he's like,

       24    "What's the truth?"      And I'm like, "Whatever they ask

       25    me.   I don't know what they're going to ask me but I'm



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         1   going to say the truth."

         2          Q    (By Mr. Fuller)     Correct.

         3          A    That's it, and that's when it started

         4   deteriorating.

         5          Q    (By Mr. Fuller)     And did he ever express

         6   anything to you about the ethics complaint other than

         7   that; did he ever bring it up again?

         8          A    Only once; maybe once but he did it with me.

         9          Q    (By Mr. Fuller)     We're you guys -- Can you

       10    explain the night that you guys went out the lot, the

       11    valet lot; how that happened?        Like what time that was

       12    at, how -- how the events -- those events took place?

       13           A    That was like at night, yeah.

       14           Q    (By Mr. Fuller)     And how did that happen?       Who

       15    -- Who was in the car that day?

       16           A    It was me and my wife, Mary Lugo and -- and

       17    Joe.

       18           Q    (By Mr. Fuller)     And -- And can you just

       19    explain like how that night went down from your side?

       20           A    Well, I had dinner with my wife and Joe called

       21    me, "Hey, meet me at the pub," it's like -- it's like

       22    nine o'clock or so.      I was with my wife, you know, so we

       23    go and then he's like -- We had a coffee while we spoke

       24    and then Mary Lugo showed up, we got in his car; he was

       25    driving and, you know, we started driving around just



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         1   this area various times and my wife kept saying, "You

         2   know, I got to go," she worked the next morning.           And

         3   that's what transpired.

         4         Q     (By Mr. Fuller)     Well, what happened

         5   specifically on that lot?       Like --

         6         A     No, he had it with that lot that it was in a -

         7   - it wasn't paved, there wasn't a sewer, there wasn't

         8   proper lighting so it's not a parking lot.          He's had

         9   various conversations and I know he pretty much

       10    interrogated Norieaga for that.

       11          Q     (By Mr. Fuller)     What did he --

       12          A     You might want to talk to Norieaga.

       13          Q     (By Mr. Fuller)     What did he --

       14          A     I mean, I was in that meeting also with

       15    Noreaga but --

       16          Q     (By Mr. Fuller)     So he -- So was that

       17    meeting--

       18          A     He started asking questions --

       19          Q     (By Mr. Fuller)     Was that before --

       20          A     -- what's the process to get parking lot

       21    approval --

       22          Q     (By Mr. Fuller)     Was that before or after that

       23    -- that parking lot?

       24          A     That was --

       25          Q     (By Mr. Fuller)     -- that night.



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         1         A     -- after.

         2         Q     (By Mr. Fuller)     After that night?

         3         A     Yeah, after that night and you know, Norieaga

         4   started saying, "This is a process through the city,"

         5   and -- and so forth.

         6         Q     (By Mr. Fuller)     Mhmm.   And so what happened

         7   that night after he -- So he went over there; what was

         8   the objective to go there?       What was the objective that

         9   night to show up on that lot?

       10          A     I don't know, to take pictures and videos?

       11          Q     (By Mr. Fuller)     Mhmm, and did he?

       12          A     Like -- Yeah.

       13          Q     (By Mr. Fuller)     He took pictures and videos?

       14          A     I don't know if he did but I know that -- that

       15    there is.

       16          Q     (By Mr. Fuller)     And what is Mary Lugo to the

       17    equation?    How -- What does -- What does -- What's the

       18    scope and scale of the Mary Lugo relationship?

       19          A     Well, she's -- She works for the union, so she

       20    does have -- Joe believes hardcore in access to

       21    everything.    So she gets access to everything in the

       22    city because she's a union employee.         Well, she works

       23    for the union; so she's the --

       24          Q     (By Mr. Fuller)     You mean access for like

       25    public files --



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         1         A     For anything, yeah.

         2         Q     (By Mr. Fuller)     So she -- she has access --

         3               THE COURT REPORTER:      One at a time.

         4               MR. FULLER:    I'm sorry.

         5               THE COURT REPORTER:      That's okay.

         6         Q     (By Mr. Fuller)     She has access to everything?

         7         A     She gets everything quick, yes and she gives

         8   it to him.    And at times she gets one of those booklets

         9   within hours, you know, and again hands it to him.

       10          Q     (By Mr. Fuller)     And how does she have access

       11    -- How does a union employee have access to that?            What

       12    -- It's just because she --

       13          A     Because she goes to the city, you know to City

       14    Hall.

       15          Q     (By Mr. Fuller)     She has the right --

       16          A     I mean, not City Hall, the MRC Building.

       17          Q     (By Mr. Fuller)     She has the right to request

       18    that stuff or --

       19          A     Well --

       20          Q     (By Mr. Fuller)     -- she just has

       21    relationships?

       22          A     I have no idea how she gets it but she does

       23    get it.

       24          Q     (By Mr. Fuller)     All right.

       25          A     Either, through friendship, you know.         She



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         1   does work for the employers in their -- in their

         2   bargaining unit.

         3         Q     (By Mr. Fuller)     Do you know anything about

         4   Mary Lugo's involvement with my Christmas party at the

         5   Tower Hotel?

         6         A     That I -- I didn't even know about it.         They

         7   kept talking and I never put two and two together until

         8   obviously, recently -- Not recently but until I got it.

         9   I'm like, "This is what they were," I had no knowledge

       10    of that whatsoever.

       11          Q     (By Mr. Fuller)     Are you -- Are you aware of

       12    anything that was ever discussed with the idea of Mary

       13    Lugo being compensated for a like -- a type of like

       14    position or some type of like --

       15          A     Well, now is on the Bayfront Park Board.

       16          Q     (By Mr. Fuller)     Was there ever like you

       17    scratch my back, I scratch your back?         Was there ever

       18    like an understanding of how she was like -- You know,

       19    if she did -- If you do my -- my special work I'm going

       20    to -- I'm going to reward you with - with this --

       21          A     Well, just what he said, that he was going to,

       22    which he hasn't; I don't know why he was going all out

       23    on her that she -- he was going to put their contract --

       24    The first thing he was going to do -- Well, obviously,

       25    there's a lot of the first thing he was going to do that



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         1   he was going to put their contract on the commission

         2   agenda so that he could renegotiate their contract.

         3         Q     (By Mr. Fuller)     Mhmm.   Is there -- Is Joe

         4   Carollo -- Is he a good business guy?

         5         A     No.

         6         Q     (By Mr. Fuller)     Does he have money like you

         7   think he's like a guy that has wealth?

         8         A     Well, yes, now he does.

         9         Q     (By Mr. Fuller)     How is that?

       10          A     He's Coconut Grove house is no longer in the

       11    Homestead Exemption.      So he does have about $2 million

       12    there in assets.

       13          Q     (By Mr. Fuller)     Mhmm.   And do you -- Does he

       14    have any like holdings or business interests or

       15    relationships like in Little Havana or Calle Ocho that

       16    you're aware of?

       17          A     Trick -- That's a tricky question and I'll

       18    tell you why; because he wanted to eliminate the Bienes

       19    Culturales.    So he had his attorney, Ben Kirney

       20    (phonetic) open up another corporation of the Que Pasa

       21    Little Havana I believe.       You got to check Sunbiz for

       22    that, that's what I believe it's called.          And he --

       23    Well, he came on the news --

       24          Q     Yeah.

       25          A     -- on Univision --



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         1         Q     (By Mr. Fuller)     I never heard of it.

         2         A     -- and so forth.     So he made a board of all

         3   women, that's when he won, to take advantage of Bienes

         4   Culturales.    And the initial thing was, you know, he was

         5   going to -- through his office budget he was going to

         6   donate money to that and then get, obviously, once Alex

         7   was going to be like the County Commissioner there was

         8   going to be a -- an influx of cash in there through the

         9   County Commissioner budget into that fund which is going

       10    to be enough for profit.       I don't know what they've done

       11    with that, a board or -- or what have you but I don't

       12    even know if it exists or not but I know it's still.

       13          Q     (By Mr. Fuller)     But why would he want to

       14    create that?      What would be the reason?

       15          A     To take -- take over Bienes Culturales.

       16          Q     (By Mr. Fuller)     Why?

       17          A     From you.

       18          Q     (By Mr. Fuller)     Just because it's mine?

       19          A     Just because it's you.

       20          Q     (By Mr. Fuller)     Yeah.   But is there anything

       21    like -- Does he have like aspirations to own real

       22    estate, to run a mojito business, to -- to, you know,

       23    sell Cuban coffee, like does he -- is he -- does he have

       24    any business interest --

       25          A     No.



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         1         Q     (By Mr. Fuller)     Does he have any campaign

         2   funders that have significant interest on Calle Ocho;

         3   anybody that you think would be meaningful enough to

         4   influence or persuade his decision making?

         5         A     Well, the Valves (phonetic); the Valves

         6   family.

         7         Q     (By Mr. Fuller)     Why do you think the Valves?

         8         A     I -- I don't know.     He's funder's mainly, you

         9   know, the -- his funders really, Manolo Reposo

       10    (phonetic) you know, donates a lot --

       11          Q     Manolo Reposo Who's that?

       12          A     He's a business partner of Felipe, he was a

       13    former commissioner, they're very good friends.

       14          Q     (By Mr. Fuller)     And what -- Is there anything

       15    other than like political or friendship that you could

       16    think about that would be -- that they would have an

       17    interest in --

       18          A     No, I just know that he kept always mentioning

       19    though what is it, the 100-pound gorilla statement, he's

       20    going to bring them on boards so they could, you know,

       21    come and concur Little Havana.

       22          Q     (By Mr. Fuller) Who's the 100-pound gorilla?

       23          A     Them.

       24          Q     (By Mr. Fuller)     The Valves family?

       25          A     The Valves family.



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         1         Q     (By Mr. Fuller)     So you -- You think that he

         2   is -- Do you think that -- So when you say he -- I want

         3   to explore this more.      So he referred to the Valves as

         4   the 100-pound gorilla.      Do you think that he's overall

         5   interest is acting on their behalf for their benefit?

         6   Like do think that if you were to destroy like Ball and

         7   Chain, for example, it could be a -- Like, do you think

         8   that Ball and Chain is somehow competition to the

         9   Valves?

       10          A     My opinion, no.     I don't think -- I don't

       11    see --

       12          Q     (By Mr. Fuller) But do you think that Carollo

       13    might think that?

       14          A     I can't put myself in that guy's mind.

       15          Q     (By Mr. Fuller) But what were the -- Let's go

       16    back to the 100-pound gorilla thing; what does that

       17    actually mean?      Like did you think that --

       18          A     I never understood it, you know.

       19          Q     (By Mr. Fuller) Well, did he -- Explain how he

       20    would have used it in context, like --

       21          A     He said, "Oh, these people think they have

       22    money?    I'm going to bring the 100 pound gorilla here."

       23          Q     (By Mr. Fuller) To the street?

       24          A     Yeah.    "And they have influence and they think

       25    they can do what they want."       Again, it's -- it's been



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         1   put multiple times on the record.

         2         Q     (By Mr. Fuller) Of course, yeah.        I mean, it's

         3   amazing what he says on the air.        What about other

         4   relationships like Brickle Motors and stuff like that?

         5         A     Mario Murgado (phonetic)?       I don't -- You

         6   know, Mario I think he -- He has mentioned it but I

         7   don't think Mario, he just cared about his dealership.

         8         Q     (By Mr. Fuller) Got it.

         9         A     Mario I don't think he wants to open up a

       10    mojito shop or, you know, any of that, that's --

       11          Q     (By Mr. Fuller) But -- But did -- But was he a

       12    campaign -- Did he --

       13          A     Yes.

       14          Q     (By Mr. Fuller) -- support the campaign --

       15          A     Yeah, he did.

       16          Q     (By Mr. Fuller) -- in a big way?

       17          A     Yeah.

       18          Q     (By Mr. Fuller) Yeah.      But nothing ever came

       19    up with regards to, you know, -- You never heard

       20    anything about --

       21          A     He's had conversations with him but, you know,

       22    I don't think Mario is really interested in -- in -- in

       23    going outside what he knows, you know, it's just --

       24          Q     (By Mr. Fuller) No, I'm not -- I'm not

       25    suggesting that -- that the coffee -- like Mario Murgado



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         1   wants to open a Cuban bar; that's not what I'm saying.

         2   But Mario Murgado wants to sell cars and he is on Calle

         3   Ocho, and we -- I have had personal issues Mario Murgado

         4   about the vision of Calle Ocho.        And therefore, I have

         5   often times thought, maybe it's incorrect, that Mario

         6   might have had influence in him in creating problems

         7   because I want more Cuban culture and Mario wants to

         8   sell more cars.     So, I know Mario is -- I consider Mario

         9   a 100 pound gorilla equal to the Valves in those

       10    statements. And so I -- I'm just exploring all possible

       11    angles.   So you -- Do you think that there is any

       12    involvement in --

       13          A     Well, he has mentioned him as a part of it but

       14    I don't -- I don't see Mario even playing it.

       15          Q     (By Mr. Fuller) Right.      What happened the day

       16    of the walkthrough; like what was the intent?           Like I

       17    mean, we videoed the whole thing, we photographed the

       18    whole thing, like it's -- it looked very specifically

       19    that you guys happened to like other properties more

       20    than other properties.

       21          A     Yeah.

       22          Q     (By Mr. Fuller) Who was there, how were they

       23    called, why were there?        Like what --

       24          A     Again, everybody knows -- I didn't even know I

       25    was going there to do that walk-through.          Luckily, I had



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         1   my sneakers on that day but I didn't know I was going to

         2   be put in that predicament myself also.          I mean, I was

         3   just mainly targeting Martin, you know because Joe

         4   didn't want anything to do with Martin.          He started

         5   talking to me and I started talking to Martin the entire

         6   time -- Not the entire time, the majority of the time.

         7         Q     (By Mr. Fuller) Right.

         8         A     The code enforcement officer was taking notes.

         9   I mean, I didn't take any notes because I'm not a code

       10    enforcement officer, so I was just along for the ride,

       11    you know.    I mean, when your boss says be here, you be

       12    here -- you be there.

       13          Q     (By Mr. Fuller) What's up with the state

       14    attorney investigation?

       15          A     No idea.

       16          Q     (By Mr. Fuller) What happened?        You met with

       17    them, you gave them a statement?

       18          A     Right.

       19          Q     (By Mr. Fuller) Have they ever called you

       20    back?

       21          A     We've been in contact but obviously, after the

       22    campaign ended, no more contact.        We've spoken a couple

       23    of times but --

       24          Q     (By Mr. Fuller) Did they --

       25          A     -- it's a pending investigation, I don't want



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         1   to get into that.

         2         Q     (By Mr. Fuller) Did they pick up -- Do you

         3   think they're going to pick up the case?

         4         A     I hope so.    I mean, I gave them more

         5   ammunition on what they needed, hopefully, they so

         6   something.

         7               MR. FULLER:    You have some questions?

         8               MR. ORLOFSKY:    I do.

         9         Q     (By Mr. Orlofsky) After the walkthrough did

       10    Commissioner Carollo ever tell you to do anything

       11    regarding Mr. Fuller's properties?

       12          A     What do you mean anything?

       13          Q     (By Mr. Orlofsky) Did he ever tell you to

       14    follow up with code enforcement afterward; follow up

       15    with the parking department --

       16          A     I sent -- I sent out an e-mail once, yes.

       17          Q     (By Mr. Orlofsky) And what -- To the best of

       18    your knowledge what did the e-mail request?

       19          A     It -- It was nothing harsh it was just saying

       20    which properties are -- are under whatever valet

       21    company, I believe.      And I got an e-mail right away, I

       22    think it's two or three lots or what have you, and I

       23    just gave them to Carollo.       I mean, I never did any

       24    really follow through with code enforcement whatsoever.

       25          Q     (By Mr. Fuller) Did you ever think like in all



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         1   interactions that you were having and all this stuff,

         2   like did you ever say to yourself, "Man, I'm actually

         3   being utilized to target these people?"          Like, "I'm

         4   actually, like this might not be good or any of that?"

         5   Like did that ever cross your mind?

         6         A     Of course.

         7         Q     (By Mr. Fuller) And so did you ever confront

         8   that with him?     Did you ever say to him --

         9         A     I confronted Joe all the time, that's why --

       10          Q     (By Mr. Fuller) And what did he say?         What was

       11    his -- What was his M.O?

       12          A     He -- He was just -- You know, every time I --

       13    I spoke to him harshly like because, during the campaign

       14    that -- that's what I was, yeah, you know, he was just

       15    taking it back.     I guess he thought now that he was

       16    commissioner he was, you know something else, you know.

       17    But I guess he didn't like majority of my tone.           But he

       18    never gave me an answer, you know.         He just said, "Look,

       19    Steven, this is what I'm doing."

       20          Q     (By Mr. Fuller) Well, just specifically, to

       21    like, "Hey, why are you targeting these guys?" or like,

       22    "Why are you doing this?"       Like --    Would you -- Would

       23    you ever be like, "We shouldn't do that?"

       24          A     Well, you know, I -- I've always tried to

       25    divert to stuff in the -- in the district, you know.



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         1   Let's do the enhancements we said we were going to do,

         2   the housing authority; I always tried to bring that back

         3   and try to put it on the agenda.        I was only able to put

         4   it once on the agenda, after that it was, you know,

         5   nothing else, it was, no more working for the people, we

         6   were just you know.      One day it was you, the next day it

         7   was the mayor, the next day it was city manager; we were

         8   just, you know, it was the flavor of the week.           We were

         9   going back and then there was just to go in circles from

       10    me coming back to you, coming back to -- Now we're going

       11    after the mayor.

       12          Q     (By Mr. Fuller) What is his -- What is his

       13    reason behind this neighborhood and why he wants to shut

       14    down the businesses?      Like what -- What -- Like my

       15    business and the -- like what is, at the end of the day,

       16    what is his gain, what is his benefit from it?

       17          A     I don't see no benefit, you know.

       18          Q     (By Mr. Fuller) But is that something --

       19          A     That --

       20          Q     (By Mr. Fuller) -- is that just like a --

       21          A     -- That gives him a fiscal impact in the

       22    city --

       23          Q     (By Mr. Michetti) Is it an ego thing?         I mean,

       24    I -- I -- I've seen his videos.

       25          A     It might be an ego thing if you're right.



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         1         Q     (By Mr. Fuller) But what is the ego --

         2         A     Okay.   Look --

         3         Q     (By Mr. Fuller) How does that boost or enhance

         4   his ego?

         5         A     You know, I know -- Look, my -- my godfather

         6   is a magistrate.     I mean, he helped you the last time

         7   which was August 5th day I was -- I was terminated 4th

         8   of June. The 5th it was code enforcement hearing that

         9   Joe showed up to that hearing.        My godfather was the

       10    magistrate in that hearing.

       11          Q     (By Mr. Fuller) No way.

       12          A     Yes.

       13          Q     (By Mr. Fuller) Wow.

       14          A     And he gave you guys a 30-day extension.

       15          Q     (By Mr. Fuller) Right, we heard that in the

       16    audio tape.

       17          A     He saw -- He saw Carollo walk in and you know,

       18    he saw Carollo sitting next to the two people and he

       19    didn't think much of it, you know.         After he rendered

       20    his decision, Joe Carollo, he's like, "Commissioner

       21    Carollo," out of respect he brought him up, "is there

       22    anything you want to say or?"        And he's like, "Yeah,

       23    absolutely, I came here to take about that case."            But

       24    the case was already closed.

       25          Q     (By Mr. Fuller) Right.



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         1         A     And he wanted to reopen the case and --

         2         Q     (By Mr. Fuller) Right.

         3         A     -- my godfather, obviously, ethic -- ethically

         4   he can't do that.     He did it to it and now with Joe

         5   Carollo got rid of all magistrates.

         6         Q     (By Mr. Fuller) Correct.

         7         A     --in the city.

         8         Q     (By Mr. Fuller) Unbelievable.        Was that

         9   something -- He -- He's maintained that that's something

       10    he was working on for a long time previously.           Is that

       11    true or not?

       12          A     Never heard of that.

       13          Q     (By Mr. Fuller) Do you -- Were you aware that

       14    after he got his tail between his legs, an opinion

       15    that's what happened, that he started a campaign

       16    overnight to get that legislation written?

       17          A     Yeah, I mean, that's the first I heard of it,

       18    you know.    And then the other magistrates --

       19          Q     (By Mr. Fuller) Because the next morning by

       20    10:30 --

       21          A     It's such a minimal impact on the budget and

       22    what they do is so well.       I mean, I think, you know, and

       23    when I saw my godfather on Sunday and he told me he gets

       24    paid three grand a year, you know.

       25          Q     (By Mr. Fuller) Right.



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         1          A    For that's -- You know, it's not a money

         2   maker.

         3          Q    (By Mr. Fuller) Did you -- What about the

         4   marketplace?    Like was there anything specifically that

         5   ever came up with the marketplace or working at the shop

         6   with the containers and all that stuff?

         7          A    Yeah, there -- there's -- He's been going

         8   after that for a while.

         9          Q    (By Mr. Fuller) But what was his -- What was

       10    his?

       11           A    I have -- I have no idea.       I wasn't --

       12           Q    (By Mr. Fuller) Was there anybody else that he

       13    speaks to that like -- is like closer -- was closer to

       14    his inner circle -- was there -- Is somebody that he

       15    strategizes with and -- and speak --

       16           A    Yeah, Portilla gives him -- is like the fuel

       17    to his fire.

       18           Q    (By Mr. Fuller) He -- He's in the office a

       19    lot?

       20           A    I don't know if he's in the office after the

       21    whole ordeal that occurred but in the beginning --

       22           Q    (By Mr. Fuller) Oh, okay.       But I'm -- But I'm

       23    saying like in consultation or what not --

       24           A    You know, yeah, they -- they used to have

       25    outside meetings a lot here in the pub.          CJ is another -



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         1   - which is junior.

         2         Q     (By Mr. Fuller) What about Sornof (phonetic)?

         3         A     Sornof is yeah, one of his money guys and also

         4   has his ear.

         5         Q     (By Mr. Fuller) Who else is a money guy?

         6         A     That's -- I mean, besides Sornof, the Valves--

         7         Q     (By Mr. Fuller) So you're -- You keep

         8   mentioning the Valves; were the Valves close to Carollo?

         9         A     No, not -- not really Manolo is the one that -

       10    - that has the direct access to him.

       11          Q     (By Mr. Fuller) Because I have a relationship

       12    with the Valves and I -- I think they've -- Honestly I

       13    believe that they're --

       14          A     They're more of in their own business.

       15          Q     (By Mr. Fuller) They've always been very

       16    straight up people.

       17          A     Yeah, they know --

       18          Q     (By Mr. Fuller) I think that they give to a

       19    lot of people.     But I honestly, I've even talked about

       20    partnering with them on certain things; I just don't see

       21    the Valves.

       22          A     I -- I don't either but I do have to mention

       23    them because that's who Joe has close to ties to, you

       24    know.

       25          Q     (By Mr. Fuller) Got it.



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         1          A    Like the -- the day that I was terminated, the

         2   next day, I was over there, not in the third floor where

         3   they were at but I have a buddy that has an office in

         4   the second floor.     And I was in his office all day

         5   there, you know, trying to put together some -- some

         6   stuff and Carollo was there.       It just so happens, that

         7   he was in the same building on the third floor with the

         8   Valves all day. You know, that was really trying to

         9   raise money for him, for his -- for his pack, for his

       10    ECO.

       11           Q    (By Mr. Fuller) What his pack?

       12           A    Miami First.

       13           Q    (By Mr. Fuller) An what is that?

       14           A    The pack; his ECO.

       15           Q    (By Mr. Fuller) What does he use that for?

       16           A    Well, so far which is an ethics violations

       17    also, he's paid his attorney Ben Kirney, out of that.

       18           Q    (By Mr. Fuller) His attorney gets paid out of

       19    his pack?

       20           A    Yes and -- I mean, he could use the ECO for

       21    almost, you know, anything but he can't pay attorneys

       22    from that.    But that's pretty much the expenses that

       23    have occurred, you know, expenditures, that's just been

       24    Ben Kirney.

       25           Q    (By Mr. Fuller) What -- If -- If there is



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         1   evidence that you think -- Do you have any information

         2   that you think could remove him from office?

         3         A     I think, you know that ethics complaint you

         4   filed should be a removal of office offense.           I mean,

         5   again, I filed two ethics complaints which are being

         6   investigated --

         7         Q      (By Mr. Fuller) But an ethics complaint does

         8   not remove somebody from office.

         9         A     Well, the state one can, it goes by Florida

       10    Statute and -- and the -- and the Attorney General

       11    oversees the -- the ethics department there.           They could

       12    render a decision against him --

       13          Q      (By Mr. Fuller) And they -- Have they

       14    officially picked up those cases?

       15          A     They're -- They're reviewing that right now.

       16          Q      (By Mr. Fuller) Got it.

       17          A     -- my case.    I did it at the end of June, you

       18    know.     They're very thorough and methodical and they

       19    take a while.     I mean, it's nothing overnight, nothing

       20    like the Miami-Dade ethics, because they got 60 days to

       21    open and shut a case.

       22          Q      (By Mr. Fuller) But aside from all the stuff

       23    that we know that he was targeting on our businesses, is

       24    there anything else that he's ever done that you think

       25    raises to illegality or --



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         1         A     Only what I -- You know, my statements I gave

         2   to the State Attorney office, I mean, you're using city

         3   funds to campaign.      I mean, that's -- that's something

         4   criminal.

         5         Q     (By Mr. Fuller) Mhmm.      What about the

         6   relationship with Sornof and some of his other money

         7   people?    What -- Is there anything there that -- Is

         8   there --

         9         A     There -- There --

       10          Q     (By Mr. Fuller) I've often heard of --

       11          A     I mean --

       12          Q     (By Mr. Fuller) -- situations where it's like

       13    well, if you've got to -- if you want to work with

       14    Carollo you've got to work with Sornof.          Is that true?

       15          A     There is that, yes.

       16          Q     (By Mr. Fuller) How does that --

       17          A     But now you've got to show that -- that trans

       18    -- that money transaction.

       19          Q     (By Mr. Fuller) And how does that work?

       20          A     I mean, that's through almost what is it;

       21    forensic investigation or something.         You know, to

       22    show --

       23          Q     (By Mr. Fuller) How does -- How does -- How in

       24    your mind, like how does this work?         Like how -- The

       25    concept is; is that --



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         1         A     I mean, you've got to show Carollo getting

         2   money from Sornof or from CJ or -- or Tanya because now

         3   she's a lobbyist as well.

         4         Q     (By Mr. Fuller) Mhmm.

         5         A     She --

         6         Q     (By Mr. Fuller) If you -- If you want

         7   something from Carollo is it -- is it common knowledge

         8   that you go to one of these guys --

         9         A     Absolutely, common knowledge.

       10          Q     (By Mr. Fuller) --and you get?

       11          A     Any lobbyist would tell you that.

       12          Q     (By Mr. Fuller) So do they ever say, "Oh,

       13    well, if you start paying me a certain amount a month I

       14    can get what you want," is that -- is that the --

       15          A     That's mainly probably what the lobbyist is

       16    there for.

       17          Q     (By Mr. Fuller) The lobbyist, yeah.         Is that

       18    an -- Is that like some type of assertion that they

       19    would make or to a potential client?

       20          A     Might be, I'm never there for that -- for that

       21    sit down with, you know, lobbyist and you know, the

       22    potential client.

       23          Q     (By Mr. Fuller) Are you aware that --

       24          A     I know that, you know, CJ's presence in the

       25    City of Miami has enhanced with Formula One with now the



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         1   Super Bowl committee in Bayfront Park, Parrot Jungle and

         2   I can't remember the other one that he just got also.

         3   But, you know, he's enhanced his presence in the city.

         4         Q     (By Mr. Fuller) Do the -- do the lobby --

         5         A     Oh, and the Max brothers also.

         6         Q     (By Mr. Fuller) When you hire a lobbyist do

         7   they meet with Carollo, with the commissioner and their

         8   clients?

         9         A     Yes.   yeah but he's barely never had any

       10    interactions in their office, he always has it outside

       11    the office.    He had the one with the mass -- And the

       12    reason I know I wasn't in the office anymore, I was

       13    having a cigar out here in Calle Ocho, he was walking

       14    around with mass and CJ the day they had the meeting.

       15    Out here that they had the meeting in a pub and they

       16    were walking around Domino Park and they went by your

       17    place, by the -- place right there; I don't know how

       18    what the hell he showed Mass there at you know.

       19    Whatever he's trying to influence, you know, something

       20    to that effect there.

       21          Q     (By Mr. Orlofsky) While you were with

       22    Commissioner Carollo, while you were still employed by

       23    the City of Miami, did he ever tell you directly help

       24    Formula One, help the Super Bowl?        You never got

       25    specific directions for anything for anything to the            --



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         1         A     No.

         2         Q     (By Mr. Orlofsky) And did you ever have

         3   contact directly with any of the -- the four issues;

         4   Formula One and the Super Bowl committee?

         5         A     Formula One, I mean, we had meeting with -

         6   from Bayfront Park because he was the chairman there.

         7   Formula One, it was -- it was CJ, you know, the majority

         8   that Joe tried to be a hard ass with him trying to get,

         9   you know, trying to get $2 million right up front from

       10    the -- to do their presentation at Bayfront Park.            But

       11    that could also be a squeeze.

       12          Q     (By Mr. Orlofsky) And you never had any

       13    control of the bank accounts of Miami First?

       14          A     No, he's -- he's the chairman of the ECO.

       15          Q     (By Mr. Fuller) Does he -- is this guy that

       16    you would describe as somebody who has a lot of friends?

       17          A     No.

       18          Q     (By Mr. Fuller) Like real friends?

       19          A     No.

       20          Q     (By Mr. Fuller) Are there any other people

       21    that you're aware of that he would speak to regularly or

       22    not speak to?

       23          A     Well, Joe's M.O which he thinks -- He almost -

       24    - What he tries to do is almost what he did in Doral.

       25    You know, he went to the State Attorney's Office before



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         1   his firing and so that's how he did that whistleblower

         2   suit. I know it has nothing to do with this but I'm --

         3   where I'm getting at with this is, when he took office

         4   he went -- I -- I know of it because I drove him to FDLE

         5   and he had a packet.      I don't know what he had in the

         6   packet but I know it was directed at you or he turned it

         7   into FDLE.

         8         Q     (By Mr. Fuller) What is the FDLE?

         9               MR. ORLOFSKY:    Florida Department of Law

       10          Enforcement.

       11          A     And then he's had several interactions with

       12    the FBI during his time in office.

       13          Q     (By Mr. Fuller) With regards to?

       14          A     That I don't know, I just know one meeting

       15    that occurred at someone's house and the other one I

       16    know he just went to Miramar because he told me he was

       17    going to Miramar.     And that's where there were the

       18    headquarters is at.

       19          Q     (By Mr. Fuller) And -- And going --

       20          A     So he tried -- You know, so this is going to

       21    be his -- his play.      He's going to -- You know, if

       22    something does implicate him, he's going to go back to

       23    FDLE but this why they went after me because I went to

       24    FDLE and I went to the FBI regarding this.          That --

       25    That's his play, that's --



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         1         Q     (By Mr. Fuller) How do you know --

         2         A     -- how he tries to protect himself.

         3         Q     (By Mr. Fuller) How do you know specifically

         4   the package he took to FDLE was related to me?

         5         A     Because it said your name on it.

         6         Q     (By Mr. Fuller) So like a like -- like a

         7   manila folder?

         8         A     It was manila folder, yeah.

         9         Q     (By Mr. Fuller) And where would he have

       10    gathered information from?

       11          A     Well, some information I know that he had --

       12    Now, I don't know what else was in that package but I

       13    know it was like regarding your voter history, your

       14    dad's voter history, your mother's voter history, your

       15    sister's voter history and -- and that was just election

       16    stuff on you.

       17          Q     (By Mr. Fuller) Why would that be -- Why would

       18    the FDLE care about voter history?

       19          A     I don't know.

       20          Q     (By Mr. Fuller) What -- Who -- Who would

       21    compile information like that?        Who -- Who would be

       22    able --

       23          A     Well, he -- he's horrible at doing any type of

       24    investigation, he just prints out documents like he

       25    always does, and just turns them in; hasi a lo loco.



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         1         Q     (By Mr. Fuller) So you think that's something

         2   he has at his house?

         3         A     That it is probably nothing, you know; yeah.

         4   And, you know, his house is a mess, he has papers all

         5   over the place and -- But he never has like a thorough,

         6   you know, package that he gives, and he says, "Okay,

         7   Bill Fuller, you know 47 years of age what have you."

         8   He never has a concrete package.        You know, he just gets

         9   paper from all over the place, puts them together,

       10    compiles it and -- and that's his investigation.

       11          Q     (By Mr. Fuller)     What would happen --      I know

       12    on a couple of occasions we wrote e-mails trying to meet

       13    like on behalf of the Bienes Culturales.          What was the

       14    procedure in the office for e-mails that were coming in

       15    where there were no responses?        What was -- What was the

       16    procedure?

       17          A     They -- It was just ignore it.

       18          Q     (By Mr. Fuller) Yeah, but I'm saying was there

       19    protocol where it would be like -- Was -- Did anybody

       20    ever say, "Hey --

       21          A     No.

       22          Q     (By Mr. Fuller) -- Bienes       Culturales is

       23    writing an e-mail --

       24          A     Well, I -- You know, at the time --

       25          Q     (By Mr. Fuller) Like who was filled in e-mails



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         1   or phone calls in the office?

         2         A     Well, it was various people at the office.

         3         Q     (By Mr. Fuller) But was it ever said, "Hey,

         4   these people are writing an e-mail and you haven't

         5   responded to them on the second, third and fourth

         6   notice?"

         7         A     You know, they always print out all the e-

         8   mails that he gets, he, you know, deciphers them as he

         9   pleases and, you know.

       10          Q     (By Mr. Fuller) So it was ultimately his

       11    decision to --

       12          A     Yeah, that's right.

       13          Q     (By Mr. Fuller) -- to -- to not respond, or to

       14    never do anything.

       15          Q     (By Mr. Orlofsky) Do you know if he's ever

       16    visited the FDLE or the FBI regarding anyone else?

       17          A     No.

       18          Q     (By Mr. Orlofsky) And before he visited the

       19    FDLE, did you -- did he ever ask you to put together a

       20    packet?

       21          A     No.

       22          Q     (By Mr. Orlofsky) So he already had the packet

       23    prepared --

       24          A     Yes.

       25          Q     -- you just drove him to FDLE.



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         1         Q     (By Mr. Fuller) Did you ever hear him discuss

         2   my religious -- my religion or religious beliefs?

         3         A     No.

         4         Q     (By Mr. Fuller) Did you ever hear him ask

         5   people whether or not I was Cuban or not Cuban?

         6         A     Yeah.

         7         Q     (By Mr. Fuller) Why would he do that?

         8         A     No idea.

         9         Q     (By Mr. Fuller) Why would he ask that?

       10          A     No idea.

       11          Q     (By Mr. Fuller) Does he know the answer of

       12    whether I'm Cuban or not Cuban?

       13          A     I don't know if he knows the answer, I -- I

       14    know he's always asked.      You know, someone brought him a

       15    picture, I don't know what relation he is to you, the

       16    firefighter that retired, and he tried to inquire

       17    through the fire department who he was.

       18          Q     (By Mr. Fuller) Who that person was?

       19          A     Yeah.

       20          Q     (By Mr. Michetti)     When you -- You said you

       21    went to the FDLE, did you go to the FDLE building or?

       22          A     Building.

       23          Q     (By Mr. Michetti) Where was that building at?

       24          A     107th.

       25          Q     (By Mr. Michetti) Okay.      And what was your



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         1   official title when you were with -- before you were

         2   terminated on the 4th?

         3         A     A district liaison.

         4         Q     (By Mr. Fuller) But you were chief of staff

         5   for some time, right?

         6         A     Yeah, I was acting chief of staff.

         7         Q     (By Mr. Fuller) For how long was that?

         8         A     Till this court case was over.        I had never

         9   wanted it, I turned it down.

       10          Q     (By Mr. Michetti) And does Joe -- Does he work

       11    off of multiple cell phones or does he just --

       12          A     Just that one cell phone.

       13          Q     (By Mr. Michetti) Is that a county or is that

       14    -- is that provided for?

       15          A     It is the city phone now because he does get

       16    stipend payment which is $300.00 a month.          So he accepts

       17    that still by default it becomes a -- a public record.

       18          Q     (By Mr. Michetti) No other phone besides the

       19    one that --

       20          A     No.

       21          Q     (By Mr. Fuller) Are you aware if anybody has

       22    ever asked for a public record request on that cell

       23    phone?

       24          A     I think my attorneys are going after it.

       25          Q     (By Mr. Fuller) Do you know --



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         1          A    And I'll say it again because they're

         2   obviously weren't of his case.

         3          Q    (By Mr. Fuller) But do you -- Oh yeah, that's

         4   right.     I've already heard that.     Did you -- Is there

         5   any -- Do you have anything -- reason to believe that

         6   there's something on his cell phone that is meaningful?

         7          A    There should be.

         8          Q    (By Mr. Orolosfsky) Did he typically text you

         9   or he would call you?

       10           A    He did a lot of phone calls.       So again, I've,

       11    you know, I've always said whatever date coincides with

       12    anything, there's always multiple phone calls with Joe

       13    on that.

       14           Q    (By Mr. Fuller) Does he have a private

       15    investigator firm that works for him?

       16           A    No.

       17           Q    (By Mr. Fuller) You never heard of that?

       18           A    He -- He -- No, he's tried to go after -- to

       19    retain some investigators.       But it just so happens

       20    almost -- Now, I don't know if he's got one but a couple

       21    of them know me so they're not going to do any work for

       22    him.   But I know he's actively seeking.

       23           Q    (By Mr. Fuller) Yeah, I mean, I can tell you

       24    guys that I have gotten two phone calls in the last

       25    month of people actively telling me that he's reached



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         1   out to private investigators on his behalf.

         2         A     Yeah.

         3         Q     (By Mr. Fuller) People that I haven't spoken

         4   to in over -- in one case, over eight years.

         5         A     Yeah.   But what they tell me is, you know, out

         6   of respect for me they say it's a conflict, I can't do

         7   work because he's trying to go after me too.

         8         Q     (By Mr. Fuller) But certainly, I mean there's

         9   certainly someone that will take -- will do that.

       10          A     Oh, absolutely yeah.

       11          Q     (By Mr. Fuller) Have you guys heard anything

       12    or no?

       13                MR. MICHETTI:    No, we -- And very similar

       14          Joe's got a stigma around him that a lot of people

       15          do not want to pallet.      So I know -- I know that

       16          that's a concern or would be a concern with --

       17                THE WITNESS:    And payment's also a big thing

       18          when it comes to Joe.

       19                MR. MICHETTI:    Like how you'd be -- You know -

       20          - That whole corruption thing --

       21                THE WITNESS:    He's very --

       22                MR. MICHETTI:    -- is a bad -- is a big

       23          problem --

       24                THE WITNESS:    -- frugal even though it's --

       25          it'll probably come out of the ECO, I don't think



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         1         he'll pay out of his own pocket.        He's very frugal

         2         with money and, you know, I don't think, you know,

         3         someone that gives a good and ask for a good

         4         retainer.

         5         Q     (By Mr. Fuller)     Has anybody -- But do you

         6   think there's any business --

         7         A     If he's desperate enough yeah he will but --

         8         Q     (By Mr. Fuller) Do you think there's anybody

         9   that is given him any type of financial benefit,

       10    whatsoever for anything?

       11          A     All speculation?     I --

       12          Q     (By Mr. Fuller) No but even -- Speculation.

       13          A     I don't know, I mean, unless I have something

       14    concrete I can't tell you yes or no.

       15          Q     (By Mr. Fuller) Do you think he's ever voted

       16    for either like a city commissioner that's been

       17    influenced one way or another?

       18          A     I can't answer that Bill, you know.

       19          Q     (By Mr. Fuller) No.      But that you would be

       20    aware of not -- I'm not just talking about your

       21    opinion --

       22          A     Aware of, I -- No.

       23          Q     (By Mr. Fuller) Are you aware of anybody that

       24    was seeking a certain type of privilege or a certain

       25    vote or anything like that?



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         1         A     No, I -- No, he - he always tries to go for

         2   anything of housing, he tries to say you know, donate to

         3   the housing trust fund but there's no housing trust.            So

         4   there's -- And that's not even -- That doesn't even

         5   belong to him, so, you know, I say no right now; I don't

         6   have anything further.

         7         Q     (By Mr. Orlofsky) Well, what's your

         8   relationship with Commissioner Carollo during the

         9   campaign?

       10          A     I was his right hand man.

       11          Q     (By Mr. Orlofsky) Now, did you do anything, I

       12    mean, have any contact with the City of Miami regarding

       13    a political rally that happened at Little Havanna for

       14    Alfie?

       15          A     What political -- The -- The parking lot?

       16          Q     (By Mr. Orlofsky) The parking lot.

       17          A     Well, yeah, Joe called me and told me that

       18    something was going on so I showed up there but I didn't

       19    have any contact with --

       20          Q     (By Mr. Fuller) But how did -- On that day how

       21    did code enforcement get to that site?

       22          A     It wasn't through me.

       23          Q     (By Mr. Fuller) How do you think it happened?

       24          A     My personal opinion?      Through Mary Lugo.

       25          Q     (By Mr. Fuller) So Joe would have called Mary



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         1   Lugo --

         2         A     Well, she was there that day.

         3         Q     -- that day.

         4         A     She was just there that day.

         5         Q     (By Mr. Fuller) Oh, she was there that day?          I

         6   never realized she was there that day.

         7         Q     (By Mr. Michetti)     Is there -- Is there a

         8   logging procedure that -- that goes through when how

         9   those housing complaints come in and how they get

       10    handled in the field or is there -- isn't there some

       11    type of log or you know, was it a call-in, was it walk

       12    in, did somebody give an e-mail?

       13          A     There should be something, yeah.        There should

       14    be --

       15          Q     (By Mr. Michetti) There should be some trail

       16    of how that call -- how that came in.

       17          A     Yeah, absolutely.     Yeah, that I could see that

       18    closed-eye report because he knows how to initiate.

       19          Q     (By Mr. Fuller) Did you ever hear of a

       20    situation where he bad-mouthed us to like other

       21    commissioners or to other people --

       22          A     Yeah, Manolo Reposo because that's his ally.

       23          Q     (By Mr. Fuller) You saw him talking about us?

       24          A     Yeah.

       25          Q     (By Mr. Fuller) Negatively.



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         1         A     Yeah.

         2         Q     (By Mr. Fuller) And how did Manolo --

         3         A     Manolo was always on the same page with him on

         4   that.

         5         Q     (By Mr. Fuller) And how --And what --

         6         A     Because again, it's only one side goes to

         7   Manolo.

         8         Q     (By Mr. Fuller) Right.

         9         A     I don't know -- I don't know if you guys have

       10    a shot to him or not.

       11          Q     (By Mr. Fuller) Right.

       12          A     But it's -- it's just --

       13          Q     (By Mr. Fuller) So basically, Manolo is like

       14    going with what he hears because it's a one-way

       15    street --

       16          A     Yeah.

       17          Q     (By Mr. Fuller) -- actually.       He was very

       18    receptive, let's call it.

       19          A     Yes.

       20          Q     (By Mr. Orlofsky) Now, besides the political

       21    rally which we just talked about which is under the

       22    14th, are you aware of any other political rallies that

       23    commissioner Carollo tried to, I'm going use the word

       24    squash?   Did -- Did he target any other Alfie events

       25    besides that one?



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         1         A     Not to my knowledge.

         2         Q      (By Mr. Fuller) as there any impropriety that

         3   happened in the campaign itself that you're aware of?

         4   Like picking up voters or paying voters or anything like

         5   that?     Did you ever hear of a situation where there was

         6   anything to coarse a voter or entice a voter or

         7   otherwise to consider --

         8         A     No, I mean, besides the eye candy that we had

         9   the Venezuelan girls picking him up.

       10          Q      (By Mr. Fuller) Oh.

       11          A     No, none of that.     I mean, I drove people to

       12    the polls also.     But Alfie had the same thing.        I don't

       13    think there was any, you know, I don't think there was

       14    any --

       15          Q      (By Mr. Fuller) Do you know anything about --

       16          A     -- hidden play there.

       17          Q      (By Mr. Fuller) Do you know anything about him

       18    terminating the free parking behind Domino Park?           Do you

       19    know about how that happened?

       20          A     No.   But that was -- that was mainly Art's

       21    doing.

       22          Q      (By Mr. Fuller) But there was never a

       23    conversation with Carollo and Art about that?

       24          A     No, Carollo was as shocked as anybody when

       25    they put up those signs there.



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         1         Q     (By Mr. Orlofsky) Did Carollo ever direct you

         2   call code enforcement regarding any of Bill's

         3   properties?

         4         A     Yes.

         5         Q     (By Mr. Orlofsky) Do you remember which

         6   properties he asked you to call about?

         7         A     No, I don't recall right now.

         8         Q     (By Mr. Orlofsky) Do you remember generally

         9   what -- what he asked you to do?

       10          A     Yeah, just find out if there are permits, I --

       11    I mean, I know on a weekend, one weekend in specific, he

       12    called me but I was -- I wasn't in town about some

       13    construction going on back here.        The code enforcement

       14    officer there wasn't -- none working in this area.

       15    Somehow he got it, the code enforcement officer from

       16    Coconut Grove which is in the Nicaraguan guy came here.

       17    And Joe pointed out some illegalities of construction

       18    going on, and then he got in the car with --

       19          Q     (By Mr. Fuller) That's Lubrillante (phonetic)

       20    that's the guy with the name Lubrillante.

       21          A     And then he drove him through all of the

       22    properties.    The reason I know is because Joe bragged

       23    about it, I was never here for that part.

       24          Q     (By Mr. Fuller)     What did he say?

       25          A     That this guy was going to do -- This guy is



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         1   going to do the work, he's going to -- He's going to

         2   follow through and Joe was really upset when they told

         3   him you know, "That's not your area, go back to, you

         4   know, your zone and --"

         5         Q     (By Mr. Fuller) Follow up through and do what

         6   though?

         7         A     You know, fine him, I don't know, shut him

         8   down. Not the code enforcement officer, I don't know

         9   what the procedure are after, you know, getting a

       10    citation.

       11          Q     (By Mr. Orlofsky)     Do you know the timeframe

       12    for the weekend you were away?        Was it in December; was

       13    it before Christmas, after Christmas?

       14          A     Just a weekend trip that I took to Orlando.

       15          Q     (By Mr. Fuller)     Did --

       16          A     To be --

       17          Q     (By Mr. Orlofsky)     Do you remember if it was

       18    it last year or this year?

       19          A     No, this year.

       20          Q     (By Mr. Orlofsky) This year.

       21          A     This year.

       22          Q     (By Mr. Fuller)     Did he -- Is he somebody that

       23    was ever seeking media attention?

       24          A     He loves the media.

       25          Q     (By Mr. Fuller) Positive news, negative news;



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         1   all of it?

         2         A     It doesn't matter.     Well, obviously, positive

         3   towards him, absolutely; he's the savior.          You know, if

         4   sees a cockroach they'll do a press release on it.

         5         Q     (By Mr. Fuller)     How did that events

         6   materialize with regards to rats in Little Havana; was

         7   there rats in the building?

         8         A     Nothing -- You know, like the news, they don't

         9   follow through with anything.        So nothing -- The

       10    buildings are still there, rat infested.

       11          Q     (By Mr. Fuller)     No but I'm saying how did

       12    that even come to be; was that his doing or was that

       13    somebody else's doing?      Like how did that -- How did he

       14    become aware of that situation?

       15          A     I don't remember, I don't recall but I know

       16    that he's the one that got all the press there; that I

       17    do know.

       18          Q     (By Mr. Fuller)     What would he say about

       19    people calling him Crazy Joe; did he ever discuss that

       20    with you?

       21          A     No, he never did.

       22          Q     (By Mr. Fuller) Never had a con -- Never --

       23          A     Never arose.

       24          Q     (By Mr. Fuller) Did ever -- Did anybody ever

       25    bring up the situation with him and his like domestic



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         1   abuse filing back in -- Was that ever discussed?

         2         A     No, I mean, who would bring it up?         I mean,

         3   again, I was -- His inner circle at the time was just me

         4   and then all of a sudden Portilla came in the picture,

         5   Tanya.    So it was -- it was like four cats; that's it.

         6   You know, he doesn't have an entourage --

         7         Q     (By Mr. Fuller)     So basically, his inner

         8   circle --

         9         A     Now his entourage is you know, his entire

       10    office.    Wherever he goes he's with -- his entire office

       11    is with him, you know.

       12          Q     (By Mr. Fuller)     Mhmm.   Any other situations

       13    regarding like any of the targets like Union Beer, St.

       14    Widge, Side Bar?     Any -- Anything ever like of those

       15    situations that you're aware of?

       16          A     What about them?

       17          Q     (By Mr. Fuller) I'm just saying in general;

       18    like any information that -- where those -- any of those

       19    businesses were mentioned or like --

       20          A     Target, yeah, absolutely.

       21          Q     (By Mr. Fuller) Like for example the -- How

       22    did the -- How did the day of the Gay Festival play out?

       23    Like did they --

       24          A     I don't know, I -- I left, I wasn't --

       25          Q     (By Mr. Fuller) No but I'm saying like how did



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         1   that even happen that you showed up to the street?

         2         A     Well, he told me to come, you know, and he was

         3   going to count me for my time; I was count for my time.

         4         Q     (By Mr. Fuller) He told you to go out to do

         5   what; what was the purpose of it?

         6         A     To shut them down.

         7         Q     (By Mr. Fuller) How?      How were you --

         8         A     I don't -- I don't --

         9         Q     (By Mr. Fuller) How would he expect you to

       10    shut them down?

       11          A     Well, call --- You know, I was always on the

       12    phone with him regularly.       If you do a records request

       13    you'll see that I was on the phone with him majority of

       14    the time that day.     Fire, code --

       15          Q     (By Mr. Fuller) Did he --

       16          A     -- police.

       17          Q     (By Mr. Fuller) Did he try to call --

       18          A     For not having the proper permits.

       19          Q     (By Mr. Fuller) Did he try to call any of

       20    those departments to shut them -- to have them shut

       21    down --

       22          A     Yeah, he was talking to Vicky, he was taking

       23    to the Emilio during that time.

       24          Q     (By Mr. Fuller) And did --

       25          A     But I was talking to them also.



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         1         Q     (By Mr. Fuller) Then how come they weren't

         2   able to get him down -- to shut them down?

         3         A     I don't know but you know, I was very tired; I

         4   was there almost all day.

         5         Q     (By Mr. Fuller) Was he pissed.

         6         A     Yeah, he was; yeah.

         7         Q     (By Mr. Orlofsky)     Did he give you he give you

         8   comp time for the earlier -- the weekend visit that we

         9   talked about where you were with -- where you were

       10    eating dinner with your wife and you did your drive-

       11    along --

       12          A     That also yes because I did go to Punta Cana

       13    and I didn't use vacation time for that; he comped me.

       14          Q     (By Mr. Orlofsky) So he gave you comp time.

       15          Q     (By Mr. Fuller)     What does that mean; comp

       16    time?

       17                MR. ORLOFSKY:    It's time --

       18          A     It's in lieu of vacation -- using vacation.

       19    He just, you know, used that.        Totally like another

       20    vacation day.

       21                MR. ORLOFSKY:    It's like extra time.

       22                MR. FULLER:    Oh right.

       23                MR. MICHETTI:    Extra sitting --

       24                THE WITNESS:    That doesn't go against --

       25                MR. MICHETTI:    So they pay you overtime.



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         1               MR. FULLER:    Oh, right.

         2               MR. MICHETTI:    Instead of working on your day

         3         off so --

         4               MR. FULLER: You get an extra -- You get more

         5         time if because you've already worked --

         6               MR. MICHETTI:    Right.    You worked on a

         7         Saturday, it's outside your normal day, will give

         8         that to you later on in the year for a comp date.

         9         Q     (By Mr. Fuller)     I mean, listen, what are

       10    you --

       11                MR. FULLER:    Let -- Do you mind if we go off

       12          the record for a little bit?

       13                THE COURT REPORTER:      One second.

       14                (Off the record.)

       15                (Deposition resumed.)

       16          Q     (By Mr. Fuller)     Okay. We're just -- We just

       17    took a little break and you're -- basically you were

       18    just saying that this is something you've told the

       19    ethics department.     Can you explain everything you know

       20    about the building behind Ball and Chain and the

       21    neighbors and what Mary Lugo -- how Mary Lugo was

       22    involved?

       23          A     Yeah, well, Mary Lugo went there and she, you

       24    know, knocked on all the doors, she got like a group of

       25    them -- Not -- Not a big group; maybe four or five of



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         1   them.      Went in to talk, she called Carollo to show up

         2   there.      Carollo has visited them several times, he's

         3   also sent myself, Mara (phonetic) and Gisela over there

         4   also. I just stayed in the car, they spoke to the

         5   neighbors trying to, you know, ascertain more

         6   information as to the noise and -- and what have you on

         7   that place.     But --

         8          Q      (By Mr. Fuller)   And --

         9          A     -- there was never any complaints beforehand,

       10    you're absolutely right.

       11           Q      (By Mr. Fuller) And how -- And how would it be

       12    - - How would it have been that one lady started calling

       13    him?    How do you think that that materialized?

       14           A     Joe gave her his cell phone -- his cell phone

       15    number to call her for anything.         So that's what she was

       16    doing; she was calling directly to reach out.           If she

       17    did make any phone calls, you know, who knows?

       18           Q      (By Mr. Fuller) But then all -- we started

       19    getting code complaints, so it would have gone through

       20    Joe and then Joe would have sent it on to --

       21           A     Right.

       22           Q      (By Mr. Fuller) - to whoever to come out and--

       23           A     Correct.

       24           Q      (By Mr. Fuller) -- file a violation.

       25           Q      (By Mr. Orlofsky)   Did Joe contact the city



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         1   manager first when he had to -- when he obviously first

         2   sent you the code or would he call code directly?

         3         A     He was calling code directly.

         4         Q     (By Mr. Orlofsky)     Now, besides the incident

         5   we just spoke about behind Ball and Chain, are you aware

         6   of Mary Lugo going anywhere else on behalf of -- of the

         7   Commissioner Carollo?

         8         A     I don't know her -- her whereabouts; she

         9   worked for the union so she does what she wants as she

       10    pleases.

       11          Q     (By Mr. Orlofsky)     Did you ever -- Explain to

       12    me how -- Would Joe call Mary Lugo directly or did you

       13    contact her on behalf of Joe?

       14          A     Well, sometimes I'll call her but I'll just

       15    say, "Look, call Joe because he's looking for you."            But

       16    they - - they just talked amongst themselves.

       17          Q     (By Mr. Fuller)     Was there ever a moment that

       18    you felt that Joe felt that he got us, that -- Like he

       19    was able to secure a fine on us or get something where

       20    he like -- like displayed like emotions or like got

       21    elated where he was excited to be like, "I got these

       22    guys," or like, "Fuck them?"

       23          A     You know, I'm surprised he the ink didn't stop

       24    that he ran out of ink when other code enforcement

       25    officers they were just taking noted vividly during our



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         1   -- our walk throughout.      I mean, these guys, the pages

         2   just like we're -- we're doing today, you know.           Of, you

         3   know, violations or potential violations, right?

         4   Alleged violations, you would say.

         5         Q     (By Mr. Michetti) Is there any other business

         6   that you know that -- Assume a scenario took place where

         7   there was a complaint or there were residents that were

         8   gathered together just to talk about a potential

         9   complaint and then --

       10          A     No, this is it, the Ball and Chain one.          I

       11    don't know if he's done it also to the building by where

       12    Side Bar is, there's a building parallel.          I know -- he

       13    said he was going to reach out to them but I don't know

       14    when that was going to happen.

       15          Q     (By Mr. Fuller) Does he think Side Bar is

       16    mine?

       17          A     Yes.

       18          Q     (By Mr. Fuller) He knows that?

       19          A     I think so, yeah.

       20          Q     (By Mr. Orlofsky) Now, besides Bill's

       21    properties are you aware of anyone else in the street

       22    that is targeted?

       23          A     This street?

       24          Q     Yes.

       25          A     Well, my friend Moto, he's -- he -- He says



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         1   that his father is a lieutenant cornel in Cuba, so --

         2         Q     (By Mr. Fuller)     Who's Moto?

         3         A     The guy that owns Old Havana.

         4         Q     (By Mr. Fuller) Oh, wow.

         5         A     Yeah, I think the restaurant.        And how he

         6   targets them is, you know, saying that there's drugs

         7   back there and they're selling -- that there's drug

         8   dealing back there.      I don't know if that's why now

         9   there's a surveillance camera there or not but --

       10          Q     (By Mr. Fuller) And what about his

       11    relationship with Alpu (phonetic) --

       12          A     What about it?

       13          Q     (By Mr. Fuller) What -- What do you know about

       14    it?

       15          A     It's a good relationship.

       16          Q     (By Mr. Fuller) Is there any reason to believe

       17    that the Alpu restaurant owners benefited from this --

       18    from the shut down of St. Widge?

       19          A     I don't know if there was any financial --

       20          Q     (By Mr. Fuller) But did he ever say to you --

       21          A     -- benefits with it.

       22          Q     (By Mr. Fuller) Did he ever say that -- that

       23    St. Widge presented a com -- Or did you ever hear that

       24    St. Widge presented competition to --

       25          A     No.



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         1         Q     (By Mr. Fuller) -- to them?

         2         A     Never.

         3         Q     (By Mr. Fuller) He never felt that way?

         4   Because he did tell me that the reason that he was

         5   shutting down St. Widge and moving -- from the

         6   neighborhood was because it affected the other

         7   businesses on the street.

         8         A     No, none of that.     I don't know but I -- I

         9   mean, he's doing almost -- From what I hear he's doing

       10    the same thing what he was going to do in that plaza at

       11    Domino Park, he's going to remove the benches and he's

       12    his going to put up a little kiosk and those kiosks are

       13    going to compete pretty much with the businesses around

       14    here.

       15          Q     (By Mr. Fuller) Does -- Have you ever heard

       16    him make racist marks -- racist remarks?

       17          A     Oh, tons of times.

       18          Q     (By Mr. Fuller) In what way?

       19          A     I mean, I can't give you examples right now, I

       20    don't recall them but --

       21          Q     (By Mr. Fuller) But I'm saying like were they

       22    to like Hispanics, were they to African Americans, were

       23    they to Chinese, like?

       24          A     Oh yeah, to --

       25          Q     (By Mr. Fuller) Like what type of remarks?



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         1         A     To Chinese, to Blacks --

         2         Q     (By Mr. Fuller) To -- What he say -- Would he

         3   say this -- Would he say this to -- to them, would he

         4   say this behind their back?

         5         A     No, no, behind their back, you know, behind

         6   closed doors with us, you know.

         7         Q     (By Mr. Fuller) But like what -- What type of

         8   language was he using?

         9         A     Curse words you know.

       10          Q     (By Mr. Fuller) Like what?

       11          A     Like negro, nigger.

       12          Q     (By Mr. Fuller) But it was --

       13          A     But it wasn't with the black everyone, it was

       14    with --

       15          Q     (By Mr. Fuller) Oh, white --

       16          A     He calls them, them you know, Chino, Japanese,

       17    Korean; whatever he is today.

       18          Q     (By Mr. Fuller) Mhmm.      Would he like -- So --

       19    So an African American would meet with him and then, you

       20    know, he would come behind closed doors and -- and use--

       21          A     You know, he --

       22          Q     (By Mr. Fuller) -- the N word?

       23          A     -- Joe -- Joe talked shit about almost about

       24    everyone, you know.      Even though it was his friend,

       25    he'll talk shit about him behind their back.



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         1         Q     (By Mr. Fuller) What about sexist remarks;

         2   would he ever make a sexist remark?

         3         A     Yeah.

         4         Q     (By Mr. Fuller) Against women?

         5         A     Not in their face but behind, yes.

         6         Q     (By Mr. Fuller) Like what?

         7         A     You know, like if she's pretty he'll say,

         8   "Yeah, she looks good," but more to it, you know.

         9         Q     (By Mr. Fuller) Well, like what?

       10          A     Can't -- I can't give you an example now

       11    because this doesn't come up.

       12          Q     (By Mr. Fuller) What about anti-Semitic

       13    remarks; did he ever say anything against Jewish people

       14    or anything like that?      You never heard if that?

       15                MR. MICHETTI:    Sorry.

       16                THE COURT REPORTER:      I'm fine, I'm fine.

       17          Q     (By Mr. Fuller)     But racist remarks like did

       18    he -- Were they racist remarks against any of the

       19    commissioners other than -- other than --

       20          A     Ken Russell?

       21          Q     (By Mr. Fuller) Yeah.

       22          A     No.

       23          Q     (By Mr. Orlofsky) Now, besides the two walk-

       24    alongs that we've discussed are you aware of any other

       25    times that Joe directed code were in your city employees



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         1   to selectively enforce the ordinances on Bill's

         2   properties?

         3         A     Can you repeat it again?

         4         Q     (By Mr. Orlofsky) Besides the two walk-alongs

         5   that we talked about, the one that he picked you --

         6         A     There's been more than two of those; there's

         7   been four.

         8         Q     (By Mr. Orlofsky) There's been four.         Now,

         9   were there any before Joe took office?

       10          A     Before, no.

       11          Q     (By Mr. Orlofsky) How frequently were the --

       12          A     At least, not to my knowledge.

       13          Q     (By Mr. Orlofsky) Were there -- How frequently

       14    were four walk-throughs?       We know of one which I believe

       15    was in March.

       16          A     He did -- City Manager, assistants, whatever

       17    deputy manager, Napoli -- Napoli, the mayor.           The mayor

       18    was the drive-through, it was -- it was quick but we did

       19    stop by Side Bar for a good amount of time.          We stopped

       20    by the container place and, you know, there's a lot of

       21    other places that I can't remember it now.          But it was

       22    like a 30-minute hiatus that we had with the mayor

       23    because he had another meeting; it wasn't just a drive-

       24    through. The city manager, Napoli, the mayor and then

       25    code enforcement.



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         1         Q     (By Mr. Fuller)     Did you ever hear him make

         2   remarks against like gay people or any other type of

         3   group?

         4         A     Yeah, he -- he doesn't like gay people.

         5         Q     (By Mr. Fuller) Did -- Would he ever say

         6   anything like specifically like use any words?

         7         A     Yeah, behind closed doors.

         8         Q     (By Mr. Fuller) But like what though?         Like

         9   what would he say?

       10          A     Maricon.

       11          Q     (By Mr. Fuller) Yeah.

       12          A     Or Maletrin is his favorite word; I don't know

       13    what the hell that means.       I don't know.

       14          Q     (By Mr. Fuller) And is that -- Like he would

       15    say it if he thought somebody was --

       16          A     Yeah.

       17          Q     (By Mr. Fuller) -- was homosexual?

       18          Q     (By Mr. Orlofsky)     And were you present or do

       19    you know if he actually told anyone else besides you

       20    that he wanted to target Bill because he thought that he

       21    was Venezuelan?

       22          A     No, not that he's Venezuelan he's got

       23    Venezuelan money.      And that the lady he had down here is

       24    La Primera Dama.     I don't know what the hell he says but

       25    Primera Dama of I don't know what --



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         1         Q     (By Mr. Fuller) Do you know he did an

         2   investigation to my financial dealings?

         3         A     I don't know that.

         4         Q     (By Mr. Fuller)Did -- You never -- You guys

         5   never met with like a private investigator --

         6         A     No.

         7         Q     -- or like reach out to anybody to like --

         8         A     At least I -- I wasn't with him with that

         9         Q     (By Mr. Michetti)     And have you     seen in any

       10    other occasions where city officials use private

       11    investigator to -- to target a citizen that was in his

       12    district or area for --

       13          A     Never.

       14          Q     (By Mr. Michetti)-- for any other reason?

       15          A     No.

       16          Q     (By Mr. Fuller)     Had your uncle -- You said it

       17    was your uncle --

       18          A     Godfather.

       19          Q     (By Mr. Fuller) Had he ever -- Godfather, had

       20    he ever seen a commissioner walk into a special

       21    magistrate board?

       22          A     I never asked him that, I don't remember -- I

       23    don't have the answer to that.

       24          Q     (By Mr. Fuller)     Is there anything else?

       25                MR. Orlofsky:    That's all I got right now.



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         1               THE COURT REPORTER:      Off the record?

         2               MR. FULLER:    Yeah.

         3               THE COURT REPORTER:      Okay.

         4               (Sworn statement concluded at 3:32 p.m.)

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         1                      CERTIFICATE OF REPORTER

         2   STATE OF FLORIDA

         3   COUNTY OF DADE

         4

         5         I, YENLY CALVO, Court Reporter and Notary Public

         6   for the State of Florida, do hereby certify that I was

         7   authorized to and did digitally report and transcribe

         8   the foregoing proceedings, and that the transcript is a

         9   true and complete record of my notes.

       10
                   I further certify that I am not a relative,
       11
             employee, attorney or counsel of any of the parties,
       12
             nor am I a relative or employee of any of the parties'
       13
             attorneys or counsel connected with the action, nor am
       14
             I financially interested in the action.
       15

       16    Witness my hand this the 21ST day of August, 2018.

       17

       18

       19

       20    ____________________________________
             YENLY CALVO, COURT REPORTER
       21    NOTARY PUBLIC, STATE OF FLORIDA

       22

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         1                        CERTIFICATE OF OATH

         2   STATE OF FLORIDA

         3   COUNTY OF DADE

         4

         5         I, YENLY CALVO, the undersigned authority, certify

         6   that STEVE MIRO, personally appeared before me and was

         7   duly sworn on the 3rd day of August, 2018.

         8
             Witness my hand this 21st day of August, 2018.
         9

       10

       11

       12    ____________________________________
             YENLY CALVO, COURT REPORTER
       13    NOTARY PUBLIC, STATE OF FLORIDA
             Commission No.: FF 168078
       14    Commission Exp: 10/12/18

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         torn:                                                  Sierra, Daniel
     ~ent:                                                      Tuesday, March 13, 2018 11:26 AM
     To:
     Subject:                                                   Fwd: Updates on complaints received from Commissioner Carollo
     At'"..achments:                                            Fwd: COMMISSIONER CAROLLO JOINT INSPECTION #5; Fwd: COMMISSIONER
                                                                CAROLLO JOINT INSPECTION #4; Fwd: COMMISSIONER CAROLLO JOINT INSPECTION #
                                                                3; Fwd: COMMISSIONER CAROLLO JOINT INSPECTION #2; Fwd: COMMISSIONER
                                                                CAROLLO JOINTINSPECTION #1




    As requested.


    Sent vfa the Samsung Galaxy S81 an AT&T 4G LTE smartphone



  - - · Original message-----
  From: "Sierra, Daniel" <dsierra@miamigov.com>
  Date: 3/8/18 8:51 AM (GMT-05:00)
  To·: "Bernat, Ja~ (Sr Exec Asst)" <28410@miami-police.org>
 ·Cc: "GomeDr.; Lui~",):LGomez@miarnigov.com>, "Uriarte, Dennis" <duriarte@rniamigov.com>, "Franqui, Ricardo"
'<Rfranqui@miarrfigov.com>, "MeregildD;•-Gustavo" <grneregiJdo@miamigov.com>, "Salvatierra, Yacmany"
    Sa lvatierra@m ia rnigov .com>('Mo rua, Scarlet" _•(SMorua@miam igov .com>
 Sut,ject: Updates on complaints recerveiffrornC:ommissioner Carollo

 Good morning Director Bernat,

 I received a phone call on my cell phone yesterday in the evening from Commissioner Carollo requesting
 updates on the complaints he gave Inspector Dennis Uriarte last Saturday during their ride along. Attached
 please find the complaints received. Below please see the updates for each complaint.



        _1.         1380 SW 8 st. - El Taquito Restaurant (Complaint regarding outside seating for restaurant in an alley/easement
                   between 2 properties under electrical wires)
                   (Field Supervisor- DanieLSierra) Inspector Ricardo Franqui sent email to Public Works for clarification on the
                   area. Per Public Works the area was an alley converted into a utility easement. Inspector Franqui Cited the
                   property for the following violations:
                   Case# CE2018004156 opened t,y lnspecto'r Franqui and Notice ofViol'ation issued to the property. In order to
                  .have Outside seating a Warrant would need to be obtained. However; I am not sure if one wou.ld be issued for a
                  utilitv
                  ' . . ,
                          easement.' Inspector will. . need to follow
                                                          . -·      .
                                                                      up
                                                                       .
                                                                         with... Planning
                                                                                   -      and   Zoning
                                                                                          . .. ..  .. and
                                                                                                   .    -.
                                                                                                           proceed .iccordingiy,
                                                                                                                          ..


         2.        821 SW 8 st. - Taquerlas el Mexicano (Complaint regarding Junk in Yard, trash, and debris in the back.) (Field
                  Supervisor- Daniel Sierra) Inspector ~ustavo ,Meregild.o i,;ispected,~he property a.nd. the junk and trash was
                  'removed at time of inspection!                                       ·   · ·                         ·      ·
                  '   ~·~   ..   '   . ·- . ., .   " .   . ..    "_,_,



------------3-:   337 SW 8 st, - Side Bar- (Complaint regarding CU and BTR, state liquor license, outside storage of food truck/
                  container and illegal valet parking at night.)
                  (Field Supervisor- Daniel Sierra) Jnspector Gustavo Meregildo opened case #CE20,18004209 opened an NOV.
                                                                                       l
  Case
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                                                       k the busi ness for the vale t park ing com

                                                      food truck parked on this emp ty lot which oper
                                                                                                         ellaneous materials;
                                                                     se that need s to be addr esse d by state
                                                                                                     plaint.
                                                                                                               , (ABT unde r DBPR) . .J



                                                                                                          ates in the evening.) (Field
   4.   427 SW                                                                                                      and NOV issu ed
                              Sier ra) lnsp ecto r Gust ~vo  Mer  egild o open ed case # CEW180D42D6 open ed
        Supervisor- Dan   iel                                                                           re to obta in a special
                                                         rials,. equi pme nt, and/ or .debris, ~nd Failu
        for Outside stor age of misc ellan eous mate
        perm it/ TlJ P for the food truck.
                                                                                                            is working outside of the
                 S  st, - (Com plain t rega rdin g  unau thor  ized construction and that _the property
    5. l!Z7 SW                                                                                 ard complaint to the Building
                                                   r- Luis Gomez) Supervisor Gomez forw
       scope of the permits) (Field Superviso                                                      s show the entir e propierty. that 'rs
                                                       truc tion . Building's resp onse : The plan
       Dep artm ent since this is an o~going cons                                                 sam e folio num ber. Permits and
                                                   SW 8 St and all the struc ture s within the.
       com pose d of 1221 , 1225 , 1233, 1229                                                       structural, storefronts, inter ior
                                                      g valu ed at $1,369,026.DO that includes
       p.lans show a com preh ensi ve remodelin                                                  the ongoing perm itted work:
             delin g a_nd  M.E.P's. Building  will have and inspector check the plan s and
       remo

Thank you sir,

Daniel Sierra
Field Supervisor {South District}
City of Miami Code Compliance
444 S. W. 2nd Ave nue - 7th Floor
305-416-1964
dsie rra@ mia miq ov.c om

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